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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

US DOMINION, INC., et al.,

                Plaintiffs,              No. 1:21-cv-02130-CJN

      v.

HERRING NETWORKS, INC., et al.,          Judge Carl J. Nichols

                Defendants.




                              EXHIBIT B
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ERIC COOMER, Ph.D.,                                       CASE NUMBER: 2020CV34319
Plaintiff

vs.

DONALD J. TRUMP FOR PRESIDENT, INC.,
et al.,
Defendants




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      DEFENDANTS HERRING NETWORKS, INC.’S DBA ONE AMERICA NEWS
      NETWORK AND CHANEL RION’S MOTION TO DISMISS PURSUANT TO
       COLORADO’S ANTI-SLAPP STATUTE, COLO. REV. STAT. § 13-20-1101




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           Pursuant to Colorado’s anti-SLAPP statute, Colo. Rev. Stat. § 13-20-1101 (“Anti-SLAPP

Statute”), Defendants Herring Networks, Inc. d/b/a/ One America News Network (“OAN”) and

Chanel Rion (“Rion”) (collectively “Defendants”) submit this Special Motion to Dismiss, which

seeks a dismissal of all claims against Defendants in the First Amended Complaint (“FAC”), a

stay of discovery, and an award in favor of Defendants and against Plaintiff Eric Coomer

(“Plaintiff” or “Coomer”) of Defendants’ fees as permitted by the statute.1 As grounds for this

Motion, Defendants state the following:

                                     CERTIFICATE OF CONFERRAL

           The undersigned certifies that he has conferred with counsel for Coomer regarding this

Motion. Coomer opposes this Motion.

I.         INTRODUCTION

           On July 1, 2019, Colorado became the thirtieth state (including the District of Columbia)

to enact an anti-SLAPP statute. On June 3, 2019, House Bill 19-1324 was signed into law by

Colorado’s Governor Jared Polis. The bill is modeled after (copied almost verbatim from)

California’s anti-SLAPP statute.2 The instant case exemplifies why the anti-SLAPP statute was

enacted.

           A.      Background.

           OAN is a prominent 24-hour national news network which reports on national and

international news daily around America. It is headquartered in San Diego, California and


1        Pursuant to the Order dated March 23, 2021, the Court granted Defendants’ Motion for an Enlargement of
Deadline to File Special Motion to Dismiss Under Anti-SLAPP law, providing a deadline of April 30, 2021. Thus,
this Motion is timely.
2
           https://www.rcfp.org/colorado-anti-slapp-protections.




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operates news bureaus in Washington, D.C. and New York City. Defendant Chanel Rion is the

Chief White House Correspondent for OAN.3

           During the time period spanning the allegations in the FAC, the subject of the November

3, 2020 Presidential Election was the most important and most dominant news story in America,

covered widely and around-the-clock on television and radio, in newspapers, and on social

media.

           After the mainstream media called the 2020 election for Joseph Biden, President Donald

Trump and others generated the biggest news story in decades, asserting he had won the election

and that victory had been stolen from him. Tens of millions of Americans have reached similar

conclusions. Tens of millions of other Americans disagree with those conclusions. Over the

ensuing months, countless stories were published by the entire media spectrum portraying

myriad examples of improprieties and alleged malfeasance involving the vote and vote counts.

The story was also driven in one way, shape or form by elected officials of all political parties

who had the ability to get in front of a microphone, as well as by the President himself, his

lawyers, his family and other surrogates and their political opponents. At least sixty lawsuits

were filed regarding the election in courts throughout the land. One lawsuit was joined by more

than one-hundred members of Congress.


3
          On February 24, 2021, Rion served and filed a Motion to Dismiss for Lack of Personal Jurisdiction. Thus,
Rion brings this Motion subject to her Motion to Dismiss and expressly reserving her rights in this regard. The
jurisdictional challenge is currently before the Court and Rion believes that the Court’s ruling on that Motion to
Dismiss will moot this Motion as to Rion because, by dismissing for lack of personal jurisdiction, the Court will not
be able to rule on the merits of Coomer’s claims against Rion. However, due to the Court’s Order requiring all
defendants to file any special motions to dismiss by April 30, 2021, Rion brings this Motion to preserve her rights
under COLO. REV. STAT. § 13-20-1101 should the Court find that it has personal jurisdiction over Rion. Wakefield v.
Brit. Med. J. Publ’g Grp., Ltd., 449 S.W.3d 172, 183 (Tex. App.—Austin 2014) (holding that defendant does not
waive personal jurisdiction by filing Anti-SLAPP motion subject to personal jurisdiction challenge in light of strict
timing requirements of Anti-SLAPP statute).




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           The voting machines used in the Presidential Election and their manufacturers were the

subject of thousands of media reports published throughout the entire media spectrum. Coomer

was and is employed as Director of Product Strategy and Security by Dominion Voting System’s

Inc. (“Dominion”), which manufactured and supported the voting machines used in several

swing states, including Michigan and Georgia.

           On about November 9, 2020, a private citizen named Joseph Oltmann came forward and

claimed to have overheard a conversation in which Coomer told others, “Don’t worry about the

election, Trump is not gonna win. I made f-ing sure of that. Hahahaha.” Oltmann reported that

he had identified Coomer as the speaker and that he was an executive at Dominion. Oltmann

further reported that he had accessed and retrieved a number of vitriolic and depraved Facebook

posts published before the election by Dominion’s Strategy and Security Chief Coomer that were

frighteningly critical of President Trump.

           Oltmann first reported these matters on his Podcast, and later in interviews with Gateway

Pundit, Newsmax, Michele Malkin. More significantly, Oltmann’s claims were set forth in a

sworn Affidavit for use by President Trump’s legal team in their election challenges. President

Trump’s lawyers addressed Oltmann’s claims about Coomer in the media and in a press

conference where they directly tied Coomer’s alleged statement to the President’s election legal

challenges. Coomer first came to OAN’s/Rion’s attention after these others had reported and

publicly discussed the statements attributed to Coomer by Oltmann. FAC ¶¶ 52 -64.

           B.     Colorado’s Anti-SLAPP Law.

           The Colorado Anti-SLAPP Statute allows a defendant to file a “special motion to

dismiss” claims arising from the “act in furtherance of a person’s right of petition or free



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speech,” including “any written or oral statement or writing made in a public forum in

connection with an issue of public interest.” Colo. Rev. Stat. § 13-20-1101(1), (3)(a)-(c). If the

Court finds, upon the filing of such a motion, the defendant has satisfied the first prong of the

statute, then the claims must be dismissed “unless the court determines that the plaintiff has

established that there is a reasonable likelihood that the plaintiff will prevail on the claim.” Id.

           In the instant case, both elements of the Anti-SLAPP Statute test have been met. First,

Coomer’s claims undeniably arise from OAN’s and Rion’s furtherance of their right of free

speech in connection with a public issue. Their reporting about the 2020 Presidential Election

and the massive and widespread concerns regarding voting integrity, which included coverage of

the statements attributed to Coomer, is an issue of significant public concern and interest. Every

news organization in America, big and small, and including Defendants, covered the story that

the election had been stolen.

           Second, because OAN and Rion have satisfied the first prong of the Anti-SLAPP Statute

– namely that Coomer’s claims undeniably arise from the furtherance of their right of free speech

in connection with an issue of public interest – such claims must be dismissed “unless the court

determines that the plaintiff has established that there is a reasonable likelihood that the plaintiff

will prevail on the claim.” For the reasons demonstrated in detail below in Section IV, all of the

claims alleged against OAN and Rion fail. There is no likelihood (much less a reasonable

likelihood) that Coomer will prevail on any of his claims.

           Coomer’s claim for Defamation fails because OAN’s and Rion’s reporting is protected by

the First Amendment which provides an absolute defense against Coomer’s state law claims.

OAN and Rion did not defame Coomer. And even assuming arguendo that they defamed



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Coomer (and they manifestly did not), there is no showing whatsoever that OAN’s and Rion’s

statements were made with “actual malice” as required by Colorado law to maintain this claim.

The evidence submitted herewith shows that, other than Coomer’s own self-serving denials, OAN

and Rion did not have any indication that their reporting with respect to Coomer is untrue and,

indeed, they believed it to be true and accurate when reported. (Declaration of Charles Herring

(“Herring Decl.); Declaration of Chanel Rion (“Rion Decl.”).)

           Coomer’s claim for Intentional Infliction of Emotional Distress fails because OAN and

Rion did not engage in any “outrageous” conduct whatsoever, much less the requisite conduct

required to prevail on this claim. To the contrary, OAN and Rion are merely alleged to have

reported what Oltmann was claiming, just as virtually all other news outlets did. This is the

opposite of outrageous conduct. News reporting and the First Amendment are one of the dearest

liberties in this country.

           Coomer’s claim for Civil Conspiracy fails because it does not provide an independent

basis for relief. And even assuming arguendo an independent claim for Civil Conspiracy existed

under Colorado law, this claim also fails because Coomer cannot show that there has been a

“meeting of the minds” among OAN and Rion on the one hand, and their competitors in the

media and anyone else, on the other hand, to do anything whatsoever, much less some agreement

to defame or inflict distress upon Coomer. Again, and at best, all Plaintiff’s FAC does as to

these Defendants is attack a news service for reporting a newsworthy story

           Coomer’s claim for Preliminary and Permanent Injunctive relief fails because it does not

constitute an independent claim for relief.




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           In sum, Coomer has no reasonable likelihood of prevailing on any of his claims.4 For

these reasons and those demonstrated below, OAN’s and Rion’s Motion pursuant to the Anti-

SLAPP Statute should respectfully be granted, discovery should be stayed, and they should be

awarded their fees as permitted by the statute.

II.        THE FAC’S ALLEGATIONS

           A.     Nationwide Claims of Election Fraud Dominated the News Cycle.

           The FAC admits that that there was no bigger news story during the time period in issue

than the alleged theft of the 2020 election. Coomer alleges that following the November 3, 2020

presidential election, “the former President, his campaign, his agents and many of his supporters

began alleging widespread voter fraud . . ..” FAC at ¶ 4. At least 60 separate lawsuits were filed

challenging the election, many brought by the President and/or his campaign. Id. at ¶ 50. The

FAC alleges that the story of election fraud dates back to 2016 when the Trump Campaign

allegedly “fomented” election fraud conspiracies. Id. at ¶ 63. The FAC does not, because it

cannot, allege that these claims were not newsworthy. Id. at ¶¶ 46-50. They obviously were.

           A central figure in the nationwide allegations of fraud was Dominion. FAC at ¶ 1. At

the time of the election, Coomer worked (and still works) as Dominion’s Director of Product

Strategy and Security. Id. at ¶¶ 1 & 43. Dominion provides a wide array of election support

services including “election set-up, ballot layout . . . machine set-up and systems testing. Id. at ¶



4        This Motion is submitted while OAN’s 12(b)(5) Motion to Dismiss (in which Rion joined) is pending
before the Court. Defendants note that the standards of review on the 12(b)(5) Motion to Dismiss are different from
those on this Anti-SLAPP Motion. Consequently, assuming arguendo that the Court denies the 12(b)(5) Motion
before the instant Motion is heard, Defendants note that the present Motion is not decided on whether Coomer has
properly pled his claims (and OAN and Rion submit that Coomer has not done so). Rather, for the instant Motion,
Coomer cannot show—as he must—that he has a likelihood of prevailing on his claims.




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44. Dominion provided these services in at least thirty different states during the 2020 election.

Id. at ¶ 45.

           Every news organization in America, big and small, and including defendant OAN,

covered the story that the election had been stolen. Coomer allegedly became newsworthy after

multiple of OAN’s competitors, and the President’s lawyers, reported the statements attributed to

Coomer by Joseph Oltmann. Id. at ¶¶ 52 -64.

           B.     Oltmann’s Reports About Coomer And Subsequent Reporting.

           The FAC alleges that on November 9, 2020, defendant Oltmann reported on his podcast

that he overheard Coomer speak at a meeting of people that he understood to be affiliated with

Antifa. Id. at ¶ 52. According to Oltmann, Coomer (who was identified as being affiliated with

Dominion) said, “Don’t worry about the election, Trump is not gonna win. I made f-ing sure of

that. Hahahaha.” Id. Oltmann also reported that he had accessed Coomer’s Facebook page

which included posts highly critical of President Trump. Id. at ¶ 53. Coomer admits that he

made these posts criticizing President Trump. Id. at ¶ 54.

           Four days later, on November 13, 2020, Gateway Pundit published a story reporting the

substance of Oltmann’s podcast and adding additional content. Id. at ¶ 57. That same day,

television personality (and another defendant in this case) Michelle Malkin hosted an interview

with Oltmann on her personal YouTube channel. Id. at ¶ 58. Oltmann repeated his claims in this

interview. Id.      Malkin followed this interview with related Tweets. Id.       The next day,

November 14, 2020, Gateway Pundit published additional articles on the topic of Coomer. Id. at

¶ 60.




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           The FAC also alleges, significantly, that on or about November 14, 2020, Oltmann

prepared a sworn “affidavit for the Trump campaign” for use in its lawsuits challenging the

election and which included his description of what he heard Coomer say at the Antifa meeting.

Id. at ¶ 63 n.100 (emphasis added).

           On November 17, 2020 Newsmax began covering Coomer and his alleged role in

President Trump’s claims of voter fraud. Id. at ¶ 62.

           Also, on November 17, 2020 Eric Trump, the son of the President of the United States,

tweeted out a link to the Gateway Pundit story about the statement attributed to Coomer. Id. at ¶

63.

           On November 19, 2020, President Trump’s lawyers – Sidney Powell, Rudolph Giuliani

and Jenna Ellis – conducted a press conference about their various election legal challenges. Id.

at ¶ 64.        The FAC alleges that this press conference was carried live by C-SPAN and

“substantially reported” on at least CNN, Fox and the New York Times. Id. Both Ms. Powell

and Mr. Giuliani repeated Oltmann’s claims about Coomer and tied Coomer directly to the

President’s election legal challenges. Id.

           C.     The Paltry, and Unsustainable, Claims Against OAN and Rion.

           Nether OAN, nor Rion, reported on the Coomer allegations until November 17, 2020. Id.

at ¶ 61. According to the FAC, on that date, Rion simply tweeted out a link to a Gateway Pundit

story about Coomer and highlighting the statement attributed to Coomer by Oltmann (“Trump

won’t win. I made F***ing sure of that.”) Id. at ¶ 61. OAN/Rion did not broadcast its report

about Coomer until November 21, 2021. Id.




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           Coomer reveals the weakness of his claims against OAN and Rion by burying them in

two footnotes in the apparent hope that these defendants will be swept along with the others.

FAC at ¶ 61 n. 83 & 84. Footnote 83 itemizes three purportedly defamatory statements which

were made about Coomer by either Rion or Oltmann in programs broadcast by OAN:

           Rion: “In Coomer’s case, he was in a position of power to actually act on his rage against

Trump and Trump voters.” This statement is a true (or substantially true) comment about

Coomer’s position and role at Dominion and his rage and therefore not defamatory.

           Rion: “What does he mean when he says ‘Trump won’t win. I made f-ing sure of that.’

Nothing?” This comment by Rion, raising a question about the statement reported by Oltmann is

precisely the type of debate protected from civil actions by the First Amendment.

           Oltmann: “Eric Coomer was this, you know, he’s not just Antifa, he was responsible for

putting his finger on the scales of our election . . . If Coomer is investigated and found to have

indeed tampered with a presidential election, such an action could be tried for treason.

Unfortunately, the question is, will the FBI step up to investigate.” (Emphasis added). This

statement makes plain that the ultimate question of whether Coomer acted inappropriately

remains open, and thus, this statement lacks the requisite definitiveness to sustain a defamation

claim. More importantly, this “statement” was not made by OAN or Rion, but rather consists of

OAN/Rion quoting someone else (Oltmann) – regarding a national news event of tremendous

importance.

           Then, in footnote 85, Coomer purports to allege that OAN’s reporting about his employer

Dominion, somehow gives rise to a claim by Coomer that he was defamed. Id. at ¶ 61 n. 85.

Footnote 85 does nothing more than list several links to OAN news stories about Dominion, not



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about Coomer, including references to statements made by President Trump’s lawyers. Id.

Tellingly, however, the FAC does not even attempt to allege how these stories defamed

Dominion, much less Coomer individually. Put simply, footnote 85 fails to identify a single

specific statement attributable to OAN and Rion, when it was made, who made it, and how it

amounts to defamation of Coomer. Id. Colorado law does not permit a party to dump a bunch

of links to news stories in a footnote and then claim – voila – defamation.

III.       COLORADO’S ANTI-SLAPP STATUTE BARS COOMER’S CLAIMS AGAINST
           OAN AND RION

           Colorado enacted a strong anti-SLAPP law in 2019. Colo. Rev. Stat. § 13-20-1101. The

statute allows a defendant to file a “special motion to dismiss” claims arising from the “act in

furtherance of a person’s right of petition or free speech,” including “any written or oral

statement or writing made in a public forum in connection with an issue of public interest.”

Colo. Rev. Stat. § 13-20-1101(1), (3)(a)-(c). Upon the filing of such a motion, if the Court finds

that the defendant has satisfied the first prong of the statute, then the claims must be dismissed

“unless the court determines that the plaintiff has established that there is a reasonable likelihood

that the plaintiff will prevail on the claim.” Id.

           At the second stage of the analysis, a plaintiff has the burden of establishing—not merely

alleging—facts. For this reason, a plaintiff may not rest on his pleadings. “An anti-SLAPP

motion is an evidentiary motion. Once the court reaches the second prong of the analysis, it

must rely on admissible evidence, not merely allegations in the complaint or conclusory




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statements by counsel.” Finton Constr., Inc. v. Bidna & Keys APLC, 190 Cal. Rptr. 3d 1, 11

(Cal. App. 2015).5

IV.        ARGUMENT

           A.     Coomer’s Claims Seek To Punish Protected Statements Made in a Public
                  Forum in Connection With An Issue of Public Interest.

           The first prong of the Anti-SLAPP Statute test is satisfied here. Coomer’s claims clearly

arise from OAN’s and Rion’s furtherance of their right of free speech in connection with a public

issue. See Brokers’ Choice of Am., Inc. v. NBC Universal, Inc., 861 F.3d 1081, 1109 (10th Cir.

2017) (recognizing that under Colorado law, a matter is of public concern whenever it embraces

an issue about which information is needed or is appropriate, “or when the public may

reasonably be expected to have a legitimate interest in what is being published”) (citing

Spacecon Specialty Contractors, LLC v. Bensinger, 713 F.3d 1028, 1035 (10th Cir. 2013)

(quoting Williams v. Cont’l Airlines, Inc., 943 P.2d 10, 17 (Colo. App. 1996)).

           For example and without limitation, the FAC alleges that “this case is based on

Defendants’ false and baseless assertions that Dr. Coomer, an employee of Dominion Voting

Systems, Inc. (Dominion) sits at the center of a national conspiracy to fraudulently elect the

President of the United States.” FAC ¶ 1 (emphasis added). Coomer further admits that

“Defendants, by their actions, have elevated Dr. Coomer into the national spotlight, invaded his

privacy, threatened his security, and fundamentally defamed his reputation across this country,”




5
          Colorado’s Anti-SLAPP statute is modeled after California’s Anti-SLAPP statute. Thus, California’s
statute is persuasive authority for interpreting the Colorado statute. Calif. Code of Civ. Proc. § 425.16.




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among other things. Id. (emphasis added).) In line with these allegations and various others,6 it

is difficult to conceive of a matter of greater public concern and interest than an alleged

conspiracy to fraudulently elect the President of the United States involving a widespread

scheme of voter fraud through the illicit use of voting machines. FAC ¶ 63.

           The FAC admits that there was no bigger news story during the relevant time period than

the alleged theft of the 2020 election and was widely reported on by the press. FAC ¶¶ 49, 50,

57-71. Coomer alleges that following the November 3, 2020 presidential election, “the former

President, his campaign, his agents and many of his supporters began alleging widespread voter

fraud . . ..” FAC ¶ 4. At least 60 separate lawsuits were filed challenging the election, many

brought by the President and/or his campaign.                  Id. ¶ 50.      These issues were obviously

newsworthy and of public interest. Id. ¶¶ 46-50.7

           Under the “free speech clause” of the First Amendment, when publishing on matters of

significant public interest, the press is afforded the leeway to report statements which are

inherently newsworthy, even when they turn out to be false. Edwards v. National Audubon

Society, Inc. 556 F.2d 113, 120 (2nd Cir. 1977); see also Snyder v. Phelps, 562 U.S. 443, 452

(2011) (“[S]peech on public issues occupies the highest rung of the hierarchy of First

Amendment values and is entitled to special protection.”). Where the fact of an allegation is

newsworthy, the press is entitled to report on it without fear of a defamation suit. Edwards, 556

F.2d at 120.


6
          See also FAC ¶¶ 2-4, 49, 50, 57-71 (alleging “widespread voter fraud” and admitting that such allegations
were widely reported on by the press).
7         Coomer has admitted in various filings in this matter, including by way of example his own declaration,
that allegations of voter fraud by Dominion were the subject of “numerous national broadcasts.” Declaration of Eric
Coomer filed in support of Response to Defendant Rudolph Guiliani’s Motion to Dismiss, dated April 13, 2021, ¶ 9.




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           In short, Coomer’s claims arise from OAN’s and Rion’s acts in furtherance of their right

of free speech in connection with a public issue, as the subject statements were made in a public

forum in connection with an issue of public interest. See Colo. Rev. Stat. § 13-20-1101(1),

(3)(a)-(c). Thus, OAN and Rion have satisfied the first prong of the statute, and Coomer’s

claims must be dismissed “unless the court determines that the plaintiff has established that there

is a reasonable likelihood that the plaintiff will prevail on the claim.” Id.

           B.     Coomer Cannot Establish That There Is A Reasonable Likelihood That He
                  Will Prevail On His Claims.

           A reasonable likelihood on the merits means a plaintiff must show that he/she has a

reasonable probability of prevailing. Stevens v. Mulay, 2021 WL 1153059, at *3 (D. Colo. Mar.

26, 2021) (citing Lefebvre v. Lefebvre, 199 Cal. App. 4th 696, 702 (2011)).

                  1.     Coomer Has No Reasonable Likelihood of Prevailing On His
                         Defamation Claim.

           “In Colorado, the elements of a cause of action for defamation are: (1) a defamatory

statement concerning another; (2) published to a third party; (3) with fault amounting to at least

negligence on the part of the publisher; and (4) either actionability of the statement irrespective

of special damages or the existence of special damages to the plaintiff caused by the

publication.” McIntyre v. Jones, 194 P. 3d 519, 523-24 (Colo. App. 2008).8


           Moreover, where, as here, the statements involve “a matter of public concern,” the

plaintiff cannot prevail absent proof, by clear and convincing evidence, “that the defendant


8       When evaluating a defamation claim, the interest in protecting an individual’s reputation can be
outweighed by the interest in fostering vigorous public debate protected by the First Amendment and Article II,
section 10 of the Colorado Constitution (providing that “No law shall be passed impairing the freedom of
speech…”). Id. at 524.




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published the defamatory statement with actual malice” i.e., knowledge of falsity or in reckless

disregard of the truth. Lewis v. McGraw-Hill Broad. Co., 832 P. 2d 1118, 1122-23 (Colo. App.

1992). “Actual malice” is also required if the plaintiff is a public figure.

                          a)     The Statements Are Protected By The First Amendment And
                                 Therefore They Are Not Defamatory (Element One) And Were
                                 Not Uttered With Any Fault (Element Three).

           The “free speech clause” of the First Amendment which states in pertinent part,

“Congress shall make no law . . . abridging the freedom of speech, or of the press”, can serve as

a defense in state tort suits. See, e.g., Hustler Magazine, Inc. v. Falwell, 485 U.S. 46, 50-51

(1988) (emphasis added). The First Amendment implements a “profound national commitment

to the principle that debate on public issues should be uninhibited, robust, and wide-open.” New

York Times v. Sullivan, 376 U.S. 254, 270 (1964).              The protection offered by the First

Amendment is at its strongest for speech on matters of public concern. Snyder v. Phelps, 562

U.S. 443, 452 (2011). “[S]peech on public issues occupies the highest rung of the hierarchy of

First Amendment values and is entitled to special protection.” Snyder, 562 U.S. at 452 (quoting

Connick v. Myers, 461 U.S. 138, 145 (1983) (internal quotation marks omitted) (emphasis

added)). The First Amendment’s specific use of the word “press” is “intended to give to liberty

of the press” the “broadest scope that could be countenanced in an orderly society.” Bridges v.

California, 314 U.S. 252, 265 (1941).

           When publishing on matters of significant public interest, the press is afforded the leeway

to report statements which are inherently newsworthy, even when they turn out to be false.

Edwards, 556 F.2d at 120. Where the fact of an allegation is newsworthy, the press is entitled to




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report on it without fear of a defamation suit. Id. This remains true even where the press has

“serious doubts” about the veracity of the allegation. Id.

           Moreover, under the “fair report” privilege, the right to publish without fear of liability is

even stronger where the allegations are included in legal proceedings. Tonnessen v. Denver

Publishing Co., 5 P. 3d 959, 964-65 (2000) (citing Rosenberg v. Helinski, 616 A.2d 866 (1992);

Cianci v. New Times Publishing Co., 639 F.2d 54 (2nd Cir. 1980)). The press possesses a

privilege to report defamatory statements made in legal proceedings, even where the statements

are believed or known to be false. Id. Indeed, the privilege is not limited to the media but

extends to all other persons as well. Id.

           In Tonnessen, a wife’s testimony at trial portrayed her ex-husband as a rapist. Id. The

wife’s sister, who was not present in the courtroom made a similar statement. Id. The defendant

newspaper published both statements and was sued for defamation. Id. The Tonnessen court

held that the newspaper could not be held liable for either statement under the “fair report”

privilege, even though the sister was not present in court but was merely repeating what she had

heard. Id.

           Application of the above-cited principles to Coomer’s allegations against OAN and Rion

requires the dismissal of the defamation claim. Sullivan at 270; Falwell at 50-51; Snyder at 452;

and Bridges at 265. It is difficult to conceive of a matter of greater public concern and interest

than the serious and pervasive claims made during the time period encompassing Coomer’s

allegations of a stolen presidential election. Millions of people to this day believe the claims.

Millions of people to this day doubt the claims. Coomer alleges and admits that the statements

attributed to him by Oltmann concerned the very heart of the election fraud claims being made



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by many people nationwide, and Oltmann set forth these claims in a sworn affidavit for use by

the President and his lawyers in challenging the election results. See Tonnessen, 5 P. 3d at 964-

65 (upholding and applying the “fair report” privilege even for attenuated uses of judicial

statements).

           The First Amendment protects Defendants’ right to report on Oltmann’s accusations

which were sworn under oath, widely reported, and repeated by many including the President’s

attorneys. By law and undisputed fact, Coomer cannot show that there is a likelihood of

prevailing on this claim.

                          b)     The Statements Themselves Are Not Defamatory
                                 (Element One).

           It is a fundamental precept of any claim for defamation that the statement at issue must be

false, i.e., truth is an absolute defense. Gordon v. Boyles, 99 P.3d 75, 81 (Colo. App. 2004)

(“Truth is a complete defense to defamation. However, absolute truth is not required; instead, a

defendant need only show substantial truth…”). Moreover, courts must analyze statements in

the full context in which they are made. McIntyre v. Jones, 194 P.3d 519, 525 (Colo. App. 2008)

(court must analyze “the content, form, and context of statements, in conjunction with the

motivation or ‘point’ of the statements as revealed by the whole record.”). Applying these basic

rules to the statements alleged to be defamatory reveals that Coomer cannot prevail on his

defamation claim.

           First, Rion is alleged to have said that, “[i]n Coomer’s case, he was in a position of power

to actually act on his rage against Trump and Trump voters.” This statement is plainly true which

is an absolute defense to defamation. Gordon, 99 P.3d at 81. (“Truth is a complete defense to

defamation.”). Coomer alleges that during the 2020 election, he was the Director of Product


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Strategy and Security for the voting machine company, Dominion. Dominion’s machines were

used in key swing states such as Michigan and Georgia. Accordingly, it is simply a fact that

Coomer was “in a position” to “act” whether or not he in fact did. As for Coomer’s “rage against

Trump and Trump voters,” look no further than Exhibit A to the accompanying Rion Decl.

           Second, Rion is alleged to have asked: “What does he mean when he says ‘Trump won’t

win. I made f-ing sure of that.’ Nothing?” Rion does nothing more than take the statement

attributed to Coomer by Oltmann and ask an obvious question about it. When this question is

considered in the context of the right of the press to engage in robust debate and discussion, this

statement is simply not defamatory. McIntyre, 194 P.3d at 525. Indeed, Rion’s question is at the

very heart of OAN’s First Amendment right to engage in a robust discussion about matters of

public concern. Sullivan at 270. The question attributed to Rion is far milder than the robust

invective inherent in modern political dialogue which courts find non-defamatory. See, e.g.,

McDougal v. Fox News Network, LLC, 2020 WL 5731954 (S.D.N.Y. Sept. 24, 2020); Pullum v.

Johnson, 647 So. 2d 254, 257-58 (Fla. 1st DCA 1994) (calling plaintiff a “drug pusher” in a

political broadcast was rhetorical hyperbole); Horsley v. Rivera, 292 F.3d 695, 702 (11th Cir.

2002) (charge of “accomplice to homicide” during heated television interview on abortion was

hyperbole). In McDougal, the Court found that Tucker Carlson’s use of the word “extortion” to

describe the conduct by a former paramour of President Trump was not defamatory and granted

the network’s motion to dismiss. McDougal, 2020 WL 5731954, at *6. The Court recognized

that such “hyperbolic” language is inherent in modern political commentary and that, when read

in context (as the law requires) did not rise to the level of defamation. Id. Rion’s purported




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question is far milder than the use of the inflammatory word “extortion,” and, accordingly is

insufficient to sustain a claim for defamation.

           Third, Oltmann is alleged to have said: “Eric Coomer was this, you know, he’s not just

Antifa, he was responsible for putting his finger on the scales of our election . . . such an action

could be tried for treason. Unfortunately, the question is, will the FBI step up to investigate.”

Here again, Rion was simply reporting on what someone else said – a statement by Oltmann

which he qualifies by saying “If Coomer is investigated and found to have indeed tampered with

a presidential election . . .” When Oltmann’s statement is read in context – as is required in

ascertaining whether a statement is defamatory – it is clear that Oltmann is saying that Coomer’s

participation in election fraud remains in question. McIntyre at 525 (statements must be read in

their entire context and for their point). Like the statements at issue in McDougal, the context

and qualifying language in which the subject statement was made make it clear that Coomer was

not actually being accused of a committing a crime. McDougal, 2020 WL 5731954, at *6.

           Regardless, Rion reported the statement of another which she believed to be true. (Rion

Decl. ¶ 10.)

                         c)      The Statements Were Not Made With “Actual Malice”.

           Coomer’s Defamation claim also fails for the separate and independent reason that he has

no likelihood of prevailing on his claim because he cannot prove “actual malice” against OAN

and Rion. “Actual malice” must be shown: (a) if the statement in question was of a matter of

public concern; or (2) if the plaintiff is a public figure. Both of these exist here. Lewis v.

McGraw-Hill Broad. Co., 832 P.2d 1118, 1122–23 (Colo. App. 1992); New York Times Co. v.




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Sullivan, 376 U.S. 254, 84 S.Ct. 710, 11 L.Ed.2d 686 (1964). Coomer has not and cannot come

close to satisfying this daunting standard.

           To prove “actual malice”, the plaintiff must demonstrate that the defendant in fact

entertained serious doubts as to the truth of the statement, St. Amant v. Thompson, 390 U.S. 727,

88 S.Ct. 1323, 20 L.Ed.2d 262 (1968); Seible v. Denver Post, Corp., 782 P.2d 805

(Colo.App.1985), or acted with a high degree of awareness of its probable falsity. Kuhn v.

Tribune–Republican Publishing Co., 637 P.2d 315 (Colo.1981). Predictably, Coomer’s FAC

never plausibly suggests he can satisfy this prerequisite. Nor could it. Coomer has no clue at all

what OAN and Rion subjectively think about Coomer and about the statements Rion made

regarding Coomer.9

           OAN/Rion reported on the statements of various sources, conducted independent

research to corroborate the reporting and indeed, to this day, OAN/Rion have no proof that any

of the statements about Coomer were not true. (Rion Decl. ¶¶ 5-10.) The FAC does not, and

cannot, allege that OAN has ever expressed or demonstrated any doubt of the truth of its

reporting. “A plaintiff must prove by ‘clear and convincing evidence’ that the speaker made the

statement ‘with knowledge that it was false or with reckless disregard of whether it was false or

not.’” Id. at 240. A defamation suit by one who must prove actual malice must plead “that the


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         Taking Coomer’s often times manically deranged and extreme hate-filled statements that he directed to
former President Trump and his supporters on his Facebook account (which he deleted before filing this lawsuit)
(the Facebook posts we were able to find accompany this Motion as Exhibit “A” to the Rion Decl.), together with
Coomer’s incredibly prominent role in, and involvement with Dominion and the very machines used to collect and
tabulate votes in the Presidential Election, and it was and remains entirely understandable why the defendants
believed Coomer capable of severe and pervasive election misconduct. Coomer was not simply a random nut
spouting anti-Trump hate on social media. Rather, he was and is Dominion’s Director of Strategy and Security
with highly advanced degrees and an intimate knowledge of how to program and manipulate the very software and
hardware at the center of the alleged voter fraud, and with direct access thereto, that undeniably had a massive
impact on the Presidential Election.




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defendant must have made the false publication with a high degree of awareness of probable

falsity, or ‘must have entertained serious doubts as to the truth of his publication.’” Id. (citation

omitted).

             Coomer’s status as a “public figure” provides a separate and independent reason for the

requirement that he must prove “actual malice” in order to prevail on his Defamation claim. The

concept of a limited purpose public figure has been explicated in several Colorado cases. See

Diversified Management, Inc. v. Denver Post, Inc., 653 P.2d 1103 (Colo.1982); DiLeo v.

Koltnow, 200 Colo. 119, 613 P.2d 318 (1980); Walker v. Colorado Springs Sun, Inc. These

cases apply the United States Supreme Court’s definition of limited purpose public figure set out

in Gertz v. Robert Welch, Inc., 418 U.S. 323, 94 S.Ct. 2997, 41 L.Ed.2d 789 (1974).

           The court in Gertz identified a limited purpose public figure as one who “voluntarily

injects [herself] or is drawn into a particular controversy and thereby becomes a public figure for

a limited range of issues” such that the person has achieved “special prominence in the resolution

of public questions.”       Limited purpose public figure status focuses on two questions: the

threshold question of whether the defamatory statement involves a matter of public concern and,

more importantly, whether the level of plaintiff’s participation in the controversy invites

scrutiny. Wolston v. Reader's Digest Ass’n, 443 U.S. 157, 99 S.Ct. 2701, 61 L.Ed.2d 450

(1979); Gertz v. Robert Welch, Inc., supra.

           Applying these criteria to instant case, Coomer is clearly a limited purpose public figure.

The defamatory statements at issue here concerning widespread voter fraud through the illicit use

of voting machines are a matter of public concern and, Coomer’s participation in this activity

through the use of Dominion’s voting machines invites public scrutiny to this public issue.



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Indeed, Coomer has been the front man for Dominion over the past decade, soliciting publicity,

business, and status in the international voting machine community. He has deliberately and

intentionally made himself a public figure to benefit the profitability of Dominion, and has

intentionally made himself a public authority on the issue of automated voting security. He has

appeared in numerous public fora, giving interviews and opinions designed to influence public

perception of the safety and security of Dominion’s machines, and his own patents and stock

prices, and has made public appearances before legislative committees on behalf of both

Dominion and himself, at the state and national level. See e.g. Curling v. Raffensperger, 2020

WL 5994029, at *17 (N.D. Ga. Oct. 11, 2020) (Coomer acted as testifying witness for Dominion

in support of State of Georgia in major voting rights litigation).10


10
          As Director of Product Strategy and Security for Dominion, Coomer has appeared at election security
forums, such as one hosted by the U.S. Cybersecurity & Infrastructure Security Agency. See https://us-
cert.cisa.gov/sites/default/files/2019-09/2019_Cybersecurity_Summit_Agenda_S508C_13.pdf. Coomer is the
interface between Dominion and local election officials. See Curling, 2020 WL 5994029, at *9 n.23. He regularly
makes presentations to election officials in open meetings (see https://www.youtube.com/watch?v=UtB3tLaXLJE,
https://www.youtube.com/watch?v=BbCmq0jPUxY&t=447s) and has provided support to state officials in the form
of testimony explaining how the system works and how Dominion coordinates with election officials. See Curling,
at *10 (noting that Georgia officials relied on Coomer’s testimony on cybersecurity issues); Associated Press,
“Lawyers spar over Georgia voting machine glitch, planned fix,” September 29, 2020; Niesse, Mark, “Fix coming to
Georgia touchscreens to restore missing Senate candidates,” Atlanta Journal Constitution, September 28, 2020.
Coomer has plainly “injected himself” into public controversies about election security and the Dominion voting
systems. Moreover, a hallmark of a public figure is its access to the press and its ability to counteract false
statements. Gertz, 418 U.S. at 344. The fact that Coomer was quoted on issues related to election security prior to
the allegedly defamatory statements weighs strongly in favor of this finding. See Thompson v. Nat'l Catholic
Reporter Pub. Co., 4 F. Supp. 2d 833, 838 (E.D. Wis. 1998) (executive who had access to media and was quoted on
matters related to the controversy was limited purpose public figure). Coomer clearly has access to the media given
the publication of his OpEd in the Denver Post on December 8, 2021, denying election fraud took place. Dominion
provides voting systems for numerous states or localities, see Curling, at *7, for which, as noted above, Coomer
serves as primary interface. Coomer designed key voting systems and wrote the code for them. Id. at *9 n.23. In
Curling, he effectively spoke on Georgia’s behalf. Id. at *9. Thus, it is clear that his role in elections “is likely to
attract or warrant scrutiny by members of the public.” Young v. CBS Broad., Inc., 212 Cal. App. 4th 551, 560 (3d
Dist. 2012); Rosenblatt v. Baer, 383 U.S. 75, 86 (1966) (actual malice applies where the plaintiff’s role “has such
apparent importance that the public has an independent interest in the qualifications and performance of the person
who holds it”). Effective supervisory authority over such a critical aspect of voting procedure certainly “warrant[s]
scrutiny” by the public.




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           Notably, Coomer became a national public figure due to Oltmann shining a spotlight on

Coomer and reporting by others before any reporting by Defendants.

           In sum, given that this lawsuit involves a matter of public concern and also that Coomer

is a “public figure,” he must prove more than just “negligence” to meet to prevail on this claim.

Coomer must but has not and cannot demonstrate facts sufficient to show a likelihood of proving

by clear and convincing evidence that Defendants’ statements about him were made with “actual

malice.”

                  2.     Coomer Has No Reasonable Likelihood of Prevailing on His
                         Intentional Infliction Claim.

           Like the Defamation claim, Coomer has no reasonable likeliness of prevailing on his

Intentional Infliction of Emotional Distress claim. As a preliminary matter, this claim is also

subject to the Anti-SLAPP Statute, as it arises out of OAN’s and Rion’s furtherance of their right

of free speech in connection with a public issue—OAN’s broadcast of a television program in

which three allegedly defamatory statements were made. FAC ¶ 88.

           For a plaintiff to prevail on an intentional infliction of emotional distress claim, the

defendant’s conduct must be “so outrageous in character, and so extreme in degree, as to go

beyond all possible bounds of decency, and to be regarded as atrocious, and utterly intolerable in

a civilized community.” Gordon v. Boyles, 99 P. 3d 75, 82 (Colo. 2004) (citing Rugg v.

McCarty, 476 P. 2d 753, 756 (Colo. 1970).

           In Gordon, the plaintiff (a police officer) alleged that a radio host had said that the

plaintiff had stabbed someone and engaged in an extramarital affair. Id. at 78. The court

concluded that these statements were defamatory. However, the Gordon court held that the




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accusation that someone had stabbed another, or engaged in an affair, were insufficient to sustain

a claim for intentional infliction of emotional distress. Id at 82.

           Consequently, under Gordon, the alleged conduct by OAN and Rion falls woefully short

of meeting the “outrageous” element of a claim for intentional infliction – as it must given that

OAN and Rion did not defame Coomer in the first place. Here, Coomer claims that OAN

broadcast a television program in which three allegedly defamatory statements were made. These

statements, on their face do not come close to amounting to going “beyond all possible bounds of

decency.” Id. at 82.

           Moreover, even if there was a reasonable likelihood that Coomer could prove the

requisite “outrageous conduct” and he cannot, this claim also is trumped by the First

Amendment. Hustler Magazine, Inc. v. Falwell, 485 U.S. 46, 50-51 (1988) (First Amendment is

a defense to state claim for intentional infliction of emotional distress.).

           For these reasons, Coomer cannot show that there is a reasonable likelihood of prevailing

on his intentional infliction of emotional distress claim.

                  3.     Coomer Has No Reasonable Likelihood of Prevailing on His
                         Conspiracy Claim.

           Coomer’s civil conspiracy claim is also subject to the Anti-SLAPP Statute, as it is

predicated on OAN’s broadcast of a television program containing three allegedly defamatory

statements. FAC ¶ 92, 93.

           Civil conspiracy is not an independently actionable claim. Colorado Community Bank v.

Hoffman, 338 P. 3d 390, 397 (Colo. App. 2011) (citing Bd. Of Cnty. Commis v. Park Cnty.

Sportsmen’s Ranch, LLP, 271 P. 3d 562, 572 (Colo. App. 2013).                  Conspiracy claims are

derivative of other actionable claims. Id. Thus, in Hoffman, when the underlying claims were


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disposed of a summary judgment the civil conspiracy claims were automatically dismissed as

derivative. Id.

           There are five elements required to establish civil conspiracy in Colorado. There must

be: two or more persons (or corporations); (2) an object to be accomplished; (3) a meeting of the

minds on the object or a course of action; (4) one or more overt acts; and (5) damages. Walker v.

Van Laningham, 148 P. 3d 391, 396 (Colo.App. 2006) (citing Jet Courier Serv., Inc. v. Mulei,

771 P. 2d 486, 502 (Colo. 1989)).

           In the instant case, Coomer generally alleges that there was some undefined conspiracy

that the election had been stolen from Mr. Trump. See, e.g., FAC at ¶ 1. But this has nothing to

do with the purported conspiracy alleged in the FAC.

           Coomer may be a conspiracy theorist, but his vague conspiracy theory fails to support a

conspiracy claim. Walker at 396. Coomer suggests that all of the defendants agreed, with each

other, that they would create a false narrative about the election and then an objective of this

agreement was to defame and inflict distress upon Coomer. FAC at ¶ 61. However, Coomer

does not come close to alleging a single fact that would meet the third element of a conspiracy

claim, i.e., some meeting of the minds between OAN/Rion, on the one hand, and one or more of

the other persons or entities that reported on Oltmann’s claims about Coomer, on the other hand,

much less to defame him as part of some wider collective scheme to reelect President Trump.

The allegations do nothing more than describe the normal course of a news story—one person or

entity investigates and reports, and others follow.

           Consequently, Coomer has no likelihood of prevailing on this Civil Conspiracy claim.




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                  4.       Absent His Other Claims, Coomer Cannot Prevail On His
                           Injunctive Relief Claim.

           Coomer’s Fourth Cause of Action seeks an injunction against all defendants, including

OAN and Rion, “to remove all Defendants’ defamatory statements upon final adjudication of the

claims at issue.” FAC at ¶ 98. Injunction is not a separate claim, however, but rather a remedy

ancillary to a substantive claim upon which a litigant prevails on the merits, or, in the case of a

preliminary injunction, shows a likelihood of prevailing. See Dallnan v. Ritfer, 225 P.3d 610,

621 n. 11 (Colo.App. 2010). Like Coomer’s other causes of action, this one is also subject to the

Anti-SLAPP Statute, as it is predicated on OAN’s broadcast of a television program in which

three allegedly defamatory statements were made. FAC ¶ 96, 97.

           Because Coomer’s independent causes of action fail, as demonstrated above, this

additional cause of action for injunctive relief necessarily fails as well.

V.         CONCLUSION

           Based on the foregoing, it is respectfully submitted that OAN’s and Rion’s Anti-SLAPP

Motion be granted in its entirety, discovery with respect to OAN and Rion be stayed, and OAN

and Rion be awarded their fees as permitted by the Anti-SLAPP Statute.11




11
         In other states that have anti-SLAPP statutes, documentation of reasonable attorney’s fees is generally
submitted by separate motion for approval of the amount of the award. See e.g., American Humane Ass’n v. Los
Angeles Times Communications, 92 Cal. App. 4th 1095, 1103–1104 (2001) (holding that documentation of fees
could be submitted in separate, later-filed motion because “the moving defendant will be able to more accurately
document the fees and costs actually incurred if the amount is fixed at a later date”). Accordingly, in the event that
OAN and Rion prevail on this Motion, they will present evidence, including relevant invoices, of their attorney’s
fees and costs in connection with the defense of Coomer’s claims to date.




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           Respectfully submitted this 30th day of April 2021.

                                                 /s/ Eric P. Early

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                                   CERTIFICATE OF SERVICE



           I certify that on April 30, 2021, a true and accurate copy of the foregoing document were

e-served via ICCES on all counsel of record.



                                                        /s/ Robie Atienza-Jones




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COLORADO                                   CASE NUMBER: 2020CV34319
1437 Bannock Street
Denver, CO 80202

ERIC COOMER, Ph.D.,
Plaintiff

vs.

DONALD J. TRUMP FOR PRESIDENT, INC., et
al.,
Defendants                                          COURT USE ONLY

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      PLAINTIFF’S OMNIBUS RESPONSE TO ALL DEFENDANTS’ SPECIAL
           MOTIONS TO DISMISS PURSUANT TO C.R.S. § 13-20-1101
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                                        I.       INTRODUCTION1

        Dr. Coomer has been defamed, harassed, threatened, traumatized, and thrust into the

conspiratorial pro-Trump 2020 Presidential election fraud narrative. As it turns out, the actual

fraud in this case originated with an Antifa-obsessed businessman, who fed a false and

uncorroborated narrative about Dr. Coomer to the media and the politically savvy Defendants.

The Defendants then amplified this false narrative because it comported with various voter fraud

theories they were already peddling.

        In their anti-SLAPP motions, Defendants broadly invoke the First Amendment as a defense

with no real analysis for when and how it applies. But there is no constitutional value in

defamation.      Defamation does not advance public debate.                 While there are constitutional

protections for speech, those protections have limits. They are balanced against competing liberty

interests in privacy and reputation. Applying heightened constitutional protections requires an

existing matter of public concern involving the plaintiff—not one that Defendants manufacture.

Defendants ignore this and advance standards that do not exist—that by presenting themselves as

members of the media or members of a legal team, they are permitted to defame with impunity

and are absolved from the consequences of profiteering from the dissemination of irresponsible,

inaccurate, and unreliable information. Defendants then claim that the Colorado anti-SLAPP law

requires the Court to dismiss this case in its infancy and award sanctions against Dr. Coomer for




1
  This Omnibus Response responds to all Defendants’ special motions to dismiss, with the exception of Newsmax
given the settlement and dismissal of claims, and includes a supplement to Defendant Eric Metaxas’s response, as
reserved, based on court-ordered discovery. See Oltmann, et al. Mot., Apr. 30, 2021; Hoft-TGP Mot., Apr. 30, 2021;
Malkin Mot. Apr. 30, 2021; Metaxas Mot., Mar. 01, 2021; OAN-Rion Mot., Apr. 30, 2021; Giuliani Mot., Apr. 30,
2021; Powell Mot., Apr. 30, 2021; Defending the Republic Mot., Apr. 30, 2021; Trump Campaign Mot., Apr. 30,
2021; see also Pl.’s Resp. to Metaxas Mot., § IV, Apr. 07, 2021.




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pursuing recourse against Defendants’ tortious conduct.         Neither the First Amendment nor

Colorado’s anti-SLAPP statute justifies such an outcome.

       Dr. Coomer requests that the Court deny Defendants’ special motions to dismiss for two

primary reasons: (1) Colorado’s anti-SLAPP statute does not apply and (2) even if it applies,

Dr. Coomer has more than sufficient evidence to establish a prima facie showing of his case as a

matter of law. The supporting evidence includes Dr. Coomer’s own Declaration wherein he

swears that Joseph Oltmann’s claims about him are patently false; that he is not a member of any

Antifa-related organizations; that he did not boast about rigging the election on a call of any kind;

that he did not take any action to change votes or rig the election in any way, and that he was, in

fact, busy working with county and state officials in the lead-up to the 2020 Presidential election,

as opposed to participating in an Antifa call or seeking to subvert the election. Dr. Coomer

explains in detail how the Defendants’ concerted efforts to cast him as a key election fraudster

forced him into hiding for months, caused extreme emotional distress from the countless public

and private threats, and ultimately ended his sixteen-year career supporting local and national

elections.

       The supporting evidence includes the Declaration of Professor Alex J. Halderman, Ph.D.,

an election security expert who is often cited by Defendants in support of the potential technical

vulnerabilities in Dominion’s election systems (Dr. Halderman even makes a brief appearance in

the “Dominion-izing the Vote” broadcast). Among other things, Dr. Halderman is currently

serving as an expert for the plaintiffs in the Curling case in Georgia—the same case where Oltmann

falsely claims Dr. Coomer lied under oath. Dr. Halderman unsparingly debunks the Defendants’

central premise that Dr. Coomer either did or would have had the ability to affect the outcome of




                                                  2
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the election. Dr. Halderman labels Defendants’ accusations as “inherently improbable” and the

Antifa call narrative as “the height of cartoonish buffoonery.”        Dr. Halderman notes that

Dr. Coomer’s patents (as inventor) insured more transparency during the vote adjudication process

in the 2020 Presidential election, not the opposite, as Defendants claim.

        The supporting evidence includes the Declaration of Fred Brown, Jr., a forty-year Denver

Post reporter and editor and a retired University of Denver journalism instructor.            Like

Dr. Halderman, Brown debunks the notion that the media and journalism Defendants could

credibly rely on a single source—Oltmann—for such a dynamic charge. Brown opines that,

among other things, the Defendants’ “grossly inadequate” failure to double-check allegations or

even attempt to verify the facts through “obvious sources” is evidence of their reckless disregard

for the truth.

        The supporting evidence includes the Declaration of Mike Rothschild, author of The Storm

is Upon Us: How QAnon Became a Movement, Cult, and Conspiracy Theory of Everything. Like

Dr. Halderman, Rothschild attacks some of the Defendants’ reliance on Ron Watkins, the former

8chan administrator and likely Q poster who, despite having no experience in election

administration, serves as OAN’s “expert” in the “Dominion-izing the Vote” report. Rothschild

describes how Defendants boosted various QAnon conspiracy theories, as part of their

preconceived conspiratorial voter fraud theories—ultimately including the false allegations against

Dr. Coomer—in the event Trump lost the election. Rothschild notes that Defendants used an

inherently improbable story about Dr. Coomer as a tool to further the preconceived QAnon

election-fraud narrative.




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        The supporting evidence includes the Declaration of Martin (Marty) Golingan, a long-time

OAN producer who was fired by OAN after he and other producers went on the record to discuss

OAN’s disinformation about voter fraud and the insurrection in an April 18, 2021 New York

Times article.2 Golingan provides an insider’s view of OAN’s top down content and editorial

decision-making (supported by internal emails), as well as the “Dominion-izing the Vote”

segment. His testimony shines a light on OAN’s preconceived storyline, designed to support

Trump by promoting baseless election fraud claims while building a brand and financial success

as a “pro-Trump” news outlet. Golingan labelled the Coomer story an “H story,” which was run

with Charles Herring’s express approval. The story was not fact-checked by OAN newsroom staff

in San Diego, and Chanel Rion’s sources were not verified. According to Golingan, Rion was one

of the “untouchables” whose work product could not be validated because she had the express

approval of the Herrings. As a five-year veteran of OAN, Golingan believes the story “should

never have aired,” violated basic journalistic standards, and was broadcast with reckless disregard

for the truth.

        The supporting evidence includes the Declaration of Individual 3. Oltmann falsely claimed

that Individual 3 was a “key actor,” an identified leader of Our Revolution, and an “Antifa leader.”

None of that is true. Despite Oltmann’s claim of 70-80% certainty of Individual 3 being on the

Antifa call, Individual 3 avers that he/she was absolutely not on the alleged Antifa call, does not

know Dr. Coomer, and does not think it is credible that a man in his 50s with a Ph.D. in nuclear

physics would ever be welcome or trusted amongst individuals affiliated with Antifa. None of the



2
  See Rachel Abrams, One America News Network Stays True to Trump, N.Y. TIMES, Apr. 18. 2021,
https://www.nytimes.com/2021/04/18/business/media/oan-trump.html.




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Defendants ever contacted Individual 3 except for Oltmann, and Oltmann only did so in order to

harass him/her (the harassing emails are attached to his/her Declaration).

       The supporting evidence includes the Declaration of Individual 1.          Individual 1 is

specifically listed in Oltmann’s notes, which he claims were taken contemporaneously during the

alleged Antifa call. Individual 1’s Declaration provides details of a Zoom meeting that he/she

initiated on September 25, 2020, involving 15-20 activists. We know from Oltmann’s recent

deposition that Oltmann now claims the Antifa call was a Zoom call that occurred before

September 26. The primary purpose of the meeting hosted by Individual 1 was to deal with

concerns raised about Individual 2, a right-wing agitator and criminal who is also featured

prominently in Oltmann’s notes, and not the presidential election as Oltmann alleged. According

to Individual 1’s Declaration, Dr. Coomer was not a participant on this call. Indeed, Individual 1

had never met nor heard of Dr. Coomer prior to this lawsuit.

       The supporting evidence includes the Declaration of Doug Bania, an expert in intellectual

property, social media and internet infringement, and other intangible assets. By analyzing more

than eight months of relentless threats on social media, Bania provides a glimpse of the nightmare

that Defendants have unleashed on Dr. Coomer. He notes that nearly 9,000 distinct QAnon-related

Twitter accounts mentioned Dr. Coomer in the months after the November 2020 election, with as

many as 2,500 mentions in a single day. Bania’s research confirms that more than a thousand

unique accounts have mentioned Dr. Coomer in the same post with terms such as “kill,” “die,”

“shoot,” “treason,” “hang,” “traitor,” “arrest,” and/or “attack.”

       Further, due to the Court’s limited discovery order, the supporting evidence attached hereto

includes Defendants’ own documents, words, and conduct. It can be fairly stated that some of the




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media Defendants such as Eric Metaxas, Jim Hoft, and Michelle Malkin simply did not concern

themselves at any level with the credibility of who or what they were relying upon as part of their

publications or the accuracy of what they were reporting. Malkin epitomizes this particular brand

of incurious journalism. Instead of reporting verifiable facts or even conducting a cursory

investigation of those facts before sponsoring them on her now-defunct show Sovereign Nation,

Malkin viewed her role as simply “giv[ing] a platform to people who are being censored

[i.e., banned from Twitter] for disseminating what is considered dangerous or dissident

information.” This imprudent view of journalism, of course, is part of a dangerous trend among

unscrupulous media publishers of printing or broadcasting salacious content, while attempting to

disclaim responsibility for the accuracy of that content.

       In a similar manner, Sidney Powell was too focused on publicly promoting her precipitous

“Kraken” litigation efforts to conduct the due diligence inquiry required as an attorney of her

sources, including Oltmann. Her research on Oltmann was limited to “watching the video with

Michelle Malkin.” In Powell’s mind, Dr. Coomer was “minor” and a “gnat” in the “tsunami” of

election fraud rumors and innuendo she was using in her since-soundly rebuffed lawsuits.

       Powell believes, incorrectly, that she has legal cover from a defamation claim because she

was entitled to rely upon the affidavit from Oltmann filed in connection with contemplated or

pending legal proceedings. However, as U.S. District Judge Linda Parker concluded in her

August 25, 2021 Opinion and Order, Powell subverted the judicial process by making spurious

claims that were not backed by law or evidence and that constituted a “historic and profound abuse




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of the judicial process.”3 An attorney cannot rely on an affiant as a reliable source when they are

willing to declare demonstrably false statements.                      One need not look any further than

Dr. Halderman’s Declaration to see that Powell’s conduct here is no different than what led to her

sanctions in the Eastern District of Michigan. Moreover, Powell misconstrues the boundaries of

the litigation privilege, which generally only extends to false statements involving litigants or other

participants in a trial authorized by law—not a press conference.

         For its part, the Trump Campaign produced only one substantive document during the

limited discovery process. This document, however, turned out to be an internal “smoking gun”

memo prepared by the Trump Campaign’s research staff shortly after the election on

November 14, 2020. This memo completely contradicts the Trump Campaign’s public

representations about Dr. Coomer, Dominion, Hugo Chavez, George Soros, vote-counting in

Spain, and Smartmatic, among other things. As to Dr. Coomer, the internal memorandum

specifically states: “However, There Is No Evidence That Eric Coomer Is A Supporter of Antifa

In Any Way.” And yet, the Trump Campaign allowed Rudolph Giuliani and Powell to publicly

state the opposite on multiple occasions while spreading the lie about Dr. Coomer’s alleged role

in rigging the election. Despite this tactic, the Trump Campaign could not articulate a single theory

that the election was rigged beyond a general “feeling” that it was.                                Nonetheless, the

Trump Campaign, like the other Defendants (with the exception of former defendant Newsmax),

has refused to retract its defamatory statements despite a recent retraction demand on August 18,

2021, issued after Oltmann failed to appear for his court-ordered deposition.


3
  See Exhibit V-4, Order, No. 20-13134 (E.D. Mich.), at *1, 66 (finding “no reasonable attorney would accept the
assertions in those reports and affidavits as fact . . . no reasonable attorney would repeat them as fact or as support for
factual allegations without conducting the due diligence inquiry required under Rule 11(b).”).




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       For his part, Giuliani appeared to receive most of his information about Dr. Coomer from

Col. Phil Waldron, a conspiracy theorist who appeared at Mike Lindell’s Cyber Symposium.

Giuliani was recently quoted as telling former President Trump, much to the shock of White House

advisers, to just declare victory on election night. 4 Giuliani clearly had a preconceived plan to

falsely declare victory and then grasp at and eventually discard “facts” that supported his narrative.

When asked in his deposition about his election night quote, the following exchange occurred:

       Q.      You were quoted as being in a room and saying that to Mark Meadows –

       A.      In order to evaluate the credibility of a quote, I have to know who said it.
               There’s not a tape recording of it.

       Q.      No, nor was there one of Dr. Coomer's alleged call, was there?

       MR. ZAKHEM:             Object to form.

       THE WITNESS:            It was a totally different thing.

Of course, it was not and is not a totally different thing.

       Giuliani took over the Trump Campaign shortly after the election and defamed Dr. Coomer

during the Trump Campaign’s infamous November 19 press conference. Giuliani railed against

the internal Trump Campaign memo that debunked his own narrative, calling it a “corporate

document fed to the campaign.” Giuliani continued to spread the same election fraud claims, this

time under oath, that led to his suspension by the New York State Bar. And, ultimately, after the

Trump Campaign was repeatedly defeated in court, Giuliani abandoned the false narrative against

Dr. Coomer in favor of lobbying state legislatures to overturn the election. Indeed, he never filed

suit on behalf of the Trump Campaign based on the Coomer allegations, and, thus, his statement


4
  Carol Leonnig & Philip Rucker, I ALONE CAN FIX IT: DONALD J. TRUMP’S CATASTROPHIC FINAL YEAR, 344
(Penguin Press, 2021).




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about Dr. Coomer at the press conference displayed the type of recklessness that ultimately led to

the temporary revocation of his law license and this lawsuit.

       When OAN and Chanel Rion were deposed, they were unaware Dr. Coomer had already

obtained the Declaration of their former news producer, Marty Golingan. Both OAN and Rion

denied the existence of “H stories”—a reference to OAN’s ownership-driven programming—even

though OAN’s own news director, Lindsey Oakley, sent a memo on January 14, 2021 to the

producers demanding they be run eight hours a day. Both OAN and Rion doubled down on the

credibility of their QAnon source, Ron Watkins, while rejecting the opinions of credible and

qualified election experts. Both allowed Oltmann to have a free and unchallenged platform during

OAN’s prerecorded election report to defame Dr. Coomer and to suggest that he “tipped the scales”

of the election in favor of President Biden. According to Plaintiff’s journalism expert, OAN and

Rion’s conduct as a news organization and their reporting on Dr. Coomer was biased (by their own

admission), subject to a clear conflict of interest, speculative, and may be legitimately

characterized by its reckless disregard for the truth. As of today, OAN has refused to retract its

reporting about Dr. Coomer.

       The limited discovery allowed under the Court’s order was important to secure facts needed

for this Response. But the key witness—Oltmann and representatives of his entities—did not

cooperate and refused to answer key questions that were the subject of the Court’s August 29,

2021 Order Regarding Plaintiff’s Motion for Sanctions. Oltmann would not provide the name,

address, and phone number of the individual who provided him access to the alleged conference

call. Instead, he provided only his source’s initials. If he testified truthfully (which he did not),

Plaintiff would still be unable to identify his source. Oltmann could also not identify other




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participants on the call (with the possible exception of Individual 3), nor would he disclose how

he accessed Dr. Coomer’s private Facebook posts. He remains in contempt of this Court’s orders.

       Further, in one of the corporate representative depositions, it came to light that there were

still outstanding emails that had not been produced. Oltmann testified on behalf of CD Solutions

that his Conservative Daily email account had received emails from a source known only as “The

Researcher.” The Researcher emails attached intrusive, personal information about Dr. Coomer,

his family and friends, as well as information on Dominion and its employees. Emails and other

documents revealed in the deposition were produced after its conclusion, and it was impossible to

take a complete deposition. A motion for sanctions on these issues will be filed soon.

       The limited discovery allowed to prepare this Response has made it clear that Defendants

worked together and used the story about Dr. Coomer in a shared desire for fame, fortune,

proximity to power, or a combination thereof. Each Defendant conspired with Oltmann, retelling

his fable unquestioningly to advance their shared goals. Oltmann became a budding personality

on the far right. Media defendants got eyeballs and clicks. Powell and Defending the Republic

got national attention and a platform for fundraising. Giuliani got additional media attention and

access to power through the Trump Campaign.

       But there are other connections. From Giuliani it was learned that he and the Trump

Campaign made a secret deal with OAN and Herring to allow reporter Christina Bobb to also work

on the campaign’s legal team, without disclosure to OAN viewers. And Bobb, Giuliani, and others

came together on January 5, 2021 at the Willard Hotel, in the campaign’s war room for the Stop

the Steal rally the next day. Most shockingly, emails produced from Oltmann indicate that he

offered access to raw election data from Antrim County, Michigan in January 2021, to Powell in




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an effort to shore up her floundering “Kraken” suits. The same emails suggest that Oltmann may

have engaged, and may still be engaged, in criminal conduct in Colorado by “gaining access to the

Dominion systems under the radar” with “several county clerks cooperating.”

           Oltmann’s ongoing conduct seeks to validate the fantasy he created of a rigged election

orchestrated by Dr. Coomer and his unidentified co-conspirators.

                                       II.      BACKGROUND FACTS

A.         Dr. Coomer’s private employment.

           1.       Plaintiff Dr. Eric Coomer was a private individual, privately employed, and

privately conducting his work before Defendants’ knowing and reckless defamation campaign

against him.5 Dr. Coomer was the Director of Product Strategy and Security for Dominion Voting

Systems, Inc. (Dominion), a voting equipment production company based in Denver, Colorado.6

Dominion provides election support services across the United States, including from initial

project implementation through election set-up, ballot layout, multiple language audio, machine

set-up, and system testing.7 Dominion provided election related services to at least thirty different

states during the 2020 Presidential election. 8 Dr. Coomer, as an employee of Dominion, assisted

with these services.




5
    See Exhibit A, Coomer Dec. at ¶ 10; see also Pl.’s Amend. Compl. at ¶¶ 9, 83.
6
    See Exhibit A, Coomer Dec. at ¶ 2; see also Pl.’s Amend. Compl. at ¶¶ 4, 10, 43.
7
    See Exhibit A, Coomer Dec. at ¶ 9; see also Pl.’s Amend. Compl. at ¶¶ 4, 44.
8
    See Exhibit A, Coomer Dec. at ¶ 9; see also Pl.’s Amend. Compl. at ¶ 45.




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B.             Defendants inject Dr. Coomer into conspiracy theories.

               2.     On November 3, 2020, the presidential election was held across the United States.9

As the vote count proceeded, it became apparent that former President Trump was likely to lose. 10

Former President Trump, his campaign, his agents, and many of his supporters—including

Defendants—began alleging widespread voter fraud and perpetuating baseless conspiracies in

attempts to explain the loss. 11 In fact, many of their claims of election fraud predated the election

itself and were the product of QAnon-style conspiracy theories attempting to explain Trump’s

projected loss before it happened.12 On November 7, 2020, the Associated Press formally called

the election for President Joseph Biden.13 However, the fact that President Biden won the popular

vote by more than seven million votes and 306 electoral votes did nothing to stop the conspiracy

theories already surrounding the election. 14

               3.     Voting machine conspiracies were especially popular. QAnon adherents started

spreading allegations about Dominion as early as November 5, and tweets with #Dominion went

from 75 per day to 35,700 per day by November 13. 15 Oltmann’s fantastical story about

Dr. Coomer arose in the middle of that week-long time frame, adding fuel to a wildfire.




9
    See Exhibit A, Coomer Dec. at ¶ 12; see also Pl.’s Amend. Compl. at ¶ 2.
10
     See Exhibit A, Coomer Dec. at ¶ 12; see also Pl.’s Amend. Compl. at ¶ 3.
11
     See id.
12
  See Exhibit M-1, Trump Campaign, Aug. 9, 2021, PX 62, at 24, 32; Exhibit P, Rothschild Dec. at ¶¶ 4, 18-21, 85;
Exhibit A, Coomer Dec. at ¶¶ 12, 15, 17, 22, 25, 30, 32, 34, 35
13
     See Exhibit A, Coomer Dec. at ¶ 13; see also Pl.’s Amend. Compl. at ¶ 2.
14
     See id.; see also Pl.’s Amend. Compl. at ¶ 46.
15
  See Ben Collins, OAnon’s Dominion voter fraud conspiracy theory reaches the president, NBC NEWS, Nov. 13,
2020, https://www.nbcnews.com/tech/tech-news/q-fades-qanon-s-dominion-voter-fraud-conspiracy-theory-reaches-
n1247780.




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           4.        And former President Trump and his allies eagerly embraced the false narrative that

Dominion conspired to rig its equipment and the election in favor of President Biden. 16

Defendants made Dr. Coomer, the Director of Product Strategy and Security for Dominion, the

face of these false claims and inextricably linked Dr. Coomer with allegations of voter fraud

involving Dominion.17

C.         Oltmann, FEC United, Inc., and Shuffling Madness Media, Inc.’s defamation of
           Dr. Coomer.

           5.        The false allegations against Dr. Coomer began with Defendant Joseph Oltmann.

Oltmann is a political activist, business owner, and co-host of the Conservative Daily podcast. At

all relevant times, Oltmann was also an agent for both the nonprofit corporation that he formed,

FEC United, Inc. (FEC United), which includes a paramilitary civilian defense group, and

Shuffling Madness Media, Inc. (SMM), which until very recently conducted business under the

trade name Conservative Daily. 18 Playing the part of the reluctant right-wing hero, Oltmann

catapulted himself from an apparently successful private businessman and obscure podcaster to a

national MAGA election fraud conduit. His Coomer narrative propelled him to a two-day spot on

the stage with Mike Lindell (where he repeated his false allegations against Dr. Coomer), secured

him a prominent role in the movie The Deep Rig, and insured that he would be booked as a frequent

guest on right-wing media shows such Steve Bannon’s War Room.19 Oltmann has now made so



16
     See Exhibit A, Coomer Dec. at ¶ 14; see also Pl.’s Amend. Compl. at ¶ 4.
17
     See id.; see also infra at §§ II(C)–(J); Pl.’s Amend. Compl. at §§ I, IV(B)–(C).
18
     See Exhibit D-2, Oltmann-Shuffling Madness Media, Sept. 9, 2021 Depo. Tr. 14:11-23.
19
  See Bannon’s War Room, Episode 1.165 – The Receipts Are Being Shown (w/David Clements, Joe Oltmann, David
Zere), Aug. 11, 2021, https://www.iheart.com/podcast/867-war-room-impeachment-52276954/episode/episode-
1165-the-receipts-are-85768111/; see also Exhibit A-1, at S. 184-185.




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many media appearances defaming Dr. Coomer that it is impossible to incorporate all the material

into this Response.

        6.       But Oltmann’s origin story, the alleged unmasking of a prominent Antifa operative

at Dominion, is so fanciful on its face that it strains credulity to believe Defendants’ contention

that they were not aware of its falsity. His defamation of Dr. Coomer began publicly after the

results of the election were called for President Biden and after advancing other baseless

allegations of voter fraud leading up to and immediately after the election.20 On November 9,

2021, Oltmann co-hosted an episode of his Conservative Daily podcast where he alleged to have

learned almost two months earlier of a conspiracy to elect Biden as president. 21 Oltmann’s

comments were part of the broader conspiracy narrative that the results of 2020 Presidential

election were fraudulent. 22 However, Oltmann claimed he gained specific information about such

fraudulent schemes after infiltrating Antifa and alleged Dr. Coomer was behind these alleged

schemes.23

        7.       Specifically, on this November 9, 2020 podcast, Oltmann claimed he had

“infiltrated an Antifa conference call” sometime in late September with unknown and unverified




20
  See Exhibit A, Coomer Dec. at ¶ 15; Exhibit B-8, Oltmann, et al., CONSERVATIVE DAILY PODCAST (Sept. 9, 2020);
Exhibit B-9, Oltmann, et al., CONSERVATIVE DAILY PODCAST (Aug. 5, 2020); Exhibit B-10, Oltmann, et al.,
CONSERVATIVE DAILY PODCAST (Nov. 5, 2020); Exhibit B-11, Oltmann, et al., CONSERVATIVE DAILY PODCAST
(Nov. 6, 2020); see also Pl.’s Amend. Compl. at ¶ 53.
21
  See Exhibit B-3, Oltmann, et al., CONSERVATIVE DAILY PODCAST (Nov. 9, 2020); Exhibit B-4, Nov. 9, 2020
Conservative Daily Podcast Tr., 18:19-21:11; see also Pl.’s Amend. Compl. at ¶¶ 5, 52-53.
22
  See Exhibit B-3, Oltmann, et al., CONSERVATIVE DAILY PODCAST (Nov. 9, 2020); Exhibit B-4, Nov. 9, 2020
Conservative Daily Podcast Tr., 2:25-3:5, 8:25-9:10; see also Pl.’s Amend. Compl. at ¶¶ 4, 8, 52-53, 56-71, 85, 91-
94.
23
  See Exhibit B-3, Oltmann, et al., CONSERVATIVE DAILY PODCAST (Nov. 9, 2020); Exhibit B-4, Nov. 9, 2020
Conservative Daily Podcast Tr., 18:19-21:11; see also Pl.’s Amend. Compl. at §§ I, IV(B)-(C).




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participants. 24 Oltmann claimed while on this purported call that one of these unknown

participants was referred to as “Eric” and another allegedly explained “Eric is the Dominion

guy.”25 Oltmann went on to claim when another unknown participant asked, “What are we gonna

do if f-ing Trump wins?” The unknown “Eric” responded, “Don’t worry about the election, Trump

is not gonna win. I made f-ing sure of that. Hahahaha.”26 Afterwards, Oltmann alleged his efforts

to identify the unknown speakers of this purported call were limited to Googling “Eric,”

“Dominion,” and “Denver, Colorado.”27 With no legitimate attempt to confirm the identity of the

alleged speaker, Oltmann falsely attributed these alleged statements to Dr. Coomer and

Dominion.28 Oltmann then used these anonymous statements to falsely assert that Dr. Coomer

subverted the results of the election despite having no actual evidence.

        8.       Oltmann has repeated these defamatory statements across media platforms,

including in interviews with Malkin, OAN, and Metaxas. Hoft and The Gateway Pundit published

the same claims, and Giuliani and Powell repeated them as well. 29


24
  See id.; see also Exhibit F-1, Malkin, July 27, 2021, PX 15; Exhibit G-1, Metaxas, Aug. 13, 2021, PX 97, Tr. 3:15-
25, 6:6-7:3; Exhibit G-2, The Eric Metaxas Radio Show, YOUTUBE (Nov. 24, 2020).
25
  See Exhibit B-3, Oltmann, et al., CONSERVATIVE DAILY PODCAST (Nov. 9, 2020); Exhibit B-4, Nov. 9, 2020
Conservative Daily Podcast Tr., 19:8-23; see also Pl.’s Amend. Compl. at ¶ 52.
26
 See Exhibit B-3, Joseph Oltmann, et al., CONSERVATIVE DAILY PODCAST (Nov. 9, 2020); Exhibit B-4, Nov. 9, 2020
Conservative Daily Podcast Tr., 19:24-20:7; see also Pl.’s Amend. Compl. at ¶ 52.
27
  See Exhibit G-2, The Eric Metaxas Radio Show, Joe Oltmann Discusses How A Security Genius at Dominion Voting
Promised Antifa Members a Trump Loss, YOUTUBE (Nov. 24, 2020); Exhibit G-1, Metaxas, Aug. 13, 2021, PX 97,
Tr. 8:20-25; see also Pl.’s Amend. Compl. at ¶ 52; n.74.
28
  See Exhibit G-2, The Eric Metaxas Radio Show, Joe Oltmann Discusses How A Security Genius at Dominion Voting
Promised Antifa Members a Trump Loss, YOUTUBE (Nov. 24, 2020); Exhibit G-1, Metaxas, Aug. 13, 2021, PX 97,
Tr. 8:20-9:24; see also Pl.’s Amend. Compl. at ¶¶ 6, 59; n.80, 115.
29
   See Exhibit B-3, Oltmann, et al., CONSERVATIVE DAILY PODCAST (Nov. 9, 2020) at 14:50; Exhibit A-1, Pub. 3,
Oltmann et. al., CONSERVATIVE DAILY PODCAST (Nov. 11, 2020) at 7:05; Exhibit F-1, Malkin, July 27, 2021, PX 15,
at 3:51; Exhibit E-1, Hoft-TGP, Aug. 10, 2021, PX 86; Exhibit A-1, Pub. 11, Oltmann et. al., WAKE UP! WITH RANDY
CORPORON (Nov. 14, 2020) at 43:10; Exhibit A-1, Pub. 13, Oltmann et. al., THE DEB FLORA SHOW (Nov. 15, 2020)
at 3:40; Exhibit A-1, Pub. 11, Oltmann et. al., THE GATEWAY PUNDIT (Nov. 16, 2020) at 0:15; Hoft-TGP, Aug. 10,




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         9.       This defamation is ongoing. It is unclear how many false statements Oltmann has

made against Dr. Coomer to date, but he frequently devotes episodes of his podcast to Dr. Coomer

and this litigation. There have been scores of podcasts and hundreds of defamatory statements.

But what is clear is that Oltmann defamed Dr. Coomer for political and financial advancement.

With every additional defamatory podcast, Conservative Daily climbed the rankings. 30 With every

additional defamatory interview, Oltmann gained national exposure and additional business and

political connections. However, his underlying story about Dr. Coomer is obviously false and

bears all the indicators that his statements about Dr. Coomer were made with actual malice, to the

extent that standard applies here.

         10.      First, Oltmann’s allegations against Dr. Coomer were fabricated by a witness with

no actual personal knowledge of Dr. Coomer and have been constructed so that Oltmann and

Oltmann alone can verify them. Defendants have described Oltmann as their singular source, but

Oltmann has never met and does not know Dr. Coomer such that he might be able to identify him



2021, PX 87; Exhibit A-1, Pub. 22, Oltmann et. al., THE PETER BOYLES SHOW, (Nov. 17, 2020) at 24:29; Exhibit A-1,
Pub. 23, Oltmann et. al., THE PETER BOYLES SHOW, (Nov. 18, 2020) at 6:14; Exhibit A-1, Pub. 24, Oltmann et. al.,
CONSERVATIVE DAILY PODCAST (Nov. 19, 2020); Exhibit A-1, Pub. 33, Oltmann et. al., WAKE UP! WITH RANDY
CORPORON (Nov. 21, 2020) at 30:02; Exhibit I-1, Herring-OAN, July 30, 2021, PX 32 at 22:00; Exhibit G-2, THE
ERIC METAXAS SHOW (Nov. 24, 2020) at 4:58; Exhibit F-1, Malkin, July 27, 2021, PX 17 at 11:55; Exhibit A-1,
Pub. 61, Oltmann et. al., THE PROFESSOR’S RECORD, (Apr. 20, 2021), at 16:00; THE DEEP RIG (Zero Hour Alchemy,
2021); Exhibit A-1, Pub. 63, Oltmann et. al., FRANK TV (May 3, 2020) at 6:18; Exhibit A-1, Pub. 68, Oltmann et. al.,
STEEL TRUTH PODCAST (June 22, 2021); Exhibit A-1, Pub. 64, Oltmann et. al., THE CHUCK AND JULIE SHOW (May 5,
2020) at 28:26; Exhibit A-1, Pub. 72, Oltmann, Speech at Reawaken America Tour, (July 18, 2021) at 3:07; Exhibit
A-1, Pub. 73, Oltmann et. al., INTHEMATRIXXX PODCAST (Aug. 4, 2021) at 5:09; Exhibit A-1, Pub. 74, Oltmann et.
al., MIKE LINDELL CYBER SYMPOSIUM (Aug. 11, 2021) at 6:34; Exhibit A-1, Pub. 75, Oltmann et. al., STEVE
BANNON’S WAR ROOM PODCAST (Aug. 11, 2021) at 1:35.
30
   See Exhibit D-4, Oltmann, et al., CONSERVATIVE DAILY PODCAST (Nov. 5, 2020) (identifying podcast as #119 most
popular political podcast in America), (Nov. 6, 2020) (identifying podcast as #108 most popular political podcast in
America), (Nov. 9, 2020) (identifying podcast as #81 most popular political podcast in America), (Nov. 10, 2020)
(identifying podcast as #62 most popular political podcast in America), (Nov. 14, 2020) (identifying podcast as #53
most popular political podcast in America), (Nov. 19, 2020) (identifying podcast as #28 most popular political podcast
in America), (Dec. 2, 2020) (identifying podcast as #8 most popular political podcast in America).




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on a call. 31 Oltmann has brought forward no other witnesses with personal knowledge of

Dr. Coomer to testify about the call (including his alleged conduit who he still will not identify).32

Oltmann did not see Dr. Coomer’s name, his Antifa nickname, or his face—conveniently, there

was no video—on the purported Zoom call.33 Oltmann has come forward with no other witnesses

with personal knowledge of Dr. Coomer who could identify Dr. Coomer on this purported call

other than Dr. Coomer himself (who denies being on the call). 34 He has no other evidence that

Dr. Coomer was on this purported call. 35 Indeed the sole witness Oltmann has identified

specifically as very likely on the call, Individual 3, denies being on the call and having the

associations Oltmann claims he/she has.36 Instead, Oltmann based his allegations on an alleged

Google search and alleged YouTube videos of Dr. Coomer he claims to have subsequently

watched to confirm his findings at some later undisclosed time.37 However, Oltmann does not

claim to have expertise in vocal identification and utilized no reliable methodology for identifying

an anonymous speaker on a purported call after it occurred (such as recorded voice recognition

software). Instead, this is pure speculation by an unqualified witness.




31
     See Exhibit A, Coomer Dec. at ¶ 15.
32
     See id.
33
     See id.; Exhibit B-2, Oltmann, Sept. 8, 2021 Depo. Tr. 15:18-16:1; 74:23-75:4.
34
     See Exhibit B-2, at 75:18-76:3.
35
     See Exhibit B-2, Oltmann, Sept. 8, 2021 Depo. Tr. 15:20-16:1.
36
     See Exhibit Q, Individual 3 Dec. at ¶¶ 12-17.
37
     See Exhibit F-3, at 6:8-7:8.




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           11.      Second, Oltmann has no personal knowledge of any election fraud, let alone fraud

involving Dr. Coomer.38 He has no witnesses with personal knowledge of any fraud committed

by Dr. Coomer.39 And he has no evidence, himself, of election fraud committed by Dr. Coomer.40

           12.      Third, instead of evidence, Oltmann obtained and built his allegations on

speculation from Dr. Coomer’s personal Facebook posts.41 These posts do not reference an Antifa

call or plot to subvert the election.       Like most Facebook posts, these posts are limited to

Dr. Coomer’s personal and political beliefs and experiences, which neither prove nor disprove

Oltmann’s allegations. 42 Whether Dr. Coomer did or did not support President Trump is not

evidence of election fraud. Whether Dr. Coomer referenced Antifa in a satirical post is not

evidence of any phone call or plan to subvert the election. The Facebook posts themselves have

no probative value, and Oltmann’s use of them is again limited to speculation by an unqualified

witness.

           13.      Fourth, Oltmann’s allegations are based on anonymous sources—specifically

unknown and unverified speakers on an Antifa call he allegedly infiltrated.              Oltmann has

repeatedly made this clear in his descriptions of the alleged Antifa call and participants therein,

including by acknowledging that the purported “Eric” on the call was only identified as “Eric” by

another anonymous source that Oltmann cannot identify or verify. 43 Only after Dr. Coomer filed


38
     See Exhibit V-5, at 52:10-53:6.
39
     Id.
40
     Id.
41
  See Exhibit B-3, Oltmann, et al., CONSERVATIVE DAILY PODCAST (Nov. 9, 2020); Exhibit B-4, Nov. 9, 2020
Conservative Daily Podcast Tr. 19:8-13.
42
     See Exhibit A, Coomer Dec. at ¶ 48
43
  See Exhibit B-3, Oltmann, et al., CONSERVATIVE DAILY PODCAST (Nov. 9, 2020); Exhibit B-4, Nov. 9, 2020
Conservative Daily Podcast Tr. 19:8-20:15.




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suit did Oltmann claim to have personal knowledge of other participants on the purported call.44

However, those alleged other participants have not come forward, and Oltmann has refused to

disclose the identities of these alleged other participants. 45 Regardless, knowledge of other

participants does not impute knowledge of the relevant unknown and unverified speakers on which

Oltmann based his claims. Those alleged speakers remain anonymous.

           14.       Fifth, there is no evidence corroborating Oltmann’s allegations. This is significant

as there should be clear record evidence of the purported Antifa call.                       Such records are

contemporaneously made with phone calls across platforms and would provide information that

could be utilized to determine the veracity of the allegations, including the date, time, and method

of the respective call or now, Zoom. Yet Oltmann has refused to even disclose basic details about

the call, let alone produce records establishing the purported call’s existence.46 Despite common

knowledge of such records, none of the other Defendants sought them from Oltmann before

adopting his story. 47 Further, there is no recording of the alleged Antifa call. 48 Oltmann

understands the significance of a recording. In a highly acerbic email to Individual 3 on October 19,

2020 (after the supposed September Antifa call, but before his November 9 Conservative Daily

podcast where he exposed “Eric”) Oltmann wrote to Individual 3: “We have taped conversations



44
     See Exhibit V-5, at 29:13-17.
45
     See Exhibit B-1, Oltmann, Sept. 8, 2021 Depo. Tr. 15:20-20:18.
46
     Id. at 71:10-72:15.
47
  See Ex. E-1 at 32:17-33:12; Exhibit F-1, Malkin, July 27, 2021 Depo. Tr. 126:8-20; Exhibit G-1, Metaxas, Aug. 13,
2021 Depo. Tr. 28:5-30:5; Exhibit H-1, Rion, Aug. 9, 2021 Depo. Tr. 79:22-80:17, 80:23-81:15, 84:1-13; Ex. I-1, at
19:19-20:6; Exhibit J-1, Giuliani, Aug. 14, 2021 Depo. Tr. 59:5-60:5, 133:2-134:15; Exhibit K-1, Powell, July 20,
2021 Depo. Tr. 34:5-35:20, 46:20-23.
48
  See Exhibit B-3, Oltmann, et al., CONSERVATIVE DAILY PODCAST (Nov. 9, 2020); Exhibit B-4, Nov. 9, 2020
Conservative Daily Podcast Tr. 19:8-20:15, 75:25-76:21; see also Pl.’s Amend. Compl. at ¶ 6; n.80, 115.




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with other Antifa members bragging about using animal records to dox Tig [Tiegen], and we sent

a record up to the FBI about illegally accessing information including John Tiegen’s address.”49

Oltmann knew the importance of gathering “evidence” as part of his attack on various journalists

or Antifa members who he believed had wronged him. Yet, Oltmann failed to employ this

recording technique when it came to an Antifa call he had allegedly infiltrated?

            15.      Similarly, there should be other witnesses who have knowledge of this purported

call. Yet Oltmann again has refused to disclose the identity of any alleged participant on the call

or the identity of the person who gave him access to it. 50 And, once again, none of the other

Defendants cared to ask.51 Indeed, based on emails and testimony, it appears that Fox News was

consulted about airing Oltmann’s allegations and declined to do so. 52 Oltmann’s excuse—concern

for the safety of the source—has already been addressed by the Court’s Protective Order. Instead,

Oltmann attempts to base his account on information that can only be corroborated by Oltmann

and Oltmann alone. Despite these efforts to prevent verification of his claims, Oltmann’s notes

revealed that a call may have occur in late September—just not the call that Oltmann alleged.53

Dr. Coomer has obtained a Declaration from one of the alleged participants on that call who

confirms that the call was not an Antifa call; there were no statements made on that call by an

“Eric” from “Dominion” intending to subvert the election; and, further, he has never heard of or




49
     See Exhibit Q-2, Oltmann emails (Oct. 19, 2020).
50
     See Exhibit B-1, Oltmann, Sept. 8, 2021 Depo. Tr. 11:13-22, 56:1-62:2.
51
     See infra at §§ II(D)–(J).
52
     See Ex. I-1, PX 38.
53
     See Ex. F-2.




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met Dr. Coomer and does not believe he was on the call. 54 The only two other individuals that

Oltmann has ever identified as being members of “Antifa,” Individual 3 and Individual 4, have

also both provided Declarations confirming that they were not on any “Antifa” call, have no idea

what call Oltmann could be referring to, and do not know and have never met Dr. Coomer.55

Further, no one on Oltmann’s alleged Antifa call has come forward to support his account. Indeed,

as Dr. Coomer has stated, if he was on the alleged call, then he would have some idea as to both

who was on the call or who Oltmann’s source was.56 He does not.

           16.      Moreover, there should be some evidence of election fraud committed by

Dr. Coomer. Yet, Oltmann has none. Instead, when asked about Oltmann’s evidence for how

Dr. Coomer subverted the election, Oltmann gave this sworn testimony:

           Eric Coomer, in a video from 2016, in 2017 showed how you could switch votes.
           Eric Coomer on a hacking call, which they have since taken down, so most of the
           videos that are out there that I had access to show Eric Coomer bragging about what
           the system could do. Eric Coomer stood in front of the legislative area in Arizona
           and in Georgia and talked about the capabilities of the system. So, there is massive
           amounts of information out there corroborating it. There is also a gentleman, whose
           name is Chris York, who worked with Eric Coomer back in 2007, 2008. There is
           also a few people that worked for Dominion that have come forward that signed
           affidavits that will talk about Eric Coomer's mental state and the things that he has
           done and building codes. There is also Eric Coomer's own speech, things that he
           has said that—it’s not—there’s mountains of evidence. Mountains.57

Notably, none of this alleged evidence was included with Oltmann’s special motion to dismiss.

None of this is evidence of Dr. Coomer actually committing fraud. Instead, this is utter nonsense

and further speculation by an unqualified witness with no knowledge or expertise in elections


54
     See Exhibit U, Individual 1 Dec.
55
     See Exhibit Q, Individual 3 Dec.; see also Exhibit T, Individual 4 Dec.
56
     See Ex. K-1, PX 2.
57
     Exhibit V-5, Digital Recording Transcript (July 7, 2021) at 52:21-53:5.




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systems.          “Switching votes” appears to be a reference to Dr. Coomer’s explanations on

adjudication. Adjudication is a decades-old practice of determining voter intent when there is an

ambiguity on a marked ballot. Dr. Halderman gives a clear explanation of adjudication, as well as

the transparency that Dr. Coomer brought to the adjudication process with his patented

adjudication technology.58 Similarly Oltmann’s references to an “ARIMA analysis,” “artificial

intelligence,” “neural networks,” and “chaos theory” are easily debunked mumbo jumbo that

simply serves as a supposed cover for Oltmann’s preconceived voter fraud crusade. 59 They are

intended to position Oltmann as an expert in a field in which he has no expertise or training and

are rejected by actual experts in that field. Moreover, Oltmann has no spreadsheets, graphs, or

explanation of his alleged calculations, much less how any such math would relate to Dr. Coomer.

            17.      Sixth, the vagueness and inconsistency in Oltmann’s allegations further indicate the

unreliability of his allegations. For example, Oltmann has never actually identified when the

Antifa call occurred or how he gained access to it, and the Defendants never questioned him on

this fundamental issue.60 In his November 13 affidavit, he swears the call occurred “on or about
                                              61
the week of September 27, 2020.”                   September 27, 2020 was a Sunday and the week of

September 27 would be September 27 through October 3. Oltmann claims he did a Google search

on “Eric,” “Dominion,” and “Denver Colorado” after hearing him being identified on the call.

However, the screen shots from that Google search show that it occurred on September 26, 2020,



58
     See Exhibit O, Halderman Dec. at ¶¶ 40-48.
59
     See id. at ¶¶ 29-30.
60
  See Exhibit B-3, Oltmann, et al., CONSERVATIVE DAILY PODCAST (Nov. 9, 2020); Exhibit B-4, Nov. 9, 2020
Conservative Daily Podcast Tr. 8:5-8; see also Pl.’s Amend. Compl. at ¶ 59.
61
     See Ex. K-1, PX 2.




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thereby placing the Google research before the call.62 In other venues, Oltmann has tended to

place the call in the mid-to late-September time frame. 63 But, conveniently, his alleged notes of

the call are undated.64 Oltmann’s lack of specifics on this crucial issue should have raised an

obvious red flag to the other Defendants. Similarly, Oltmann has never identified when or how he

obtained access to screen shots of Dr. Coomer’s private Facebook account. In his affidavit,

Oltmann merely states that he “turned [his] attention to Eric Coomer’s Facebook profile and page”

after November 6, 2020. 65 As it stands, it is just as possible that Oltmann obtained access to that

account prior to the alleged Antifa call and then used that material as a justification for placing

Dr. Coomer on the call. And Oltmann’s story of how he got onto the call in the first place has

changed significantly since he first made his allegations against Dr. Coomer. In the beginning,

Oltmann claimed that he had gained access to the call by some nondescript series of events related

to Individual 3.66 Charles Herring confirmed in his deposition that he understood Individual 3 to

have been the link between Oltmann and the alleged call. 67 But Individual 3 swears he/she has no

idea what call Oltmann could be talking about, was not on the call, does not have the affiliations

Oltmann has claimed he/she does, does not know Dr. Coomer, and has never met him. 68 Now,

Oltmann’s story about accessing the call has conveniently changed to not require any reference to



62
     See Exhibit B-5.
63
     See Exhibit B-1, Oltmann, Sept. 8, 2021 Depo Tr. 71:10-72:15.
64
     See id.
65
     See Exhibit K-1, Powell, July 20, 2021, PX 2.
66
  See Exhibit B-3, Oltmann, et al., CONSERVATIVE DAILY PODCAST (Nov. 9, 2020); Exhibit B-4, Nov. 9, 2020
Conservative Daily Podcast Tr., 18:4-24.
67
     See Ex. I-1, at 27:16-23.
68
     See Exhibit Q, Individual 3 Dec.




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Individual 3. Instead, he now claims that an unnamed Antifa member got him access to the call. 69

As for Individual 3, Oltmann acknowledged under oath that his prior and repeated claim that he/she

was on the call, apparently including when he made that claim in his sworn affidavit, was a “wild

guess.”70

           18.       Seventh, the timing of Oltmann’s allegations is suspect. Oltmann, like the other

Defendants, had preconceived intentions to allege election fraud, but did not have his sudden

awakening regarding Dr. Coomer until after the results of the election were announced. 71 This

passive approach was directly criticized by U.S. District Judge Parker in her August 25 order

sanctioning Powell, to wit:

           This game of wait-and-see shows that counsel planned to challenge the legitimacy
           of the election if and only if Former President Trump lost. And if that happened,
           they would help foster a predetermined narrative making election fraud the culprit.
           These things—separately, but especially collectively—evince bad faith and
           improper purpose in bringing this suit. 72

           19.       Oltmann’s delay in bringing his allegations against Dr. Coomer to light is

consistent with the Defendants’ preconceived plan to declare the election a fraud only if their

candidate of choice lost.73




69
     See Exhibit B-1, Oltmann, Sept. 8, 2021 Depo. Tr. 22:12-22.
70
     See id. at 54:10-23.
71
  See Exhibit B-3, Oltmann, et al., CONSERVATIVE DAILY PODCAST (Nov. 9, 2020); Exhibit B-4, Tr. Nov. 9, 2020
CONSERVATIVE DAILY PODCAST, 21:23-22:12; see also Exhibit G-2, The Eric Metaxas Radio Show, Joe Oltmann
Discusses How A Security Genius at Dominion Voting Promised Antifa Members a Trump Loss, YOUTUBE (Nov. 24,
2020); Exhibit G-1, Metaxas, Aug.13, 2021, PX 97 at 11:13-12:23; see also Pl.’s Amend. Compl. at ¶¶ 52-53; Exhibit
P, Rothschild Dec. at ¶¶ 4-12.
72
     See Exhibit V-4, Order, No. 20-13134 (E.D. Mich.), at *96.
73
     Exhibit P, Rothschild Dec. at ¶¶ 4-22.




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            20.     Eighth, Oltmann’s story is inherently improbable. As Dr. Halderman notes in his

Declaration, “[a]nyone asserting that a U.S. election was ‘rigged’ is making an extraordinary claim,

one that must be supported by persuasive and reliable evidence.” 74 Any such plot “would have

required complex manipulation of highly monitored systems across multiple states” and the

“detection and thwarting of the attempt (and subsequent prosecution of the perpetrators) would

have been likely.”75 Utilization of the adjudication process to rig the election, as many defendants

have suggested, is especially implausible. Any such attempt would require “manually clicking

through hundreds of thousands of ballots to alter the Presidential votes” and is a process that

“would likely take days, and it would leave clear traces in multiple sets of data and logs.” 76 High

ranking members of former President Trump’s own administration repeatedly denied that any such

conduct had occurred. 77 Multiple post-election audits and manual recounts of paper ballots in

multiple states across the country provide further confirmation of the legitimacy of the election

results, and would require extraordinary evidence of a nationwide scheme likely including

thousands across multiple jurisdictions to challenge.78 And, of course, the notion of a highly paid

corporate executive in his 50s joining an “Antifa conference call” where he supposedly bragged

to strangers about rigging the most watched election on the planet, all while deeply involved in




74
     Exhibit O, Halderman Dec. at ¶ 14 (emphasis in original).
75
     Id. at ¶ 25.
76
     Id. at ¶ 46.
77
     See Pl.’s Amend. Compl. at ¶¶ 48-49.
78
     Id.




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complex litigation in another state, is ridiculous and absurd on its face. 79 Any reasonable person

would be skeptical of Oltmann’s claims.

           21.      Ninth, at no point did Oltmann or any of the Defendants contact Dr. Coomer or

Dominion to confirm his involvement in this purported call. 80 This failure is completely in line

with their preconceived election fraud narrative—they did not want to know the response because

it did not fit their narrative. This fundamental failure is what Fred Brown refers to as a journalistic

“reckless disregard for the truth.”81 It violates the most basic ethical tenet.

           22.      Tenth, Oltmann has continually defied court-ordered discovery related to this

matter; refused to produce relevant evidence; refused to disclose alleged information; and refused

to provide relevant deposition testimony. 82 This conduct is not new. Since the inception of

Oltmann’s allegations, he has failed to provide any evidence in support of his claims. Yet, every

other Defendant in this litigation relied on Oltmann as the source of the allegations against

Dr. Coomer and refuses to this day to retract their defamatory statements. Oltmann’s convenient

excuse—that he fears his source will be subjected to some unspecified harm—only serves to

highlight his deception. Like his unnamed, unsubstantiated source, Oltmann has put forth no

credible evidence of an acute threat to anyone in this case—except Dr. Coomer.

           23.      Oltmann’s entities are completely intertwined with his defamatory campaign

against Dr. Coomer. FEC United (Faith, Education and Commerce) was founded by Oltmann in




79
     Ex. Q, Individual 3 Dec. at ¶ 19; see also Exhibit A, Coomer Dec. at ¶ 18.
80
     See Exhibit A, Coomer Dec. at ¶¶ 16, 23, 34, 36; see also Pl.’s Amend. Compl. at ¶ 51.
81
     See Exhibit N, Brown Dec. at ¶¶ 14, 130-134.
82
     See Exhibit B-1, Oltmann, Sept. 8, 2021 Depo. Tr. 22:3-24:17.




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the spring of 2020, to start the Reopen Colorado movement to resist governmental Covid

preventive measures.83 It is a 501(c)(4).84 Oltmann is the chairman of the board. 85

               24.      Oltmann’s affidavit in Powell’s “Kraken” suits states that he became a target of

Antifa journalists through his involvement with FEC United. 86                     According to Oltmann,

Individual 5, the mystery connection to the Antifa call, approached him at more than one FEC

United meeting.87 That is how he met Individual 5.88 But Oltmann (i) could not find FEC United

meeting sign-in sheets with Individual 5’s name; (ii) did not find an email address from FEC

United meetings that matched Individual 5; (iii) did not find Individual 5 in the membership

database; and (iv) could not identify other FEC United members who know Individual 5.89

               25.      FEC United advertised on Conservative Daily, and Oltmann frequently discusses

the organization on his podcast and in interviews. 90 Oltmann used FEC United to generate

publicity for Conservative Daily through his story about Dr. Coomer. For example, Oltmann used

an FEC United email to correspond with Rion and OAN prior to his appearance on two segments,

including the “Dominion-izing the Vote” segment.91 His FEC United email is also how he gave




83
     See Exhibit C-2, Oltmann-FEC United, Sept. 9, 2021 Depo. Tr. 8:25-9:8.
84
     Id. at 12:10-12.
85
     Id. at 14:2-3.
86
     See Exhibit K-1, Powell, July 20, 2021, PX 2.
87
     See Exhibit C-2, Oltmann-FEC United, Sept. 9, 2021 Depo. Tr. 22:18-24:23
88
     See id.
89
     See id. at 23:13-24:12.
90
     See id. at 18:5-19:22; 26:5-8.
91
     See Exhibit B-2, Oltmann, Sept.8, 2021, PX 103 (20CV34319-JOdisclosures 0799-0801).




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them access to Dr. Coomer’s Facebook posts. 92                Both segments led with FEC United

introductions.93

           26.       FEC United is also how Oltmann contacted Metaxas.94 And significant time was

devoted on Metaxas’ nationally syndicated show to promote FEC United. On Michelle Malkin

Live, approximately the last seven minutes were a discussion of FEC United.95

           27.       Oltmann’s FEC United email was used to deliver his affidavit to Powell. 96 Oltmann

also reached out to Powell via his FEC United email to let her know in January 2021 he was getting

access to Dominion systems, with the help of cooperative county clerks in Colorado:97




92
     See id. at 821-23.
93
     See Ex. I-1, PX 32.
94
     See Ex. B-2, PX 103 (20CV34319-JOdisclosures-0828-38).
95
     See Exhibit F-1, Malkin, July 27, 2021, PX 15.
96
     See Ex. B-2, PX 103 (20CV34319-JOdisclosures 0841-48).
97
     See Ex. B-2, PX 103 (20CV34319-JOdisclosures 0864).




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           28.      On January 22, 2021, Oltmann also promised to deliver 103 GB of raw election

data from Antrim County Michigan to Powell, and subsequently sent password information in

order to do so:




If true, these are both potentially felonious acts.

           29.      Finally, FEC United email was used to correspond with Hoft and TGP.98 And FEC

United was mentioned in several TGP posts. 99                   While Oltmann claims that FEC United

membership has not grown through the publicity related to the Coomer story, and the growth of

viewership for Conservative Daily, he admitted that membership in the organization has grown. 100

Oltmann also admitted that prior to the Coomer allegations, FEC United did not appear on

platforms such as OAN, Metaxas, and Newsmax.101 FEC United’s national profile was enhanced

significantly by the organization’s integral part in the defamatory publications.



98
     See Ex. B-2, PX 103 (20CV34319-JOdisclosures 0878-79).
99
     See Ex. E-3.
100
      See Exhibit C-2, Oltmann-FEC United, Sept. 9, 2021 Depo. Tr. 28:14-34:10.
101
      See Exhibit D-2, Oltmann-SMM, Sept. 9, 2021 Depo. Tr. 35:23-37:14.




                                                         29
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            30.         SMM dba Conservative Daily has been a defendant in this lawsuit from the

beginning. Although it is not raised in the anti-SLAPP motion (nor has it been challenged in

another pleading), Oltmann now contends that the proper entity that controls and operates the

Conservative Daily podcast is CD Solutions, LLC (CD Solutions).102 The Court allowed corporate

representative depositions for both entities. FEC United, SMM, and CD Solutions share office

space in Greenwood Village, Colorado.103

            31.         SMM registered the trade name Conservative Daily with the Colorado Secretary of

State and held that name until filing a notice of withdrawal on July 9, 2021, months after this

litigation commenced. 104 CD Solutions has never had the trade name Conservative Daily

registered in the state of Colorado. 105 In fact, the registration for CD Solutions with the state of

Colorado expired in January 2019 and was expired at the time of the first publication about

Dr. Coomer.106

            32.         The issue of which entity is ultimately liable for the litany of defamatory

publications made on Conservative Daily (likely numbering in the hundreds and continuing to this

day) is not before the Court. But important additional evidence was obtained with the deposition

of the corporate representative of CD Solutions.




102
      Id. at 9:8-10:23.
103
  See Exhibit C-2, Oltmann-FEC United, Sept. 9, 2021 Depo. Tr. 17:7-10; Exhibit D-1, Pappas-CD Solutions,
Aug. 11, 2021, PX 93; Exhibit D-1, Pappas-CD Solutions, Aug. 11, 2021 Depo. Tr. 39:20-25.
104
      See Exhibit D-2, Oltmann-SMM, Sept. 9, 2021 Depo. Tr. 14:9-23, 18:18-19:6; PX 92; PX 93.
105
      Id. at 19:7-16.
106
      Id. at 20:9-21:7.




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            33.      Oltmann appeared as the representative and took responsibility for the investigation

and the decision to publish statements about Dr. Coomer.107 When challenged about whether the

podcast considered other credible sources such as Chris Krebs and the Cybersecurity and

Infrastructure Security Agency (CISA), or Attorney General William Barr, Oltmann gave lengthy

diatribes explaining why neither were credible. 108

            34.      During the deposition, Oltmann was played a clip from the November 9 podcast

when he first told his story about Dr. Coomer. In the short clip, he alleged that Dr. Coomer held

a very large amount of shares in Dominion.109 When asked about whether there was any evidence

of this, Oltmann said “I was told by someone that was credible that sent me a thing. . .” and

suggested that it was “researcher.” 110 In one clip, Oltmann alleged Dr. Coomer had “shell

corporations” and “foreign corporations,” with Oltmann saying that if he can find them, the FBI

should as well. 111 When pressed for where these claims were supported, Oltmann eventually

revealed that it was “From a gentleman that goes by The Researcher.”112 Oltmann either did not

know his name or would not reveal it. 113

            35.      A lengthy discussion ensued because no emails had been produced from The

Researcher, and it became clear that Conservative Daily email addresses (including one from




107
      See Exhibit D-3, Oltmann-CD Solutions, Sept. 9, 2021 Depo. Tr. 25:25-26:12.
108
      See id. at 28:23-32:2.
109
      See id. at PX 135.
110
      See id. at 36:18-24.
111
      See id. at PX 136.
112
      See id. at 44:19-45:15.
113
      See id. at 44:25-45:8.




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Oltmann’s alias, Joe Otto) had not been disclosed. 114 Following the deposition, additional

documents were provided, including three emails signed by The Researcher, with an email address

as theresearcher2020@yandex.com.115 The first email was dated January 5, 2021 and attached

three documents with staggering amounts of incredibly private information about Dr. Coomer, his

family and friends—none of which supports Oltmann’s allegations against Dr. Coomer .116

            36.      The main document, entitled “ERIC COOMER: PAWN, PLANT OR PERP?” can

only be described as an incredibly intrusive 118-page dossier about Dr. Coomer’s private life.117

Due to the sensitive personal information, this evidence is filed as suppressed. There is no

information about shell corporations, offshore corporations, or accounts. The document does say

that Dr. Coomer is one of the “major shareholders in Dominion,” but provides no evidence in

support.118 Oltmann could not have been truthful about his alleged reliance on information from

The Researcher when he made the allegations on November 9. He did not receive the dossier until

nine weeks later.119

            37.      Unsatisfied with defamation alone, Oltmann has gone to great lengths to torment

and harass both Dr. Coomer and those around him. He has admitted to having Dr. Coomer under

nearly constant surveillance and has reveled in the fact that he drove Dr. Coomer into hiding.120

He has published a photo of Dr. Coomer’s home and told his thousands of online followers that


114
      See id. at 47:24-66:8.
115
      See Exhibit D-5, Email (Jan. 05, 2021).
116
      See id.
117
      See Exhibit D-3, Oltmann-CD Solutions, Sept. 9, 2021, PX 137 (filed as Exhibit D-6 suppressed).
118
      See id.
119
      See Ex. D-3, PX 137 (filed as Ex. D-6 suppressed).
120
      See Exhibit A-1, Pub. 3, Oltmann et. al. CONSERVATIVE DAILY PODCAST (Nov. 11, 2020).




                                                           32
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“[I]t is up to you. Blow this shit up. Share, put his name everywhere. No rest for this shitbag.

Eric Coomer, Eric Coomer, Eric Coomer . . . Eric we are watching you . . .”121 For months on end,

he has publicly described Dr. Coomer as mentally ill and has referred to him as an “unhinged

sociopath.”122 He has made unsolicited contacts with Dr. Coomer’s acquaintances, and threatened

to dox and harass them too if they would not provide incriminating information on Dr. Coomer.123

And he has taken credit124 for the publication of a million dollar “bounty” for what Defendants

James Hoft and The Gateway Pundit cavalierly referred to as Dr. Coomer’s “comeuppance” just a

week after they were sued. 125

D.         Hoft and TGP Communications, LLC’s defamation of Dr. Coomer.

           38.        Defendant James Hoft is the founder and editor of The Gateway Pundit (TGP), a

far-right online blog, and he is the author of most of TGP’s numerous posts accusing Dr. Coomer

of having the means and motive to personally rig the election against Donald Trump, intending its

readers to draw the conclusion that he had done so.126 Hoft and TGP published a series of articles,

some with directly defamatory assertions, others insinuating nefarious conduct. Taken together,

they are a shocking patchwork quilt of baseless attacks.

           39.        TGP’s attacks on Dr. Coomer began with an article written by Hoft on

November 13, 2020. Its lede, “Dominion Voting Systems Officer of Strategy and SECURITY




121
      See Ex. I-1, PX 46.
122
      See Ex. E-3.
123
      See Ex. E-3a at 17:31.
124
      See Ex. B-6.
125
      See Ex. E-11.
126
      See Hoft-TGP Mot. at § I.




                                                    33
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Eric Coomer Admitted in 2016 Vendors and Election Officials Have Access to Manipulate the

Vote” is a misleading and untrue attempt to suggest that a 2016 video of Dr. Coomer presenting

the adjudication functions (and security features) of Dominion’s systems was, instead, an

presentation of how to rig elections.127 In the article, Hoft first introduces TGP’s readers to Joe

Oltmann, saying that he researched Dominion and did a “deep dive” on Dr. Coomer.128 The article

concludes with a link to the “Antifa Manifesto” re-post from Dr. Coomer’s private Facebook page,

a widely-shared satirical and sardonic “letter” to Donald Trump and signed by “Antifa.”129 The

post is written with the author’s (not Dr. Coomer) tongue firmly in cheek, asking for aspirational

reforms in government and expressing concerns that under President Trump, our nation was

precariously close to fascistic control, as with the regimes of autocrats in history.130 TGP asked

its readers to share the post, clearly intending harassment of Dr. Coomer.131

            40.     TGP upped the ante the very next day, with a story entitled “Report: Anti-Trump

Dominion Voting Systems Security Chief Was Participating in Antifa Calls, Posted Antifa

Manifesto Letter to Trump Online.”132 The headline is unequivocal: TGP’s reporting concludes

that Dr. Coomer “was participating in Antifa calls.” TGP’s source for the article seems to be

merely watching Michelle Malkin’s streamed interview of Oltmann.133




127
      See Ex. E-1, PX 86.
128
      See id.
129
      See id.
130
      See id.
131
      See id.
132
      See Ex. E-1, PX 87.
133
      See id.




                                                   34
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           41.        The Dominion conspiracy continued in TGP the next day, November 15, with an

article promising that Sidney Powell would reveal shocking news about Dominion in her “Kraken”

suits.134 On November 16, Hoft followed with a story and an audio interview with Oltmann. The

story, entitled “Denver Business Owner: Dominion’s Eric Coomer Is an Unhinged Sociopath —

His Internet Profile Is Being Deleted and Erased,” included an interview in which Hoft

unquestioningly presents Oltmann with a 21-minute platform to retell Oltmann’s allegations and

with Hoft agreeing, confirming facts, and egging him on.135 Shockingly, at one point in the audio,

Oltmann brags about doxing Colorado journalists who he claims are Antifa, and even brags about

threatening Dr. Coomer’s friends with doxing and harassment if they would not provide

incriminating information on Dr. Coomer.136

           42.        A November 23 article, “BREAKING: SECOND VIDEO REVEALED of

Dominion Voting System’s Eric Coomer Explaining to Elections Officials How to Switch Votes

(VIDEO)” again falsely and misleadingly twists a video of Dr. Coomer explaining how

adjudication is performed—in 2016. 137 Two articles were then posted the next day, with one

stating plainly that “Coomer was found to be a Trump-hating Antifa sociopath.”138 Hoft’s twin

brother, Joe Hoft, posted an article linking Dr. Coomer to new conspiracy theories: “Not Only Was

Dominion Prone to Attack from China and Iran – It Was Also Connected to Pro-Obama Entity




134
      See Ex. E-2.
135
      See Ex. E-3.
136
      See Ex. E-3a.
137
      See Ex. E-4.
138
      See Ex. E-5; Ex. E-6.




                                                   35
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Known as ACORN.”139 And on November 27, Hoft and TGP published an article stating (without

any evidence whatsoever) that Dr. Coomer contradicted Dominion’s statements about the security

of its systems.140

            43.       TGP continued its assault through several articles in December. On December 17,

2020, TGP posted “More On Dominion Voting Machines: They Could Easily Duplicate Votes and

Security Threats Were Virtually Ignored.” 141 The article quotes tweets from Kyle Becker

reframing quotes from Dr. Coomer discussing recertification. 142 TGP concludes that “there may

be a good case for perjury” against Dr. Coomer.143 On December 27, TGP posted a story entitled

“Developing: Dominion’s Anti-Trump Executive Eric Coomer Owns Patents on Adjudication

Process That Investigators Found Skimmed Votes from Trump in Michigan.” The story quotes

Oltmann as saying that Dr. Coomer is mentally ill and a sociopath, and falsely ties the adjudication

process to rumored problems in Antrim County. 144 The Antrim rumors were quickly and

thoroughly debunked, even in a Michigan Republican investigation. 145

            44.       On December 28, 2020, Hoft and TGP published perhaps the most egregious piece

in their serial attack on Dr. Coomer. “WAKE UP AMERICA! Bold Billionaire Offers $1 Million

Bounty for Dominion’s, Eric Coomer’s Comeuppance” is a call to action for TGP readers,

encouraging them to provide evidence about Dr. Coomer to Alki David, allegedly a billionaire,


139
      See Ex. E-7.
140
   See Ex. E-8.
141
      See Ex. E-9.
142
      See id.
143
      See id.
144
      See Ex. E-10.
145
      See Ex. B-2, PX 107.




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who offered the bounty.146 TGP’s article does not say what is intended by “comeuppance” in its

headline, but the article continues its narrative about Dr. Coomer, and adds a new false allegation

that patents secured by Dr. Coomer are controlled by China.147 The declaration of elections expert

Dr. Halderman states clearly that the patents that Dr. Coomer worked on were anything but

nefarious—they made elections more secure and provided transparency.148

            45.       A January 4, 2021 article linked Dr. Coomer to (Republican) Secretary of State

Brad Raffensperger in Georgia and alleged the connection was to allow for fraud in the election. 149

But from there TGP’s allegations about Dr. Coomer fizzled without substantiation, as they did

with the other media Defendants. Absent real proof of prior accusations, Dr. Coomer then became

the target of innuendo. Subsequent articles from TGP implied misconduct by publishing photos

of Colorado officials at a barbecue hosted by Dr. Coomer, suggesting that any connection to him

or Dominion was related to election fraud. 150 Hoft had received the photos of Dr. Coomer, his

house, and the barbecue from Oltmann, unsolicited. 151

            46.       To this day Hoft and TGP assert without evidence that the allegations about

Dr. Coomer and Dominion are true.152 Instead, Hoft and TGP base their allegations on specious

and debunked evidence and other sources that equally have no knowledge or evidence of the



146
      See Ex. E-11.
147
      See id.
148
      See Ex. O at 17-18.
149
      See Ex. E-1, PX 88.
150
      See Ex. E-10; Ex.-11; Ex. 12.
151
  See Ex. E-1, at 76:3-80:15 (discussing photos sent by Oltmann and identifying attendees of the article). Hoft
admitted TGP did a story about a Republican official from one of the photos.
152
      See Hoft-TGP Mot. at 19.




                                                      37
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allegations made. 153 For example, they confuse speculation over Texas’ decision not to buy

Dominion machines with proof that Dominion’s machines and Dr. Coomer were complicit with

election fraud.154 With Curling, the case in which Plaintiff’s expert Dr. Halderman served as an

expert, they raise the specter of a potential vulnerability and treat their speculation as evidence of

fraud, when in reality, there is nothing in the Curling case that suggests that either Dr. Coomer or

Dominion rigged the 2020 Presidential election. 155,156 Hoft and TGP also rely on the far-right

website The Epoch Times as authority, again without evidence.157 They identify Jovan Pulitzer, a

widely discredited inventor of a tool allegedly designed to find counterfeit Arizona ballots (from

bamboo fibers linking them to China) in the Cyber Ninja’s failed “audit,” as a source about

Dr. Coomer and as an “elections expert,” of course with no supporting declaration. 158 Defendants

cite Democratic senators’ investigation of the security of voting machines in 2019 where most of

the authorities cited are quite partisan. 159 Defendants even cite as a “Dominion whistleblower”

Melissa Carone, Giuliani’s star witness at an unofficial Michigan hearing. Giuliani even tried to

shush her at one point, and Dominion later said that she was a one-day contract worker hired to

wipe down the machines. 160


153
      See id. at 3-7.
154
      See id. at 3.
155
      See id.
156
      See Exhibit A, Coomer Dec. at ¶¶ 40-47.
157
      See id. at 4; see also Ex. E-15.
158
   See Hoft-TGP Mot. at 4-5. Footnote 2 even cites to TGP’s own article reposting a Pulitzer tweet accusing
Dr. Coomer of an admission that voting machines are vulnerable.
159
   See id. at p. 5, n.7-8 (citing a Republican “hearing” in Georgia December 20, 2020, and former White House
Adviser Peter Navarro’s The Navarro Report, a three-part publication concluding the election was stolen and former
President Trump actually won). Note also that the motion cites TGP articles authoritatively in several places.
160
      See Ex. E-16.




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            47.      Of course, in contrast Hoft and TGP ignore numerous credible sources that

concluded there was no evidence of real election fraud, including Trump appointee, Chris Krebs,

and Trump’s own Attorney General, William Barr.

            48.      Hoft’s and TGP’s deposition testimony did not help with their positions. Hoft had

never heard of Eric Coomer prior to Oltmann’s story.161 Hoft testified that TGP’s articles are

“news with opinion,” but the readers are left on their own to determine which part of an article is

either. 162 Hoft utterly relied on Oltmann as his source, admittedly with no attempt to find

corroborating evidence.163 Hoft found Oltmann to be credible primarily because Michelle Malkin

had interviewed him. 164 As with all Defendants in this case, Hoft and TGP did not contact

Dr. Coomer to ask whether Oltmann’s fantastic allegations were true. 165 And like all Defendants,

Dr. Coomer and Dominion fit neatly into a preconceived narrative that if Biden won the election,

it could only be due to fraud.166

            49.      Hoft had no training in journalism, apart from attending seminars years ago. 167 He

has not studied journalism ethics. 168 Hoft and TGP are not affiliated with the Society of

Professional Journalists, the American Society of News Editors, or the National Conference of




161
      See Ex. E-1, at 22:15-22.
162
      See id. at 10:11-11:7.
163
      See id. at 32:17-33:6.
164
      See id. at 33:7-12.
165
      See id. at 20:25-21:22.
166
      See id. at 62:18-63:18; see also Rothschild Dec. at ¶¶ 4, 18-21, 85.
167
      See id. at 12:19-13:4.
168
      See id. at 14:3-9.




                                                             39
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Editorial Writers. 169 TGP’s editorial standards are on the website’s “About” page, and they

expressly state that the site espouses politically conservative views. 170 The page further states that

TGP is owned “100%” by Jim Hoft. 171

            50.      The story about Dr. Coomer was not the only election fraud story TGP published.

Hoft stated that TGP published articles about election fraud even before November 3, 2020,

including the Hammer and Scorecard theory advanced by Sidney Powell (infra).172 Post-election,

TGP posted a number of election fraud allegations, including witness affidavits, unofficial

hearings in several states, video from inside the TCF Center, the story of a vanload of ballots

dropped on election night, election observers in Georgia leaving for the night and having workers

pull ballots from under the table to count, multiple counts of ballots and ballots dropped for Biden

in the middle of the night.173

            51.      Plaintiff’s journalism ethics expert, Professor Brown, concludes:

            Hoft’s cynical conclusion (that the election was fraudulent simply because his
            candidate lost) is based on mere supposition, not on fact, and in my opinion does
            not follow the basic journalistic principle of searching for, collecting and reporting
            all relevant information about a subject.174

Simply put, Hoft and TGP did not act as journalists. The allegations about Dr. Coomer, like any

election fraud rumor, were scandalously published with no attempt to verify the inherently

improbable story. But according to Hoft, the benefits to TGP for election fraud coverage included


169
      See id. at 16:11-18.
170
      See THE GATEWAY PUNDIT, https://www.thegatewaypundit.com/about/ (last visited Sept. 17, 2021).
171
      See id.
172
      See Ex. E-1, at 62:18-64:11.
173
      See id. at 66:19-69:21.
174
      See Exhibit N, Brown Dec., at ¶ 91.




                                                        40
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being viewed as a pro-Trump grassroots leader, as well as increased subscriptions and

advertising.175

E.          Malkin’s defamation of Dr. Coomer.

            52.      Michelle Malkin is a political commentator and host of #MalkinLive based in

Colorado.176 Malkin was one of the first of the Defendants to interview Oltmann with many of the

other Defendants crediting Malkin with raising Oltmann and his allegations to their attention. 177

On November 13, 2020, Malkin gave Oltmann a platform on her #MalkinLive livestream just four

days after Oltmann first published his allegations against Dr. Coomer on the Conservative Daily

podcast. 178 Oltmann used this platform to repeat his allegations against Dr. Coomer, which

included the same weaknesses in his original story—unknown and unverified speakers on an

alleged call and no personal knowledge, evidence, or qualifications to support the allegations he

raised.179 Yet Malkin presented Oltmann as an “eyewitness account of the fraud that’s going on”

in light of Oltmann being censored by Twitter for “telling the truth.” 180 Malkin pitched the entire

Oltmann interview about Dr. Coomer as “information vital to the systemic stealing of the

election.” 181 Malkin informed her viewers “[t]hat’s how we go from conspiracy theory to




175
      See Exhibit E-1, at 73:4-74:20.
176
      See Exhibit F-1, Malkin, July 27, 21 Depo. Tr., PX 15, PX 17.
177
  See Malkin Mot. at Ex. A (Malkin Dec.), ¶ 2; see also OAN-Rion Mot. at Rion Dec., ¶ 4; Powell Mot. at 15;
Defending the Republic Mot. at 16.
178
      See Exhibit F-1, Malkin, July 27, 2021, PX 15.
179
      See id.
180
   See Exhibit F-3, Malkin, #MalkinLive Tr. at 2-3. Notably, the last ten minutes of #MalkinLive is devoted to
Oltmann promoting FEC United.
181
      See Exhibit F-3, at 2.




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conspiracy truth!” 182 Despite Malkin’s subsequent assertions, she never makes any disclaimer

during the entirety of this show regarding Oltmann’s claims. Instead, she went on to repeatedly

promote the interview on Twitter, stating:

           Joe Oltmann (now banned on Twitter) exposes pro-Antifa, cop hatred-inciting rants
           of #EricCoomer, VP of strategy/security on Dominion Voting Systems. “What if I
           told you he is a major shareholder’ in Dominion & owns patents associated with
           other voting systems?” #MalkinLive.

           Full interview with #joeoltmann on #ericcoomer # dominion here ==>

           What are they trying to hide? #DominonVotingSystems.

           In case you missed it: My interview with #JoeOltmann from six days ago exposing
           #EricCoomer #Antifa #ExposeDominion. 183

           53.      Malkin again interviewed Oltmann, this time on her Newsmax-aired Sovereign

Nation program, entitled “Hacking the Vote” that aired on November 28, 2020. 184 Again, Malkin

invited Oltmann to repeat his defamatory statements about Dr. Coomer without challenge to his

false narrative.185        Like her initial interview, this broadcast consisted of rank conspiracy theories

about election fraud framed around the untrue assertion that Dr. Coomer admitted to subverting

the election.186 Malkin’s limited qualifications at this time, stating “I think it is important to make

explicit that, at this point, at least publicly, there is no evidence that Eric Coomer made good on

his threat” and “[s]o many questions Joe, and we’re only getting started,” do not change the gist




182
      See generally Exhibit F-3.
183
      See Ex. F-1, PX 19-23.
184
      See Ex F-1, PX 17.
185
   See Ex. F-3, at 4:20-7:8, 9:23-13:19, 14:24-16:4, 20:12-21:7, 26:8-29:17; see also Ex. F-1, PX 17; Malkin Mot. at
Ex. A-2, 7:5-13:2.
186
      See Malkin Mot. at Ex. A-2, 7:5-13:2.




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of the statements she published regarding Dr. Coomer.187 Instead, they only imply that there is

undisclosed evidence and more Malkin and Oltmann plan to uncover. Further, these qualifications

that Malkin touts as exculpatory failed to address the defamatory comments head on—it is

defamatory to suggest an election worker confessed to a crime when he did not commit the crime.

            54.      In addition to the two Oltmann broadcasts, Malkin also reposted the defamatory

TGP article and other false claims made by Oltmann, including that he was a major shareholder of

Dominion.188

            55.      Ultimately, Malkin failed in her most basic duties as a journalist. Prior to the

livestream, Malkin did little to no pre-interview and inexplicably claims she did not have time to

vet Oltmann’s story and did not even know what Oltmann was going to talk about.189 This did not

stop her from publishing and promoting the interview after it occurred. To this day it is still

accessible online and Malkin has refused to retract it. 190 Two weeks later, she republished the

same story on Sovereign Nation again with no intervening attempt to fact check Oltmann’s

claims.191 In both broadcasts, she never asked obvious questions about Oltmann’s story, including

whether he had a recording of the call or how he was able to access the call in the first place. 192

She never asked to see Oltmann’s notes from the call and even denied that she had an obligation

as a journalist to present verifiable facts. 193 She did not ask how Oltmann could be certain it was


187
      See id. at 11:2-4.
188
      See Ex. F-1, PX 19-20, PX 22-24.
189
      See Ex. F-1, 16:23-17-18; 29:22-30:4.
190
      See Exhibit V-1, Cain Dec., Demand for Retraction.
191
      See Ex. F-1, 65:24-66:18; 69:20-71:22.
192
      See generally Ex. F-3; Ex. F-1, PX 17; Malkin Mot. at Ex. A-2.
193
      See id.




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Dr. Coomer on the call; rather Malkin made it a point of presenting Oltmann’s story “because he

had been censored on Twitter from saying it.” 194 Had she simply viewed the entire November 9

Conservative Daily Podcast instead of the “snippets” Malkin alleges, she would have seen

Oltmann state on three separate occasions that he could not be sure it was Dr. Coomer on the

call.195 In effect, Malkin relied on a single “source” who gave her no actual corroboration for his

story while failing to note the limitations of her own reporting. Moreover, Malkin herself is unable

to explain how Dr. Coomer could have rigged the election, making the entire premise for her

broadcasts inherently improbable. 196 Instead, Malkin bases her defamation on Dr. Coomer’s

Facebook posts and the proposition that Dr. Coomer’s disdain for former President Trump and

support of causes like Black Lives Matter suggests he would be more likely to have been on the

Antifa call and to have committed election fraud.197 However, speculation is not fact and these

Facebook posts are not probative evidence for the allegations she asserts.

            56.       Malkin further admitted that if the Antifa call took place, there would be other

witnesses who could corroborate the story. 198 Naturally, she made no effort to interview any of

them, including Dr. Coomer (who would have been a witness had he been on the call) and never

asked Oltmann for this type of confirming information or even if he knew the identities of anybody

else on the alleged call. 199 She had no excuse for failing to contact Dominion. She never tried,




194
      See Ex. F-3, 44:3-7.
195
      See id. at 11:21-12:13; see also Exhibit B-4, Oltmann, Conservative Daily Transcript (Nov. 9, 2020) at 19-20, 60.
196
      See Ex. F-1, 73:18-25.
197
      See id. at 9-10.
198
      See Ex. F-1, Malkin, July 27, 2021 Depo. Tr. 126:8-15.
199
      See id. at 71:8-22.




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even though Dominion’s “Contact” link was prominently displayed on their website. Malkin

recklessly turned a blind eye to readily available facts that might disprove the false narrative

regarding Dr. Coomer. During her deposition, when asked to admit that verifying facts was part

of her responsibility as a journalist, Malkin failed to answer the question and instead spoke of her

“imperative” to “to give a platform to people who are being censored for disseminating what is

considered dangerous or dissident information.”200

            57.         Malkin’s own news organization issued a written and broadcast public retraction

and apology to Dr. Coomer due to Malkin’s reporting.201 In it, Newsmax states: “Newsmax has

found no evidence that Dr. Coomer interfered with Dominion voting machines or voting software

in any way, nor that Dr. Coomer ever claimed to have done so. Nor has Newsmax found any

evidence that Dr. Coomer ever participated in any conversation with members of 'Antifa,' nor that

he was directly involved with any partisan political organization.”202 While Malkin disagrees with

this retraction, indeed she recently refused to issue a retraction in response to a recent demand on

August 18, 2021 203 (which was sent after Oltmann failed to appear for his court-ordered

deposition), she cannot get around the fact that her reporting about Dr. Coomer was based on an

imagined story from a noncredible source.

            58.         Malkin further ignored obvious actual credible sources in order to support her

preconceived voter fraud narrative. She eschewed both the CISA and the Department of Homeland




200
      Id. at 44:9-19.
201
      See Ex. F-1, PX 30.
202
      See id.
203
      See Exhibit V-1, Cain Dec., Demand for Retraction.




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Security as authoritative sources on election fraud issues in favor of Glenn Chong,204 a Filipino

politician she featured with Oltmann on her Sovereign Nation show.205 Chong helped create the

voter fraud tale in the Philippines regarding Smartmatic, 206 which, in turn, gave credence to the

Coomer story.

           59.      In response, Dr. Coomer has provided the Court with the Declaration of Fred

Brown who opines that Malkin failed to report on widely accepted, verifiable information that

conflicted with her assumptions which may legitimately be characterized as a reckless disregard

for the truth.207 This opinion from a credible journalism expert is sufficient, in and of itself, to

constitute prima facie evidence of this Malkin’s actual malice.

F.         Metaxas’s defamation of Dr. Coomer.

           60.      Defendant Eric Metaxas is an author, speaker, and host of The Eric Metaxas Radio

Show. Metaxas is employed by Salem Media and broadcasts his show across various media

networks and platforms, including the Trinity Broadcasting Network, as well as 215 radio stations




204
      Exhibit F-1, at 73:4-16; 109:20-113:14; PX 17.
205
      See Exhibit F-1, Malkin, July 27, 2021 Depo. Tr. 72:25-73:16; 109:9-110-20; 112:21-113:14.
206
   UNTV News, GIS Exclusive: Glenn Chong to push for election reforms if elected to Senate, UNTV (Feb. 9, 2019)
https://www.untvweb.com/news/gis-exclusive-atty-glenn-chong-to-push-for-election-reforms-if-elected-to-senate/
(last visited Sept. 17, 2021).
207
      See Exhibit N, Brown Dec. at ¶¶ 65-78, 130-134.




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across the United States. 208 As Metaxas noted in his separate motion to dismiss, he commands a

significant public platform with a large public following.209

            61.      Metaxas says that he has the freedom to do his show as he pleases.210 Metaxas is

unaware of any written standards or requirements for shows to observe.211 He admits there is no

investigation as a part of show preparation, stating:

            It’s--I’m kind of a fly by the seat of my pants guy in that we don’t have the budget
            or bandwidth or the time to do anything like that. So usually, it’s like, that seems
            interesting. That book seems interesting. And I kind of respond in the moment, so
            it’s not—it wouldn’t be my inclination to do that. But we—I don’t think we would
            be able to do that anyway, you know. 212

            62.      Prior to Oltmann’s appearance on his show, Metaxas was promoting election fraud

theories. A November 7, 2020 tweet is indicative: 213




208
      See Pl.’s Resp. to Metaxas 12(b)(2) Mot. at Coomer Dec., ¶¶ 6, 9.
209
    See Metaxas 12(b)(5) Mot., filed Feb. 22, 2021, at p. 2 (“Defendant Eric Metaxas is a bestselling author and host
of the radio program The Eric Metaxas Radio Show.”).
210
      See Exhibit G-1, Metaxas, Aug. 13, 2021 Depo. Tr. 14:1-13.
211
      See id. at 15:3-21.
212
      See id. at 15:22-16:9.
213
      See Exhibit G-5.




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            63.      While Metaxas does not remember how he heard about Oltmann’s allegations, he

understood what they would be prior to having him on the show. 214 He thought it would be

interesting, and “fun” for his audience. 215 Neither Metaxas nor his staff did any investigation of

Oltmann prior to having him on the show. 216 Metaxas was unaware that Oltmann had advanced

other election fraud theories on Conservative Daily.217

            64.      Metaxas alleges he did not find the Antifa conference call to be implausible, nor

did it occur to him that Oltmann might have had a recording. 218 In fact, Metaxas would not even

agree that a recording would be important evidence. 219 And, as with all the Defendants, Metaxas

did not reach out to Dr. Coomer to verify Oltmann’s claims.220

            65.      On November 24, 2020, Metaxas hosted an interview with Oltmann, on his radio

talk show and podcast. 221 Metaxas published this interview across various media platforms,

including his YouTube channel, The Eric Metaxas Radio Show, which currently has

approximately 206,000 subscribers. 222 Although Metaxas knew nothing about Dr. Coomer, he

introduced Oltmann by saying that he would tell the story of Eric Coomer of Dominion, who “is




214
      See Ex. G-1, at 21:10-23:10.
215
      See id. at 23:2-10.
216
      See id. at 23:11-20.
217
      See id. at 23:21-25.
218
      See id. at 27:9-29:9.
219
      See id. at 29:10-21.
220
      See id. at 30:3-5.
221
      See Exhibit G-2; Ex. G-1, PX 97 at 2:8-17; see also Pl.’s Amend. Compl. at ¶ 59.
222
      See Exhibit A, Coomer Dec. at ¶ 35; see also Pl.’s Amend. Compl. at ¶ 59.




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also involved with Antifa.”223 And Metaxas alleges he did not know whether he gave thought to

what his listeners would think of Dr. Coomer, or whether it might lead to threats. 224

            66.      During the Metaxas interview, Oltmann again falsely alleged that Dr. Coomer was

an anonymous Antifa activist on a call Oltmann claimed to have infiltrated.225 Metaxas remarked

that Dr. Coomer’s background reminded him of the Unabomber. 226 Oltmann again claimed that

he determined from this call that Dr. Coomer subverted the presidential election. 227

            67.      Metaxas did not challenge or question statements by Oltmann that Dr. Coomer was

involved in influencing the outcome of a 2012 Mongolian election, despite its facially improbable

nature. 228 At one point in the interview, Metaxas reacted to Oltmann, saying, “It’s extremely

criminal, and these folks know they’re going to jail for the rest of their lives.”229

            68.      Following this interview, Metaxas published additional false statements in tweets,

promoting his interview of Oltmann and additional interviews perpetuating these allegations of

fraud to his followers.230




223
      See Ex. G-1, at 57:8-58:20.
224
      See id. at 58:21-59:11.
225
      See Exhibit G-2; Exhibit G-1, PX 97 at 3:15-25, 6:6-7:3; see also Pl.’s Amend. Compl. at ¶ 59.
226
      See Ex. G-1, at 63:12-25.
227
      See Ex. G-1, PX 97 at 14:7-16, 18:10-19:17, 28:7-16.
228
      See Ex. G-1, at 66:24-69:5.
229
      See id. at 79:4-22; PX 97 at 29:8.
230
   See Exhibit A, Coomer Dec. at ¶ 36; Exhibit G-6, Eric Metaxas, Joe Oltmann, THE ERIC METAXAS SHOW PODCAST
(Nov. 25, 2020); Exhibit G-7, Eric Metaxas, Kevin McCullough, THE ERIC METAXAS SHOW PODCAST (Dec. 3, 2020);
Exhibit G-8, Eric Metaxas, Steve Bannon, THE ERIC METAXAS SHOW PODCAST (Dec. 21, 2020); Exhibit G-3, Eric
Metaxas (@ericmetaxas), TWITTER (Nov. 24, 2020, 5:26 PM); Exhibit G-4, Eric Metaxas (@ericmetaxas), TWITTER
(Jan. 4, 2021, 2:21 PM); see also Pl.’s Amend. Compl. at ¶ 59; n.72-76.




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            69.      At the time Metaxas published all of these statements, Metaxas had no credible

evidence that an “Antifa conference call” actually happened; that Dr. Coomer was present on the

call; that the comments attributed to Dr. Coomer were actually spoken; or that the alleged election

fraud actually occurred. 231 Metaxas took no actions or efforts to corroborate or verify Oltmann’s

allegations before publishing them. 232 Metaxas perpetuated this defamation despite numerous

credible sources refuting it. 233 Metaxas alleges he knew of no federal agency or body that had

determined the 2020 election was fraudulent. 234 He alleges he was unaware that Chris Krebs, a

Trump appointee to CISA, had reported there was no evidence of fraud on November 12, 2020.235

He alleges he was unaware that all states participating in the U.S. Election Assistance Commission

had pre- and post-election security measures.236 There was apparently no consideration given to

credible sources refuting allegations such as those leveled by Oltmann.

            70.      Metaxas has demonstrated ill will towards Dr. Coomer and financial and personal

benefit in defaming him. 237 To this day—despite overwhelming, independent evidence that

conclusively establishes the falsity of his statements about Dr. Coomer—Metaxas has never

retracted any of these statements.238


231
      See supra at § II(C); see also Pl.’s Amend. Compl. at ¶ 59.
232
      See id.; see also Exhibit A, Coomer Dec. at ¶ 36; Pl.’s Amend. Compl. at ¶ 59.
233
      See id.; see also Pl.’s Amend. Compl. at ¶¶ 46-50.
234
      See Ex. G-1, at 39:15-19.
235
      See id. at 39:20-25.
236
      See id. at 46:19-47:1.
237
    See Exhibit A, Coomer Dec. at ¶¶ 35-36; Exhibit G-2, The Eric Metaxas Radio Show, Joe Oltmann Discusses How
A Security Genius at Dominion Voting Promised Antifa Members a Trump Loss, YOUTUBE (Nov. 24, 2020); Exhibit
G-6, Eric Metaxas, Joe Oltmann, THE ERIC METAXAS SHOW PODCAST (Nov. 25, 2020); see also Pl.’s Amend. Compl.
at ¶¶ 59, 71, 85.
238
      See Exhibit V-1, Cain Dec., Demand for Retraction.




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G.          Rion and One America News Network’s defamation of Dr. Coomer.

            71.         OAN and Rion’s anti-SLAPP motion describes the network as a “prominent

24-hour national news network which reports on national and international news daily around

America.” 239 OAN operates news bureaus in San Diego, Washington, D.C., and New York

City.240 Its Chief White House Correspondent is Defendant Chanel Rion (Rion).241

            72.         OAN was launched on July 4, 2013. 242 It does not operate under a published

journalistic code of ethics; in fact, the link to its “Founding Principles” returns the message: “It

seems we can’t find what you’re looking for. Perhaps searching can help.” 243 Its president,

Charles Herring, admits the network has a “pro-Trump bias.”244 The network is owned and closely

controlled by the Herring family (father, Robert, and sons, Charles and Bobby, collectively, the

“Hs”), and, in addition to no published ethical standards, it also has no journalistic standards for

its reporters to follow.245

            73.         OAN places an emphasis on tailoring its news stories to viewer input from their

website while running stories that are of interest to the Hs, known internally as “H stories.” Under

oath, Charles Herring denied the existence of “H stories,” but Plaintiff has attached an internal

OAN email to this Response from OAN’s News Director, Lindsey Oakley, demanding “H stories”



239
      See OAN-Rion Mot. at 1.
240
      See id. at 1-2.
241
      See id. at 2.
242
      See Exhibit I-1, OAN, July 30, 2021 Depo Tr. 76:2-7.
243
      See Exhibit N, Brown Dec. at ¶ 19.
244
      See Exhibit I-1, OAN, July 30, 2021 Depo Tr. 97:22-98:2.
245
    See Ex. I-1, at 10:22-23:6; see also Exhibit H-1, Rion, Aug. 9, 2021 Depo. Tr. 31:1-16; Exhibit R, Golingan Dec.
at ¶ 5.




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be run at least eight hours a day. 246 The defamatory report about Dr. Coomer in “Dominion-izing

the Vote,” discussed below, was an H story.247

            74.          OAN has frequently supported and publicized former President Trump’s

preconceived election fraud narrative. 248 Shortly after the election, OAN made a deal with

Giuliani and the Trump Campaign to loan one of its reporters, Christina Bobb, to assist the

campaign in its efforts to challenge the 2020 Presidential election. 249 Christina Bobb and Rion

also operate a nonprofit called “Voices & Votes,” which has donated $605,000 to the Arizona

“audit.”250 Ms. Bobb still reports regularly on that audit for OAN and, generally speaking, OAN’s

audience is unaware or does not care that OAN’s reporters are driving the very story they are

covering.

            75.          Rion was hired by OAN in 2019.251 She had no prior experience as a journalist. 252

She was hired by Charles Herring after one screentest.253 Rion was immediately given the role of

OAN’s weekend White House correspondent. 254 OAN did not have any written journalistic

standards for Rion to follow.255 Instead, Rion received on-the-job training by OAN’s Washington


246
      See Exhibit R, Golingan Dec. at Ex. C.
247
      See id. at ¶ 11.
248
  See Rothschild Dec. at ¶¶ 4, 18-21, 49-64, 85; see also Exhibit I-2, OAN Newsroom, Several States Investigating
Accounts Of Mail-In Voter Fraud (Sept. 3, 2020); Exhibit I-3, OAN Newsroom, President Trump Slams Mail-In
Voting As A ‘Scam,’ Says It Will Be ‘A Disaster’ (Sept. 19, 2020); Exhibit I-4, OAN Newsroom, AG Barr: Mail-In
Ballots Enable Fraud, Voter Coercion (Sept. 27, 2020)
249
      See Exhibit J-1, Giuliani, Aug. 14, 2021 Depo Tr. 87:15-94:12
250
      See https://voicesandvotes.org/ (last visited Sept. 17, 2021).
251
      See Exhibit H-1, Rion, Aug. 8, 2021 Depo. Tr. 30:10-19.
252
      See id. at 29:10-14.
253
      See id. at 30:10-19.
254
      See id. at 30:20-25.
255
      See id. at 31:1-10.




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D.C. bureau chief, John Hines, and its then chief investigative reporter, Neil McCabe. 256 Rion is

now OAN’s Chief White House Correspondent, where she works exclusively out of OAN’s

Washington D.C. bureau.257

            76.      OAN’s newsroom is in San Diego, as are the bulk of its employees. 258 Rion,

however, writes and produces her own stories in Washington D.C., often with direct input and

approval from Charles Herring. 259 Traditionally, it is unusual for the ownership of a news

organization to substantially involve itself in editorial or production matters regarding individual

stories.260 Most journalists reject this type of interference as it compromises their independence.

OAN is an exception. 261

            77.      Rion began working on the Coomer story in mid-November, 2020.262 Dr. Coomer

was not known to her at the time, so she had to familiarize herself with his role at Dominion. 263

To Rion, Oltmann’s status as a conservative activist seeking to expose Antifa journalists only

served to affirm his credibility. 264 In conducting research before allowing Oltmann on her show,

Rion did not ask Oltmann to identify any other potential witnesses on the call, saying that was not

“relevant” to her. 265 She was willing to rely on one “source” and did not concern herself with


256
      See id. at 31:11-16.
257
      See id. at 14:5-10, 67:3-6.
258
      See id. at 66:19-67:6.
259
      See id. 14:5-10, 63:25-65:2
260
      See Exhibit R, Golingan Dec. at ¶¶ 5-6.
261
      See id., at ¶¶ 14-15; see also Exhibit N, Brown Dec. at ¶¶ 20.
262
      See Ex. H-1, at 115:2-23.
263
      See id. at 115:2-23.
264
      See id. at 88:16-25.
265
      See id. at 79:22-80:17.




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verifying what occurred on the call because it was “not the focus of our story about Eric

Coomer.”266 Rion did not request Oltmann’s notes from the call, saying “there were about as

relevant to her as ‘Mike Tyson’s bodyguard.’”267 Rion claims to have put some effort into trying

to contact Dr. Coomer before her report aired, but she did not even attempt to contact Dominion

to request they make Dr. Coomer available.268 Rion never got any documentation showing that

Dr. Coomer was a shareholder of Dominion despite her specific request to Oltmann. 269

            78.      OAN was aware there was no video or audio recording of the alleged Antifa call. 270

OAN believed that Oltmann was able to access the Antifa call through the “loose lips” of

Individual 3, but again ignored him/her as a potential source. 271 OAN nonetheless contends that

Oltmann is a credible source, but admits he is biased.272

            79.      On November 15, 2020, after an introduction from Randy Corporon, Oltmann sent

Rion screen captures from Dr. Coomer’s Facebook account. 273 Incidentally, these images were

also sent to the Hannity show, which did not publish them.274

            80.      On November 17, 2020, Rion tweeted #EricCoomer with the quote: “Trump won’t

win. I made F***ing sure of that.” 275 The tweet appended another tweet from Ron Watkins


266
      See id. at 80:23-81:15.
267
      See id. at 84:1-13.
268
      See id. at 89:13-90:20.
269
      See id. at 131:6-23.
270
      See Ex. I-1, at 21:20-22:9.
271
      See id. at 27:17-23; 32:24-34:5.
272
      See id. at 38:23-39:23.
273
      See Ex. I-1, PX 38.
274
      See id.
275
      See Ex. I-1, PX 33.




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(@CodeMonkeyZ) that highlighted Dominion’s voting software “Allows staff to adjust tally based

on review of scanned ballot images.”

           81.      On November 21, Rion tweeted again, this time complaining about the lack of

interest from criminal investigators on the Coomer footage:276




276
      See Ex. A-1, Pub. 32.




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           82.      OAN broadcast “Dominion-izing the Vote” later that evening. 277 The report was

consistent with OAN’s ongoing election fraud reporting. Rion interviewed Ron Watkins, who she

alleges is still credible to this day. 278 Watkins is closely linked to QAnon and has no experience,

education, or training in election security. 279 In choosing Watkins, Rion picked a known

conspiracy theorist as opposed to any of the 59 election experts who signed a letter on November

16, 2020 affirming that there was no credible evidence of computer fraud in the 2020 election

outcome.280 Of those 59, only Dr. Halderman appeared in “Dominion-izing the Vote,” presumably

given his prior research in exposing election vulnerabilities.

           83.      Watkins states in his interview that adjudication “would allow enormous batches

[of ballots] by the hundreds of thousands to be decided on by a few unmonitored workers.” This

is false.281 Watkins, referring to the vote review panel, told Rion, “your votes doesn’t matter in

these districts with the Dominion machines in them, because these two-to-six people trained by

Dominion have ultimate control.” Rion concluded the segment by wondering aloud, “to what

extent was this actually designed by the top on purpose?” This segue led into an interview with

Oltmann that focused on Dr. Coomer. Rion also stated that Coomer “holds several patents with

Dominion” regarding adjudication.




277
      See Ex. I-1, PX 32.
278
      See Ex. H-1, at 112:19-25.
279
      See Ex. P, Rothschild Dec. at ¶¶ 9-12; Exhibit O, Halderman Dec. at ¶¶ 36-38.
280
      See Ex, H-1, PX 58.
281
      See Exhibit O, Halderman Dec. at ¶¶ 36-48.




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                                         OAN’s Alleged Election Security Expert, Ron Watkins

             84.    According to Dr. Halderman, Watkins and OAN present an absurd

mischaracterization of the adjudication process.282 Use of adjudication provides added assurance

that if you make a common mistake on a ballot your vote will still count. 283 Use of adjudication

to change or discard “enormous batches” of ballots without detection is not possible as

jurisdictions typically use ballot reconciliation procedures to track the number of ballots cast,

independently of the electronic adjudication process.284

             85.    Further, vote review panels typically involve bipartisan participation or monitoring,

a fact that OAN is both aware of but did not include in its report.285 Every decision the reviewers

make is subject to extensive electronic logging. 286 There is also no “mass adjudication” feature;

the review panel must inspect ballots one at a time and make any necessary corrections to each



282
      Id.
283
      Id.
284
      Id.
285
      Id.
286
      See Ex. I-1, at 85:20-86:4; see also Exhibit O, Halderman Dec. at ¶ 46.




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before saving it and moving on. 287 Even if the entire vote review panel (and any observers)

conspired to commit fraud, manually clicking through hundreds of thousands of ballots to alter the

presidential votes would likely take days, and it would leave clear traces in multiple sets of data

files and logs.288 Finally, like cheating due to an “algorithm,” large-scale cheating via adjudication

would be revealed in manual recounts and post-election audits of the original paper ballots. 289

Several states have conducted such reviews without detecting any evidence of fraud. 290

             86.     OAN and Rion’s reference to Dr. Coomer’s patents in the report fails to note that

these patents actually led to an improvement to electronic adjudication that makes it even more

traceable: appending information about the adjudicated result to the image of the ballot. 291 This

does not make fraud easier; it makes it easier to detect. 292

             87.     Rion’s report also includes Watkins stating that 130,000 votes were adjudicated for

Biden because there was a change in gamma settings to the Dominion software to allow for hand-

checking or changing of the votes. 293 Charles Herring, however, testified that OAN is not aware

of any evidence that gamma settings were tampered with by Dr. Coomer or anyone at Dominion

to increase the anomalies during the election. 294




287
      See Exhibit O, Halderman Dec. at ¶ 46.
288
      Id.
289
      Id. at ¶ 47.
290
      Id.
291
      Id. at ¶ 48.
292
      Id.
293
      See Ex. I-1, PX 32.
294
      See Ex. I-1, at 86:6-87:6.




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            88.      After Watkin’s framed the story of potential massive Dominion-related fraud, Rion

played a pre-recorded interview with Oltmann where she asks him to describe the Antifa call:

            Rion: In September 2020, FEC United founder Joe Oltmann had infiltrated Antifa
            to uncover journalists who were active members of the Antifa group attacking his
            company in Colorado. Joe, you infiltrated an antifa conference call this past
            September and accidentally came upon a top Dominion Voting Systems executive
            named Eric Coomer. Describe that call and what it led you to find.

            Oltmann: It was interesting how the call started. Somebody said, ‘Who’s Eric?’ He
            said, ‘Eric is the Dominion guy.’ Somebody said, ‘You know, hey go ahead, told
            him to continue speaking, um, and someone interrupts and says, ‘Hey what are we
            going to do if f-ing Trump wins, and Eric responds, and I’m paraphrasing this, by
            the way, ‘Um, don’t worry about the election, Trump is not going to win, I made f-
            ing sure of that.’ And then they started laughing and someone says, ‘f-ing right.’
            So I just put it, a simple Google search to start, which was ‘Eric Dominion Denver
            Colorado.’ And Eric Coomer came up immediately under Dominion Voting
            Systems.

            89.      Later in the broadcast, Oltmann makes the assertion that Dr. Coomer tipped the

scales of the election. 295 Rion concurs and states that “[i]n Coomer’s case, he was in a position of

power to actually act on his rage against Trump and Trump voters. What does he mean when he

says, ‘Trump won’t win, I made effing sure of that?’ Nothing?”. OAN entitled their publication

“Dominion-izing the Vote” to clearly communicate that the vote had been tampered with and then

went on to state expressly and implicitly that Dr. Coomer was the one who tampered with that vote.

Rion’s above rhetorical question does not change the gist of these communications. Rather, it only

reinforces the implication they intended—that Dr. Coomer was in a position to and did in fact

subvert the election.

            90.      Around the time “Dominion-izing the Vote” aired, OAN was quietly working with

the Trump Campaign to support the various challenges to the 2020 Presidential election. It placed


295
      See Ex. I-1, PX 32; see also Ex. I-1, at 94:4-95:1.




                                                            59
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its reporter Christina Bobb as a lawyer with the Trump Campaign.296 Charles Herring, when asked

about this unprecedented move (discussed infra in the Giuliani section), denied any knowledge of

the deal, even though he made it directly with Giuliani.297

            91.      Bobb and Rion also formed their own nonprofit organization, “Voices & Votes,”298

as a vehicle to raise money in support the election fraud narrative. This nonprofit reportedly has

contributed over $600,000 to the Arizona “audit” effort.299 This sealed OAN’s all-in gamble on

supporting the election fraud narrative and going where their competitors would not dare. While

Bobb and Rion are certainly entitled to pursue their personal political agendas, doing so while

reporting election disinformation as “fact” does not comport with their journalistic obligations.

            92.      After the January 6 insurrection, OAN reportedly suffered an exodus of news

producers after a New York Times reporter, Rachel Abrams, interviewed 18 current and former

employees that condemned the network’s dedication to misinformation. 300                     Following the

publishing of her story, OAN doxed Ms. Abrams’ email account and fired one of its long-time

producers, Marty Golingan, whom she quoted in the story.301




296
      See Exhibit J-1, Giuliani, Aug. 14, 2021 Depo Tr. 30:4-20.
297
      See Exhibit I-1, OAN, July 30, 2021 Depo Tr. 113:12-23.
298
      See https://voicesandvotes.org/ (last visited Sept. 17, 2021).
299
   See H-1, Rion, Aug. 9, 2021 Depo Tr. 40:11-41:21; see also Rosalind Helderman, Arizona’s GOP-backed ballot
review has raised nearly $5.7 million in private donations, organizers say, WASHINGTON POST (July 28, 2021)
https://www.washingtonpost.com/politics/arizona-ballot-review-costs/2021/07/28/d9b093c6-f010-11eb-bf80-
e3877d9c5f06_story.html (last visited Sept. 17, 2021).
300
    See Rachel Abrams, One America News Network Stays True to Trump, N.Y. TIMES, Apr. 18. 2021,
https://www.nytimes.com/2021/04/18/business/media/oan-trump.html.
301
   See Jon Jackson, Marty Golingan Fired by OAN After Saying Staff Doesn’t Think Many Stories Aired on Network
Are True, NEWSMAX. Apr. 19, 2021, https://www.newsweek.com/oan-fires-producer-1584799; see also Exhibit R,
Golingan Dec. at ¶ 16.




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            93.          Golingan had been employed by OAN for five years before he was fired. 302 He

worked in the San Diego bureau, the situs for OAN’s broadcasts. 303 Golingan directly observed

the control of the network by the Hs and their commitment to publishing what the news director

called “H stories.” 304 He saw that the network operated as a business model as opposed to a

journalistic model.305 He saw how the Hs would entertain conspiracy theories reported by viewers

on OAN’s website, including the faking of Ashli Babbitt’s death by Antifa actors. 306 He saw how

the network devolved into a Trump sycophant network that wouldn’t let producers call President

Biden by his presidential title or let them call the insurrectionists at the Capitol “rioters.”307 He

saw how Rion was considered an “untouchable” due to her relationship with the Hs. 308 He saw

how Rion violated normal journalistic standards as one of the “untouchables,” thus allowing her

to produce her own reports in Washington D.C. and then air them in San Diego without

fact-checking by staff.309 He saw how Rion failed to verify the credibility of her sources such as

Ron Watkins, who Golingan knew to be associated with QAnon.310 He knew the “Dominion-izing

the Vote” report was false and “should have never aired” but it was nonetheless required to be run

because it was approved directly by the Hs.311 He knew that OAN ran the Coomer story with


302
      See Exhibit R, Golingan Dec. at ¶ 4.
303
      See Exhibit R, Golingan Dec. at ¶¶ 4, 11, 14; Ex. C.
304
      See Exhibit R, Golingan Dec. at ¶¶ 5, 14; Ex. C.
305
      See Exhibit R, Golingan Dec. at ¶ 5.
306
      See Exhibit R, Golingan Dec. at ¶ 7.
307
      See Exhibit R, Golingan Dec. at ¶¶ 8-10.
308
      See id. at ¶ 15.
309
      See id.
310
      See id. at ¶ 11.
311
      See id.




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reckless disregard for the truth. 312 And he saw how OAN relished the receipt of Dominion’s cease

and desist letter because the publicity, even if bad, was good for the network. 313

H.          Powell, Powell, P.C., and Defending the Republic’s defamation of Dr. Coomer.

            94.          On November 19, 2020, the Trump Campaign provided an update on its legal

 challenges to the election from the Republican National Committee in Washington D.C. Among

 those who spoke at the press conference were personal attorneys for President Trump and

 attorneys for the Trump Campaign, including (at that time) Sidney Powell, Rudolph Giuliani, and

 Jenna Ellis. During the press conference, Powell falsely stated:

            Speaking of Smartmatic’s leadership, one of the Smartmatic patent holders, Eric
            Coomer I believe his name is, is on the web as being recorded in a conversation
            with Antifa members, saying that he had the election rigged for Mr. Biden, nothing
            to worry about here, and he was going to, they were going to f- Trump. His social
            media is filled with hatred for the President, and for the United States of America
            as a whole, as are the social media accounts of many other Smartmatic people. 314

            95.          These statements are false. 315   Dr. Coomer is not part of Smartmatic. There is no

recording on the Web or anywhere else. Dr. Coomer never had a conversation with anyone

claiming to be Antifa, he never uttered words suggesting he would rig the election, and he never

took actions to rig the election. 316 Dr. Coomer’s social media was private, and, of course, under

the First Amendment to the Constitution, he is entitled to his political opinion. 317




312
      See id. at ¶ 17.
313
      See id.
314
      See Ex. K-1, PX 3 at 35.
315
      See Exhibit A, Coomer Dec. at ¶¶ 18, 38-39.
316
      See id.
317
      See id. at ¶ 48.




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            96.      As the press conference continued, Powell then rattled off a stream-of-

consciousness diatribe about Dominion and Smartmatic, 318 saying that “people can go in and

change what they want,” and that the ratio of votes can be weighted by the use of a mysterious

algorithm.319 Powell declared that votes were “injected into the machine.”320 She went on about

hacking, mentioning another algorithm for “vote-flipping,” and likely referring to the video of

Dr. Coomer explaining the adjudication process, falsely said there is video of “him” admitting that

they changed a million votes with no problem. 321 Dr. Coomer is the only person Powell

specifically named during her speech, making him the face of the Dominion and Smartmatic

conspiracy theory.

            97.      Ronna McDaniel, the chairwoman of the Republic National Committee, has since

expressed regret over letting Powell and Giuliani hold this press conference, stating “When I saw

some of the things Sidney was saying, without proof, I certainly was concerned it was happening

in my building.”322

            98.      On November 20, 2020, Newsmax host Howie Carr interviewed Powell on “The

Howie Carr Show” and asked her to confirm that there was alleged evidence of widespread voter

fraud, that votes cast had been changed through voting machines, that millions of votes had been

removed from President Trump and given to President Biden, and that Dr. Coomer through


318
    Many of the Defendants are confused about alleged ties between Dominion and Smartmatic, unaffiliated
competitors in the election technology space. Smartmatic was not a factor in any battleground state, as its software
was only used in Los Angeles County, California for the 2020 election. See Smartmatic Fact Checks,
https://www.smartmatic.com/us/lawsuit-updates-fact-checks/ (last visited Sept. 17, 2021).
319
      See Ex. K-1, PX 3 at 32-33.
320
      Id. at 33.
321
      See id. at 33-34; see also Ex. E-1, PX 86.
322
      See Ex. K-3.




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Dominion was part of this conspiracy to subvert the presidential election. 323 Carr asked Powell

whether Dr. Coomer actually stated, “Don’t worry about President Trump, I already made sure

that he’s going to lose the election.” Powell was unequivocal, stating with certainty, “Yes, it’s

true.324 We have an affidavit to that effect, and I think we have a copy of the call.”325 She further

alleged Dr. Coomer had disappeared, and Dominion had closed its offices in Denver and Toronto.

Powell had no “copy of the call” or recording. 326 Dr. Coomer had not “disappeared.”327 And

Dominion had not closed its offices. 328 These allegations were capable of verification. But Powell

closed her appearance by saying, “It’s called a confession in a courtroom, it’s called a

confession.”329

            99.      The same day, Powell continued her press junket, attacking Eric Coomer. On

November 20, Powell appeared on Mornings with Maria Bartiromo, and said:

            We’ve got Eric Coomer admitting on tape that he rigged the election for Biden and
            hated Trump . . . We have pictures of him in other countries helping people rig
            elections. So he’s got a long history of accomplishing the result that they want
            accomplished, and I’m sure that it’s for money.330

            100.     This time, instead of saying that she “thinks we have a copy of the call” Powell

boldly asserted that she had an admission on tape. She said she had pictures of Dr. Coomer rigging

other countries’ elections. And she sums it up as a long history of what “they” want, and she is


323
      See Ex. K-4.
324
      See id.
325
      See id.
326
      See Ex. K-1, at 56:7-20.
327
      See Exhibit A, Coomer Dec. at ¶¶ 19-20.
328
      See id.
329
      See Ex. K-4.
330
      See Ex. K-1, PX 5.




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sure it was for money. But there was no tape.331 There were no pictures. She had no evidence of

money paid to Dr. Coomer for whatever result she implies.

            101.        Powell had no knowledge of how or whether Dr. Coomer could have changed even

one vote in the 2020 election. 332 Powell’s knowledge was only through Oltmann, and she did not

vet his affidavit or its contents other than through watching his interview with Malkin. 333 Powell

explained away her references to having a tape, but she said she thought she had heard it. 334 She

agreed that such a recording would have been a huge piece of evidence. 335 Powell admitted that

she may have misspoken about Dr. Coomer holding Smartmatic patents. 336 Ultimately, Powell

testified that the allegations against Dr. Coomer amounted to an accusation of serious criminal

conduct.337 But she also said that Dr. Coomer was minor; a “gnat in the tsunami of information”

she had.338 Still, she chose to call him out on a national—and international—stage.339

            102.        The lines were blurred as to when Powell was acting individually, on behalf of the

Trump Campaign, Defending the Republic, or her law firm, Sidney Powell, P.C. President Trump

tweeted on November 14, 2020 that Powell was on the legal team, and Giuliani introduced her as

a part of the team at the November 19 press conference. 340 A Defending the Republic website


331
      See Ex. K-1, at 81:21-23.
332
      See Ex. K-1, at 10:14-12:21.
333
      Id. at 24:15-27:4.
334
      Id. at 64:19-65:2.
335
      Id. at 82:8-15.
336
      Id. at 64:15-19.
337
      Id. at 74:19-22.
338
      Id. at 13:9-17.
339
      Id. at 61:2-17.
340
      See Ex. K-1, PX 6; PX 3.




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appears to have been established as early as November 10, and was promoted on Fox News’ Lou

Dobbs Tonight. 341 The site was used to solicit funds for the “Kraken” suits, which included

Oltmann’s affidavit regarding Dr. Coomer.342 But Powell also testified that she was representing

Sidney Powell, P.C. in her legal efforts to overturn the election, although she hoped to be paid

from Defending the Republic donations at some point.343

           103.      On November 2, 2020, Powell appeared on Steve Bannon’s podcast to warn that a

supercomputer called Hammer could run a program called Scorecard to switch three percent of the

votes.344 When rumors about Dominion and Dr. Coomer surfaced, that story fit neatly into her

pre-election fraud narrative.345

I.         The Trump Campaign’s defamation of Dr. Coomer.

           104.      Immediately after the election in the early morning hours of November 4, 2020,

before the total votes were ever counted, Donald J. Trump announced “This is a fraud on the

American public. This is an embarrassment to our country. We were getting ready to win this

election. Frankly, we did win this election.” 346 This narrative would continue to be advanced by




341
      See Ex. L-2.
  See, e.g., Ex. K-5 (promoting the “Kraken” suits and seeking donations on behalf of Defending the Republic as a
342

501(c)(4) organization).
343
      See Ex. K-1, at 98:21-99:4; 101:16-102:1.
344
   See id. at 104:21-107:10. Powell agreed that both the Hammer and the Dominion allegations involved
vote-switching by computers.
345
      See Ex. P, Rothschild Dec. at ¶¶ 4, 65-72, 83-86.
346
      See Ex. M-1, PX 65.




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the Trump Campaign, even when it had no facts supporting it, and worse, when it had facts directly

refuting it.

             105.   The representative for the Trump Campaign, Sean Dollman, could only explain that

the Trump Campaign “felt like” there was “some type of fraud” immediately after

November 3, 2020, but could not give detail on why, and was admittedly still “looking into the

facts” at the time.347 Even today the Trump Campaign, through its representative, stated there was

some kind of fraud but could not state why. 348

             106.   That unsubstantiated “feeling” of fraud accompanied the Trump Campaign’s

continued fundraising, both to contest the election and to re-pay Trump Campaign debt. 349

Immediately after Joe Biden was declared the winner on November 7, 2020, Giuliani appeared in

a hastily assembled press conference in front of Four Seasons Total Landscaping to make multiple

bizarre accusations of voter fraud. 350 Giuliani alleged that votes for Trump had “disappeared,”

and that Philadelphia had a “history of voter fraud,” even including alleged dead voters. 351 The

Trump Campaign made no effort to correct statements made by Giuliani, and stated that “at this

point in time, . . . [they] were still investigating and trying to get facts together.” 352




347
      See Ex. M-1, at 25:6-20; 20:19-24.
348
      See Ex. M-1, at 27:5-11.
349
   Ex. M-1, at 30:11—13; 32:19-24; see also Exhibit M-2, Trump Campaign, Aug. 13, at 46:20-47:5 (admitting
fundraising efforts likely involved challenging election results).
350
      Ex. M-1, PX 65.
351
      Id.
352
      See Ex. M-1, at 38:10-16.




                                                    67
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           107.     During this time frame, Giuliani and his legal team set up their offices in Trump

Campaign headquarters.353 At that time, the Trump Campaign let everything it had previously

done to filter internal research to its communications and legal departments go out the window:

           So when Mr. Giuliani came in as legal – or as a lawyer, he – he and his team took
           over a conference room. And we spent, I mean, years setting up an internal process
           of where documents would go, who sees them, and then making sure that people
           review them, and approvals.

           But when Mr. Giuliani came in with his team, the – that whole approval chain, that
           whole – everything pretty much went out the window.354

           108.     However, within days the Trump Campaign did its own research into the

accusations regarding Dr. Coomer and Dominion. In the only email chain produced by the Trump

Campaign, Zach Parkinson, the person who requested the research only hours before, stated, “Let’s

cut this off at 10:30. Have more dead voters we’ll need to get to in the morning.” 355 Apparently

the Trump Campaign was hurriedly looking into every absurd theory it could to contest the election

results. Even the Trump Campaign’s representative admitted he did not think the research team

had enough time to research the questions at issue.356

           109.     Nevertheless, the memo produced by the Trump Campaign shows that, at least

internally, the Trump Campaign found there was no evidence to support the conspiracy theories

regarding Dominion and Dr. Coomer. That memo found in part:

           •        “Dominion and Smartmatic Are Independent Companies that Split from
                    Each Other in 2012”;
           •        “Dominion Has Not [Sic] Direct Ties to Venezuela”;


353
      See id. at 44; see also Ex. J-1, Rudolph Giuliani, Aug. 14, 2021, Depo. Tr. 29:22—30:25.
354
      See Ex. M-1, at 44:8-10, 47:8-15.
355
      See Ex. M-1, PX 68 at TC-01.
356
      See Ex. Ex. M-1, at 54:22-55:23.




                                                           68
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            •       “There Is No Evidence That Dominion’s CEO Or Any Other Leader Of The
                    Group Has Ties to Antifa”; and
            •       “There is no evidence Coomer is a member or has any ties to Antifa.”357

            110.    The memo apparently never made it to Giuliani, despite the fact he continued to act

as the agent and spokesman for the Trump Campaign’s allegations regarding election fraud. 358

The Trump Campaign continued to allow its agents like Rudolph Giuliani, Sidney Powell, and

Eric Trump to advance debunked conspiracy theories and defame Dr. Coomer, apparently without

providing them with their own research debunking those theories. 359 Days after the memo was

prepared, Giuliani appeared with Powell at the RNC, where Powell continued to make wild

allegations that Dominion’s software was designed by Venezuela at the direction of Hugo

Chavez.360 Giuliani’s statements included alleging that Dr. Coomer had committed a crime:

            Good afternoon and thank you very much for coming. This is representative of our
            legal team. We’re representing President Trump and we’re representing the Trump
            Campaign. When I finish, Sidney Powell and then Jenna Ellis will follow me. 361

                    ....

            And, by the way, the Coomer character who is close to Antifa took off all of his
            social media. Ah-ah, but we kept it, we’ve got it. The man is a vicious, vicious
            man. He wrote horrible things about the President. He is completely – he is
            completely biased. He’s completely warped and he specifically says that they’re
            gonna fix this election.

                    ....



357
      See Ex. M-1, PX 68 at TC-03-04.
358
      See Ex. M-1, at 62:19-63:24; see also Ex. J-1, at 162:13-163:24.
359
      See id.
360
      See Ex. K-1, at 64:5-16; PX 3.
361
    Despite the Trump Campaign’s assertion that Giuliani was not an agent of the Trump Campaign, the Trump
Campaign could not identify any other representative or agent who was publicly making statements regarding
allegations of election fraud or crimes against Dominion Voting Systems or Dr. Coomer. See Ex. M-2, at 12:7-16.




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           I’ve tried a hundred cases. I prosecuted some of the most dangerous criminals in
           the world. I know crimes. I can smell them. You don’t have to smell this one.
           I can prove it to you 18 different ways. 362

           111.     By as early as November 12, 2020, President Trump himself was tweeting the

allegation that Dominion had “deleted 2.7 million Trump votes Nationwide.” 363 These allegations

continued despite CISA’s joint statement with other governmental entities that “There is no

evidence that any voting system deleted or lost votes, changed votes, or was in any way

compromised.”364 On November 17, 2020, Chris Krebs, the head of CISA, was fired.365 President

Trump went on to retweet Rion’s story “Dominion-izing the Vote” for OAN on November 21,

2020.366

           112.     On November 17, 2020, Eric Trump (who the Trump Campaign refers to as a

“surrogate speaker” for the Trump Campaign) retweeted the story from TGP and quoted the

alleged statement by Dr. Coomer stating “Don’t worry about the election, Trump’s not gonna win.

I made f*cking sure of that!”367

           113.     The Trump Campaign stated in its motion that the “Campaign and its alleged agents

had every reason to rely on the accuracy of Defendant Oltmann’s reports regarding Plaintiff.” 368

But during the Trump Campaign’s deposition, it refused to offer any support for why it could rely



362
      See Ex. K-1, PX 3 at RG 1, 49-50.
363
      See Ex. M-1, PX 66.
364
      See Ex. M-1, PX 67.
365
  See David E. Sanger and Nicole Perlroth, Trump Fires Chris Krebs, Official Who Disputed Election Fraud Claims,
N.Y. TIMES, Nov. 17, 2020, https://www.nytimes.com/2020/11/17/us/politics/trump-fires-christopher-krebs.html.
366
      See Ex. M-1, PX 70-71.
367
      See Ex. M-1, at 58:12-15; PX 69.
368
      See Trump Campaign Mot. at 17.




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on Oltmann because of its counsel’s instruction that such information would be privileged. 369 The

Trump Campaign’s failure to offer any evidence in support of its conclusory assertion renders it

meaningless. The Trump Campaign also claimed to be unaware that Oltmann was the host of a

conservative podcast who had held rallies in support of President Trump and made allegations of

election fraud even before the election. 370

            114.     On November 22, 2020, news reported that Giuliani’s office saw the need to

publicly sever ties with Powell, stating that “Sidney Powell is practicing law on her own,” and “is

not a member of the Trump Legal Team.” 371 But no representative of the Trump Campaign or

Giuliani’s legal team ever issued a clarification or retraction of defamatory statements made by

Powell.

            115.     The Trump Campaign continued to capitalize on the allegations of voter fraud and

raise funds for the efforts to contest the election results. In its representative’s own words:

            I think there was a lot of people within the United States that were – wanted answers
            and wanted to entrust their funds and their money to the campaign, to look into it,
            right?

            They had nowhere – not nowhere else to turn, but the President and the campaign
            was an entity they put their donations and money behind before. 372

            116.     But none of the lawsuits filed by the Trump Campaign alleged Dr. Coomer or

Dominion had any role in changing the election results. 373 Nevertheless, the Trump Campaign

never made any retraction or clarification regarding defamatory statements by its agents or


369
      See M-2, at 37:4-24, 44:2-12.
370
      See id. at 38:6—39:19.
371
      See Ex. K-1, PX 7 at 2.
372
      See Ex. M-1, at 73:1-7.
373
      See id. at 25:10-18.




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representatives.374 Even today, the Trump Campaign somehow continues to take the position that

the election was the result of fraud, but has no facts it can point to in support of that:

                    Q.       Is it still the Trump campaign’s position today that the election was
                             somehow fraudulent?

                    A.       Yes, sir.

                    Q.       What is that opinion based on?

                    A.       Just – we have no underlying definite facts that it wasn’t.

                    Q.       You believe that it was fraudulent because you have no underlying
                             facts to support that it was not fraudulent? Is that your position?

                    A.       Yeah.

                    Q.       Did Eric Coomer influence the outcome of the election?

                    A.       I don’t know.375

J.         Giuliani’s defamation of Dr. Coomer.

           117.     Given Giuliani’s role as both former President Trump’s personal lawyer and as the

primary lawyer for the Trump Campaign, the actions he took on behalf of the Trump Campaign

discussed above also serve as a basis for his personal liability.               Accordingly, Dr. Coomer

incorporates by reference the above Trump Campaign section herein to avoid duplication.

           118.     Giuliani had a preconceived plan to allege election fraud without evidence as a

means of protecting former President Trump’s political fate. Giuliani was at the White House on




374
    See id. at 32:21-33:3. When asked whether anyone at the Trump Campaign asked Giuliani to stop making
allegations regarding Dominion or Dr. Coomer, the Trump Campaign’s representative said he could not answer due
to privilege. See id. at 17:15-18:17.
375
      See Ex. M-1, at 74:19-75:6.




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election night, November 3, 2020.376 When it appeared the election results were not favorable to

Trump, Giuliani was quoted as saying, “Just say we won.”377 Giuliani then reportedly informed

Bill Stepien, the Trump Campaign director, Chief of Staff Mark Meadows, and White House

adviser Jason Miller of his strategy.378 Mark Meadows reacted negatively to the suggestion. 379

            119.     When questioned under oath about the reported “Just say we won” strategy,

Giuliani denied the allegation. 380 Giuliani then demanded to know whether there was a recording

of his statement, the irony of the lack of a recording of the Antifa call apparently lost on him. 381

            120.     President Trump appeared to take Giuliani’s advice when he stated, “Frankly, we

did win this election,” during the early morning hours of November 4. After an Oval Office

meeting with former President Trump later that day, Giuliani took over the Trump Campaign’s

legal team.382 He received no compensation for his role other than reimbursement of expenses.383

            121.     The first formal public presentation of the Trump Campaign’s fraud claims and

plan for lawsuits occurred at the ill-fated Four Seasons Total Landscaping press conference on




376
      See Exhibit J-1, Giuliani, Aug. 14, 2021 Depo Tr. 168:21-24.
377
   Carol Leonnig & Philip Rucker, I Alone Can Fix It: Donald J. Trump’s Catastrophic Final Year, 340, 344 (Penguin
Press, 2021).
378
      See Ex. J-1, at 168:21-24.
379
      See id.
380
      See id. at 170:13-24.
381
      See id. at 174:12-175:23.
382
      See id. at 27:6-28:3.
383
      See id. at 27:6-13.




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November 7.384 At around that time, Giuliani and his team physically moved into the Trump

Campaign’s headquarters.385

            122.     Sidney Powell was present and working with the Campaign’s legal team, although

Giuliani testified that she was actually not a member of their team. 386 When questioned about why

he announced Powell as a member of the Campaign’s legal team during the press conference,

Giuliani had no explanation other than he spoke too “loosely.” 387

            123.     Prior to the November 19 press conference, Christina Bobb of OAN had been

approved as part of the Trump Campaign’s legal team. 388 Giuliani had gotten to know OAN’s

president, Charles Herring, “very well” when Rion and OAN did a documentary with Giuliani on

“Ukrainian collusion.” 389 Bobb provided the Trump Campaign with alleged election fraud

information she gathered about Arizona, Michigan, and eventually Georgia. 390

            124.     Perceiving the conflict of interest, Giuliani reached an oral agreement with Charles

Herring about the terms of the arrangement:

            I talked to Charles myself and I said if she has to hold this confidential from you,
            that doesn't mean there won't be things that you can then if they are okay then the
            benefit to you is you'll have like an extra, you'll have an extra edge on everybody
            else that will benefit you, but you're going to have to agree to something that I know
            our news networks won't agree to, which is there may be things that you just can't
            do and she's got to separate her role as a lawyer and if she wants to share things
            with you, she will have to get my permission or one of my people. Now we had
            done that before and it had worked out really well, nothing had leaked, nothing had

384
      See Ex. M-1, PX 65.
385
      See Ex. J-1, at 29:22-30:3.
386
      See Ex. J-1, at 66:19-67:6.
387
      See id. at 27:6-13.6:15-21.
388
      See id. at 30:4-20.
389
      See id. at 88:3-13.
390
      See id. at 88:21-89:14.




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            come out, nothing had been compromised and the situation you gave was far more
            dangerous because there was some risk to it which I was very impressed that Chanel
            was willing to take so they promised and she came to work for us.391

            125.       Christina Bobb ultimately took over a lot of the Trump Campaign’s investigation

in Michigan.392

            126.       Giuliani spent virtually no time investigating Dr. Coomer or the Antifa call. When

asked what his theoretical (since he was not being paid) attorney bill would be on “Coomer time”

before the November 19 press conference, Giuliani stated, “Before the press conference, gosh

almighty, I bet it’s not an hour.”393

            127.       Giuliani also relied on Col. Phil Waldron of ASOG for his information on

Dr. Coomer.394 ASOG stands for Allied Security Operations Group. The group is headed by Russ

Ramsland, a Deep State conspiracy theorist. ASOG performed a forensic audit of voting tabulators

in Antrim County, Michigan. ASOG then issued a report of its findings. This report was debunked

by Dr. Halderman.395 It was also debunked by the Michigan Senate Oversight Committee (lead

by a Republican state senator), which found that ASOG misrepresented facts about vote totals,

leading citizens to conclude the election results were suspiciously changing for over a month after

the election.396 ASOG refused to retract its assertions even after a hand recount verified the results

in Antrim County.397


391
      See id. at 89:23-91:22, 93:23-94:3.
392
      See id. at 65:8-66:4.
393
      See id. at 45:10-25.
394
      See id. at 41:7-43:9, 46:14-50:17.
395
      See Exhibit B-2, Oltmann, Sept. 8, 2021, PX 106.
396
      See Exhibit B-2, Oltmann, Sept. 8, 2021, PX 107 at 15.
397
      See id. at 17.




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            128.     Giuliani had about a four-minute conversation with Waldron regarding

Dr. Coomer.398 Giuliani was told (and apparently believed) that there was a recording of the Antifa

call and there were “a couple of witnesses” who could corroborate the story. Giuliani had read

some media reports about Dr. Coomer and some of his social media posts. 399

            129.     That was the extent of his investigation. He never spoke to Oltmann (who he

referred to as Olzheimer);400 did not have any information as to whether Oltmann was credible (or

not);401 never tried to listen to the (non-existent) recording he thought actually existed;402 did not

try to talk to the other “Antifa people” on the call;403 does not recall reviewing Oltmann’s notes of

the alleged call;.404 did not reach out to Dr. Coomer or Dominion;405 and had access to research by

the communications department but did not receive a copy of the research on Coomer, Dominion,

and Smartmatic. 406              Instead, Giuliani stated on multiple occasions that he was allegedly

constrained by time and was unable to conduct his own investigation of Dr. Coomer.407

            130.     Giuliani stated that there were three “active supervisors” handling the

Trump Campaign’s fraud investigation—himself, Sidney Powell, and Jenna Ellis. He believed




398
   See Ex. J-1, at 40:10-44:5, 44:23-45:9; see also THE DEEP RIG (Zero Hour Alchemy, 2021) (wherein Waldron
acknowledges reliance on Oltmann’s allegations); Ex. A-1, at Pub. 75.
399
      See id. at 47:19-55:12.
400
      See id. at 60:18-61:18.
401
      See id. at 120:8-20.
402
      See id. at 133:6-11.
403
      See id. at 133:12-19.
404
      See id. at 133:20-134:8.
405
      See id. at 134:9-15.
406
      See id. at 134:16-136:20.
407
      See, e.g., id. at 120:8-122:13.




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Powell was “carrying the ball” on Dr. Coomer and Dominion.408 Powell’s ultimate separation

from the Campaign’s team on November 22 “largely did not relate to Coomer,” according to

Giuliani.409

            131.     In his deposition, Giuliani acknowledged that if Dr. Coomer had rigged the election

it would have been a crime and likely would have been in concert with Dominion. 410 Generally,

throughout his deposition, Giuliani continued to maintain the validity of his various election fraud

theories involving Dominion, Smartmatic, and Sequoia; the existence of                 “fugazi” voting

machines; fraud in various battleground states; and the same theories that lead to the suspension

of his law license in New York.411 But, when asked for his theory on Dr. Coomer’s participation

in this fraud, Giuliani stated, “I mean I could guess but it would not be an educated guess.”412

            132.     Giuliani discounted any official sources that found no widespread evidence of

election fraud. He discounted CISA even though he was on the cybersecurity advisory committee

when CISA was created; he called CISA’s election security report a “totally phony report”; and he

said the Department of Homeland Security was afraid to investigate the fraud claims. 413

            133.     Likewise, Giuliani discounted the Trump Campaign’s internal memo on

Dr. Coomer/Dominion/Smartmatic, calling it a “corporate document” and explaining that there

were members of the Trump Campaign who were trying to undermine his efforts because “they




408
      See id. at 62:12-63:6, 66:13-18.
409
      See id. at 67:21-68:10.
410
      See id. at 58:10-22.
411
      See id. at 71:19-83:20, 104:9-108:4.
412
      See id. at 83:21-84:3.
413
      See id. at 160:11-161:15, 164:21-165:24.




                                                     77
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wanted Trump to lose because they could raise more money.” 414 Giuliani further stated that the

Trump Campaign was trying to keep things from him and undermine the litigation, citing to alleged

RNC memos and internal Trump Campaign memos telling campaign officials not to cooperate

with Giuliani and Jenna Ellis.415
                                                                                          416
            134.     Ultimately, Giuliani filed no litigation involving Dr. Coomer.             Giuliani

explained that the Trump Campaign’s strategy changed in December 2020, and they had given up

on the courts in favor of a strategy of going directly to various state legislatures. 417 At that point,

Dr. Coomer became a “small player.”418

            135.     When Giuliani was asked why he felt he needed to speak about Dr. Coomer at the

press conference (as opposed to saying nothing), Giuliani replied:

            It was my obligation at that time to give the public all the facts that I had because
            we had had an unprecedented three weeks of censorship unheard of in the United
            States which had followed three months of censorship on the Hunter Biden hard
            drive, which the American people elected a president without knowing the
            complete evidence of how he was engaged for 30 years of taking bribes through his
            son, which his son spells out in great deal in the hard drive and the American people
            have never seen it. The son points out that for 30 years he collected money for his
            father and he gave him half of it. Very few people know that because NBC, ABC,
            CBS, all the other BB's numbers, the New York Times, the New York Post, almost
            every major newspaper but the New York Post, every one of the cable stations
            except FOX, OAN and Newsmax refused to print the words of Hunter Biden and
            instead created the completely false story that it was Russian disinformation which
            has been completely –

            BY MR. CAIN:           Sir, we’re not talking about Hunter Biden.



414
      See id. at 159:9-160:7.
415
      See id. at 139:14-144:20.
416
      See id. at 108:16-109:7.
417
      See id. at 98:16-99:23.
418
      See id. at 104:9-23.




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            A.     No, no, what we’re talking about is the atmosphere in which I was
            conducting this investigation. This wasn’t a fair and balanced atmosphere. I was
            conducting this investigation in an atmosphere in which if you were to say anything
            unfavorable to Biden, it didn’t get published. . . .419

Similar to other Defendants’ testimony regarding the desire to present alternative “dangerous or

dissident” information without verifying any facts,420 Giuliani was apparently intending to present

whatever allegations he could to support the preconceived narrative regarding election fraud,

regardless of how outrageous they were, whether they were verifiable, and what harm they would

inflict. In accusing Dr. Coomer of a crime, he effectively altered the rest of Dr. Coomer’s life, all

based on what he admitted was probably less than an hour of time spent before the press conference

discussing the allegations.421

K.          Official rejections of the conspiracy theories.

            136.     Independent agencies early on rejected these election fraud conspiracy theories as

baseless. On November 10, 2020, a spokesman for the Michigan Secretary of State said, “We

have not seen any evidence of fraud or foul play in the actual administration of the election. What

we have seen is that it was smooth, transparent, secure and accurate.” 422 The New York Times

also contacted election officials in every state to ask whether they had seen evidence of fraud or




419
      Id. at 124:8 - 125:22.
420
      See Ex. K-1, at 44:9–19.
421
      See Ex. J-1, at 45:10-25.
422
    Nick Corasaniti et. al., The Times Called Officials in Every State: No Evidence of Voter
Fraud, N.Y. TIMES, Nov. 11, 2020, https://www.nytimes.com/2020/11/10/us/politics/voting-fraud.html.




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other irregularities during the election. 423 Officials in forty-nine states said they had not, with the

remaining state, Texas, failing to respond. 424

            137.         On November 12, 2020, CISA, a standalone federal agency under the Department

of Homeland Security, issued a Joint Statement from the Elections Infrastructure Government

Coordinating Council and the Election Infrastructure Sector Coordinating Executive Committees

confirming that there is “no evidence that any voting system deleted or lost votes, changed votes,

or was in any way compromised” and that the 2020 election was the most secure in American

history.425

            138.         Then U.S. Attorney General William Barr confirmed “to date, we have not seen

fraud on a scale that could have effected a different outcome in the election.” 426

            139.         Dr. Halderman’s Declaration in support of this brief is definitive. “There is not,

and never has been, credible evidence that the outcome of the 2020 Presidential election was

‘rigged’ by anyone, let alone by Dr. Eric Coomer.” 427 Dr. Halderman appeared on Fox News on

November 13 and 14, 2020 to rebuff allegations about Dominion, noting the absolute lack of

evidence.428 He was joined by 58 other leading election security specialists in a November 16,

2020 open letter on the implausibility of the many conspiracy theories.429 The letter was widely


423
      See id.; see also Exhibit O, Halderman Dec. at ¶ 17.
424
      See id.
425
      See Ex. B-2, PX 111; see also Pl.’s Amend. Compl. at ¶ 47.
426
    Michael Balsamo, Disputing Trump, Barr says no widespread election fraud, AP, Dec. 1, 2020,
https://apnews.com/article/barr-no-widespread-election-fraud-b1f1488796c9a98c4b1a9061a6c7f49d; see also Pl.’s
Amend. Compl. at ¶ 49.
427
      See Exhibit O, Halderman Dec. at ¶ 7.
428
      See id. at ¶ 12.
429
      See id. at ¶ 13.




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covered in the press, and the Defendants in this case should have been aware of it. Dr. Halderman

and his co-signatories Harri Hursti, Matt Blaze, and Andrew Appel have been repeatedly cited by

Defendants and others on the far right in support of their conspiracy theories. 430 Leaving no doubt

about the specious nature of the claims, the letter stated:

            We are aware of alarming assertions being made that the 2020 election was
            “rigged” by exploiting technical vulnerabilities. However, in every case of which
            we are aware, these claims either have been unsubstantiated or are technically
            incoherent. To our collective knowledge, no credible evidence has been put forth
            that supports a conclusion that the 2020 election outcome in any state has been
            altered through technical compromise. 431

            140.         Despite these and other official verifications of the election proceedings,

Defendants continued to falsely accuse Dr. Coomer of conspiring with Antifa to commit election

fraud and perpetuate baseless conspiracy theories. 432

L.          Dr. Coomer’s litigation against Defendants.

            141.         As a direct consequence of Defendants’ false statements, Dr. Coomer faced an

onslaught of harassment, threats of violence, and credible death threats against himself, his family,

and his home. 433 False allegations regarding the integrity of the election have already led to

violence with the insurrection on the U.S. Capitol on January 6, 2021, making Defendants’ refusal

to retract the false and defamatory statements against Dr. Coomer all the more incendiary. 434

Ultimately, Defendants’ actions left him with no choice but to pursue civil recourse. Dr. Coomer


430
      See id.
431
      See id. at ¶ 15.
432
      See supra at §§ II(B)–(K).
433
   See Exhibit A, Coomer Dec. at ¶ 53; see also Pl.’s Amend. Compl. at § IV(D); see also Exhibit W, Bania Dec. at
¶ 12.
  See Shelly Tan, et. al., How One of America’s Ugliest Days Unraveled Inside and Outside the Capitol, WASH.
434

POST, Jan. 9, 2021, https://www.washingtonpost.com/nation/interactive/2021/capitol-insurrection-visual-timeline/.




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sued Defendants for their defamatory and outrageous conduct. The allegations contained in this

lawsuit are narrowly tailored to Defendants’ specific, defamatory statements, which include the

following:

            •        Defendants falsely stated and falsely implied that Dr. Coomer was on an
                     alleged “Antifa conference call.”

            •        Defendants falsely stated and falsely implied that Dr. Coomer stated he
                     intended to subvert the presidential election on the alleged “Antifa
                     conference call.”

            •        Defendants falsely stated and falsely implied that Dr. Coomer, through his
                     private employment, did subvert the presidential election. 435

            142.     Dr. Coomer now seeks an opportunity to redeem his good name and stop the

defamatory attacks against him.

                                    III.   STANDARD OF REVIEW

            143.     Anti-SLAPP laws serve a limited purpose—to dismiss frivolous claims targeting

constitutional rights. These laws were enacted specifically to combat SLAPPs—strategic lawsuits

against public participation. They are intended to enable courts to dismiss frivolous cases brought

with the intent to chill a person’s constitutional rights. FilmOn.com Inc. v. DoubleVerify Inc.,

439 P.3d 1156, 1160 (Cal. 2019). To be clear, they are a procedural mechanism invoked in limited

circumstances and solely for the purpose of dismissing meritless claims. Baral v. Schnitt, 376 P.3d

604, 608 (Cal. 2016) (“The anti-SLAPP statute does not insulate defendants from any liability for

claims arising from the protected rights of petition or speech. It only provides a procedure for




435
      See supra at §§ II(B)–(J).




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weeding out, at an early state, meritless claims arising from protected activity”) (emphasis in

original). They do not bar meritorious claims.

        144.     Colorado has recently enacted an anti-SLAPP statute to prevent the “abuse of the

judicial process” through frivolous lawsuits that are strategically filed to unfairly subject
                                                                                                 436
individuals to costly, meritless litigation.             See C.R.S. § 13-20-1101(1)(a).                 Similar to

anti-SLAPP laws generally, the statute is limited to dismissal of meritless claims arising from

protected activity and, otherwise, expressly requires courts to “protect the rights of persons to file

meritorious lawsuits for demonstrable injury.”                See C.R.S. § 13-20-1101(1)(b).           The statute

imposes a two-step analysis.

        145.     First, courts must determine whether the statute applies. Under this step, the

movant bears the initial burden to show the anti-SLAPP statute applies to a plaintiff’s claims. Kieu

Hoang v. Phong Minh Tran, 60 Cal. App. 5th 513, 524-25 (2021). The statute applies when a

claim arises from any action taken “in furtherance of the person’s right of petition or free speech

under the United States constitution or the state constitution in connection with a public issue.”

C.R.S. § 13-20-1101(3)(a) (emphasis added).                  The statute identifies four specific acts that

constitute protected activity under the statute, which include: (1) statements “made before a

legislative, executive or judicial proceeding or any other official proceeding authorized by law;”

(2) statements “made in connection with an issue under consideration or review by a legislative,

executive, or judicial body or any other official proceeding authorized by law;” (3) statements

“made in a place open to the public or a public forum in connection with an issue of public interest;”


436
    Because of how recently Colorado enacted its anti-SLAPP statute, there are limited appellate decisions analyzing
its application. Therefore, Dr. Coomer relies on California’s and other states’ law due to the similarities of the
Colorado statute with California’s statute, along with other states’ anti-SLAPP laws.




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and (4) “[a]ny other conduct or communication in furtherance of the exercise of the constitutional

right of petition or the constitutional right of free speech in connection with a public issue or an

issue of public interest.” Id. at § 13-20-1101(2)(a)(I-IV). However, each of these categories can

be distilled down to two necessary bases for a protected act under the statute—there must be an

official proceeding or there must be a matter of public concern. See id. These bases correspond

to the rights of petition and freedom of speech, in which not every statement made constitutes a

protected act. See C.R.S. § 13-20-1101(3)(a). Rather, there are necessary balances under the law

that limit these rights to equally preserve the rights to privacy and reputation. Defendants have

the burden to establish their actions giving rise to Dr. Coomer’s claims meet these bases and

constitute protected activity.

       146.    Second, if the statute applies, then the plaintiff must establish that there is a

reasonable likelihood that the plaintiff will prevail on each claim to which the statute applies.

C.R.S. § 13-20-1101(3)(a). This is a low burden in which the plaintiff merely has to show that a

legally sufficient, or prima facie, factual basis exists for his claims. Baral, 376 P.3d at 608-09. In

evaluating whether a plaintiff has made a prima facie showing, courts do not weigh the evidence

or resolve conflicting factual claims. Id. Instead, courts accept the plaintiff’s evidence as true and

limit their evaluation of a “defendant’s showing only to determine if it defeats the plaintiff’s claims

as a matter of law.” Id. Claims with the requisite minimal merit proceed. Id. This review is

described as a “summary-judgment like procedure,” wherein courts consider the pleadings as well

as affidavits and other evidence to determine whether the plaintiff has satisfied this minimal burden.

See id. at 608; see also C.R.S. § 13-20-1101(3)(b). At this stage of the proceeding, evidence

merely must be “capable of being admitted at trial, i.e., evidence which is competent, relevant and




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not barred by a substantive rule.” See Sweetwater Un. High Sch. Dist. v. Gilbane Bldg. Co., 434

P.3d 1152, 1161-63 (Cal. 2019) (citing Fashion 21 v. Coal. For Humane Immigrant Rights of L.A.,

117 Cal. App. 4th 1138, 1145 (2004)). Courts have recognized to strike a complaint for failure to

meet evidentiary obstacles that may be overcome at trial would not serve the anti-SLAPP statute’s

protective purposes, which are to end meritless suits early, not to abort potentially meritorious

claims due to lack of discovery. See id. at 1163.

                                              IV.      EVIDENCE

         147.    In support of Dr. Coomer’s Omnibus Response to Defendants’ motions to dismiss,

Dr. Coomer relies on and incorporates by reference his First Amended Complaint, his responses

to Rule 12(b)(2) and 12(b)(5) motions to dismiss and evidence therein, his April 7 response to

Metaxas’s special motion to dismiss and evidence therein, and his response to Rule 12(e) motion

on file with the Court.437

         148.    Pursuant to C.R.S. § 13-20-1101(3)(b), Dr. Coomer also gives notice of his intent

to rely on evidence not on file with the Court. This evidence, which Dr. Coomer incorporates by

reference as if fully restated here in its entirety, is attached to this Response and summarized in

the attached Appendix 1.

         149.    On June 8, 2021, the Court ordered limited discovery in relation to the pending

special motions to dismiss. Pursuant to this order, Dr. Coomer served requests for production and

conducted limited depositions. Of these, Oltmann, FEC United, and SMM did not produce

responsive documents and refused to be deposed or produce witnesses knowledgeable of the topics


437
   Hoft and TGP raise similar arguments in the special motion to dismiss that were raised in their 12(e) motion filed
on July 21, 2021. However, Defendants’ arguments are moot given the Court’s recent order denying Hoft-TGP’s
motion. See Sept. 15, 2021 Order.




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noticed for deposition despite a court order compelling attendance. In response, Dr. Coomer filed

a Motion for Sanctions Pursuant to C.R.C.P. 37 and C.R.C.P. 107 and Request for Order to Show

Cause, and the Court again ordered the production of documents and depositions. However, as

noted above, there was only partial compliance. Oltmann refused to identify his source for the

alleged Antifa call and for his access to Dr. Coomer’s Facebook posts.438 He refuses to identify

other participants on the alleged call, that we now understand was an alleged Zoom meeting.439 It

was also learned that document production, both for Oltmann and Powell, had withheld critical

evidence.440 Given the status of discovery, Dr. Coomer reserves his right to supplement evidence

in support to any evidence received through Court-ordered discovery pursuant to

C.R.S. § 13-20-1101(6), as well as any additional evidence produced prior to and at the hearing on

this Motion for Sanctions. Dr. Coomer reserves his right to rely on evidence offered by any other

party in this litigation. Dr. Coomer also reserves his right to seek sanctions in relation to Oltmann’

discovery abuses.

            150.     Additionally, given the status of the court-ordered discovery at the time of his

response to Metaxas’s special motion to dismiss, Dr. Coomer reserved his right to supplement or

amend evidence in support. See Resp. to Metaxas Mot., Apr. 7, 2021. Dr. Coomer supplements

that evidence with the evidence included herein.




438
      See supra at § II(C).
439
      See id.
440
      See id.




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                                             V.        OBJECTIONS

         151.     Defendants primarily rely on conclusory statements and legal arguments to support

of their special motions to dismiss. This is not competent evidence. See Keith v. Kinney, 140 P.3d

141, 153 (Colo. App. 2005) (finding conclusions unsupported by facts are not competent

evidence); Brown v. Teitelbaum, 830 P.2d 1081, 1084-85 (Colo. App. 1991) (finding mere

argument of counsel is not competent evidence). Further, some of the Defendants attempt to put

forward inadmissible evidence in support of their special motions to dismiss.441

         152.     Dr. Coomer also anticipates Defendants may attempt to offer additional evidence

(beyond the court-ordered discovery) with their replies in support of their special motions to

dismiss. Dr. Coomer objects to this evidence as untimely. See Wallman v. Kelly, 976 P.2d 330,

332 (Colo. App. 1998); see also In Interest of L.B., 413 P.3d 176, 184 (Colo. App. 2017).

Generally, reply briefs are limited to addressing arguments and evidence raised in a motion and

response. The reasons for this are pragmatic and plain. To consider evidence offered for the first

time in reply would be manifestly unfair to the nonmoving party who has had no opportunity for

written response. See Herbert v. Nat’l Academy of Sciences, 974 F.2d 192, 196 (D.C. Cir. 1992).

Additionally, Dr. Coomer expects the evidence offered to mirror objectionable evidence some of




441
   For example, multiple Defendants have attempted to introduce documents pertaining to alleged vulnerabilities in
Dominion Voting Systems technology, often with respect to reports or studies conducted years prior to the events at
issue in this case. See, e.g., Oltmann, et al. Mot., Apr. 30, 2021, Exhibit C; Hoft-TGP Mot., Apr. 30, 2021, Appendix
§§ 1-3. Similarly, multiple Defendants have expressed an intention to introduce evidence pertaining to Dr. Coomer’s
Facebook posts. See, e.g., Powell Mot. for Forthwith Order Granting Limited Discovery, Aug. 27, 2021; OAN-Rion
Resp. to Plaintiff’s Mot. for Sanctions, Aug. 25, 2021; see also Sept. 8, 2021 Order, at 3 (finding that “the connections
between personal Facebook posts that express political ideology and the Defendant’s statements at issue in this lawsuit
are remote.”) To the extent any of Defendants’ proffered evidence is irrelevant, is promulgated by sources that lack
personal knowledge or expertise of the subject matter, is hearsay, or presents impermissible character evidence,
Dr. Coomer objects as such evidence is inadmissible. See Colo. R. Evid. 401-04, 601-02, 608, 702, 801-02, 805, 901.




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the Defendants have previously attempted to put forward. 442 To the extent this evidence is

irrelevant, is promulgated by sources that lack personal knowledge or expertise of the subject

matter, is hearsay, or presents impermissible character evidence, Dr. Coomer objects as such

evidence is inadmissible. See Colo. R. Evid. 401-04, 601-02, 608, 702, 801-02, 805, 901.

                                            VI.      ARGUMENT

        153.     Anti-SLAPP laws were created to prevent powerful companies from strategically

filing meritless lawsuits to chill the First Amendment rights of private individuals and non-profit

corporations. FilmOn.com Inc., 439 P.3d at 1160. Here, the reverse has happened. Defendants—

powerful public figures—knowingly and recklessly defamed Dr. Coomer—a private individual—

to millions of people. Defendants now strategically seek to shield themselves from liability for

their tortious conduct by arguing that the Colorado anti-SLAPP statute bars Dr. Coomer from

having his day in court. Defendants’ arguments fly in the face of Colorado law.

See C.R.S. § 13-20-1101(1)(a)-(b) (noting that the Colorado anti-SLAPP statute was passed to

prevent the “abuse of the judicial process,” not to prevent “meritorious lawsuits”).

        154.     Defendants’ anti-SLAPP motions should be denied for several reasons. First,

Defendants have failed to establish that the Colorado anti-SLAPP statute applies. In fact, the

statute does not apply to Defendants’ defamatory publications at issue because they do not involve

matters of public concern and were not made in connection with an official proceeding. Second,

even if the statute does apply, Dr. Coomer has evidence establishing a prima facie case for all of




442
   See Order Granting Motion to Strike, Apr. 27, 2021; see Pl.’s Resp. to OAN-Rion 12(b)(5) Mot. to Dismiss at ¶ 11,
n.18.




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his claims. Far from being an abuse of the judicial process, Dr. Coomer’s claims are his only

chance to redeem his good name.

A.     Colorado’s anti-SLAPP statute does not apply because Defendants’ defamation of
       Dr. Coomer is not a protected act.

       155.    Defendants have the initial burden to show that Colorado’s anti-SLAPP statute

applies to Dr. Coomer’s claims. See Kieu Hoang, 60 Cal. App. 5th at 524-25. To establish that

the statute applies, Defendants must demonstrate that Dr. Coomer’s claims arise out of protected

conduct that is connected with a matter of public concern or an official proceeding.               See

C.R.S. § 13-20-1101(3)(a); see also Briggs v. Eden Council for Hope & Opportunity, 969 P.2d

564, 581 (Cal. 1999) (“[T]he statute applies only to lawsuits which are based upon activities

closely tied to the right to petition and the freedom of speech.”).

       156.    For at least three reasons, Defendants have failed to carry their initial burden. First,

Defendants’ conclusory assertions that the anti-SLAPP statute applies are insufficient to meet their

burden in showing that their statements are protected acts under the anti-SLAPP statute. Second,

even if Defendants’ motions had engaged with the merits of Dr. Coomer’s claims, the statute does

not apply because Dr. Coomer’s claims do not arise out of conduct that relates to an issue of public

interest. Third, the statute does not apply because Defendants’ statements were not made in

connection with an official proceeding. Defendants have failed to establish that the anti-SLAPP

statute applies, and their motions should be denied, accordingly.

       i.      Defendants have failed to carry their burden in demonstrating that the
               Colorado anti-SLAPP statute applies to Dr. Coomer’s claims.

       157.    Defendants’ special motions to dismiss fail to establish that their defamation of

Dr. Coomer were protected acts subject to the anti-SLAPP statute. Under the first step of anti-




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SLAPP analysis, Defendants have the burden to prove that the statute applies to Dr. Coomer’s

claims. See Kieu Hoang, 60 Cal. App. 5th at 524-25 (“To prevail on an anti-SLAPP motion, the

movant must first make a threshold showing that the challenged cause of action arises from

[protected activity] in connection with a public issue.”); Mathiew v. Subsea 7 (US) LLC, No.

4:17-CV-3140, 2018 WL 1515264, at *5 (S.D. Tex. Mar. 9, 2018), report and recommendation

adopted, 4:17-CV-3140, 2018 WL 1513673 (S.D. Tex. Mar. 26, 2018) (explaining that the

defendant’s failure to explain how his statement connected with an issue of public interest failed

to carry his burden under the first prong of anti-SLAPP analysis).

         158.     To satisfy this burden, a defendant must show that the challenged causes of action

arise from a protected activity. Freeman v. Schack, 154 Cal. App. 4th 719, 730 (2007) (cautioning

that the “‘arising from’ requirement is not always easily met.”). Courts have specifically cautioned

that “collateral allusions to protected activity should not subject the cause of action to the anti–

SLAPP statute.” Id. at 727 (emphasis added); see also Hanover Ins. Co. v. Fremont Bank, 68 F.

Supp. 3d 1085, 1097 (N.D. Cal. 2014) (noting a distinction between actions that are triggered by

protected activity, which are not protected by anti-SLAPP laws, and actions that arise from

protected activity).

         159.     Here, Defendants have failed to carry their burden of proof. Looking to the motions,

Defendants varied in what protected acts they alleged applied. 443 Some Defendants—without




443
    See Hoft-TGP Mot. at 9-10, 12-13 (alleging sections III, IV); Malkin Mot. at 5-7 (alleging sections II, III); Metaxas
Mot. at 7-11 (alleging sections II, III); OAN-Rion Mot. at 11-13 (alleging section III); Giuliani Mot. at 6-9 (alleging
sections III, IV); Powell Mot. at 7-11 (alleging sections III, IV); Defending the Republic Mot. at 8-12 (alleging sections
III, IV); Trump Campaign Mot. at 7-11 (alleging sections III, IV).




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support—attempt to expand the acts that are protected under the statute. 444 Some—without

support—argue that all media publications are protected acts. 445 Some do not even identify a

protected act under the statute. 446 Despite these various arguments, all of the protected acts

delineated under the statute can be distilled down to two necessary bases: an official proceeding

or a matter of public concern. See C.R.S. § 13-20-1101(2)(a)(I)-(IV). To constitute a protected

act, the actionable statements at issue must be made in connection with either a matter of public

concern or an official proceeding. See id. Neither of these bases are present in this case.

           160.      Defendants know this, which is why they made no effort to identify a specific

official proceeding connected with their defamation or offer evidence establishing Dr. Coomer

was a matter of public concern prior to their defamation of him.447 Instead, Defendants only offer

conclusory statements that the election was a general matter of public concern or that the election

was being litigated, which have no evidentiary value. 448 See Keith, 140 P.3d at 153; Brown,

830 P.2d at 1084-85. Further, this superficial analysis only identifies a general matter of public




444
   See Powell Mot. at 10-11 (claiming Powell’s statements were protected because “she was acting in furtherance of
her First Amendment right to petition the government for redress of grievances”); Defending the Republic Mot. at 11
(same).
445
   See Metaxas Mot. at 9 (misstating the holding in Lafayette Morehouse, Inc. v. Chronicle Publ’g Co.,
37 Cal.App.4th 855, 862-64 (1995), which stands for the limited position that news reporting can constitute protected
speech and was not excluded under the anti-SLAPP statute).
446
      See Oltmann, et al. Mot. at 5-15.
447
    See Oltmann, et al. Mot. at 5-15; Hoft-TGP Mot. at 12-13; Malkin Mot. at 5-7; Metaxas Mot. at 7-11; OAN-Rion
Mot. at 11-13; Giuliani Mot. at 6-9; Powell Mot. at 7-11; Defending the Republic Mot. at 8-12; Trump Campaign Mot.
at 7-11.
448
    Some of the Defendants also made conclusory statements that pre-publication or pre-production acts such as
investigating, newsgathering, and conducting interviews can constitute conduct that furthers the right of free speech.
See Doe v. Gangland Prods., Inc., 730 F.3d 946, 953-54 (9th Cir. 2013); Hilton v. Hallmark Cards, 599 F.3d 894, 903
(9th Cir. 2010). It is unclear what Defendants are referring to as all issues here concern statements Defendants made
to the public (i.e., press conferences, broadcasts, etc.), not pre-publication conduct. See supra §§ II(C)-(J); see also
Pl.’s First Amend. Compl. at § I, IV, V.




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interest, one that applies to every employee of Dominion, every election worker, and every voting

person in the United States—not a particular public interest in Dr. Coomer. See Hutchinson v.

Proxmire, 443 U.S. 111, 135 (1979) (distinguishing general matters of public interest from

particular matters of public interest); see also FilmOn.com Inc., 439 P.3d at 1166-67 (recognizing

that defendants cannot merely offer a “synecdoche theory” of public interest, defining their narrow

dispute by its slight reference to the broader public). This is insufficient to carry Defendants’

burden to show that the statute does in fact apply to this case.449 Despite Defendants’ efforts to

collapse any distinction, Dr. Coomer is not “the election.” Dr. Coomer was not a party to litigation

involving the election. And Dr. Coomer did not sue Defendants for their statements concerning

the election or concerning litigation involving the election. 450                      Rather, the gravamen of

Dr. Coomer’s claims is Defendants’ public defamation of Dr. Coomer—a private individual and

his private employment. 451 See Hanover Ins. Co., 68 F. Supp. at 1097 (finding courts look to the

“principal thrust or gravamen of the plaintiff’s cause of action [to] determine whether the anti-

SLAPP statute applies.”). Dr. Coomer’s pleadings make this clear and do not obscure the claims

at issue.452


449
   The only authority some Defendants cite in support misapplies legally and factually distinct cases involving
separate election-related issues concerning legislative authority over elections, not constitutional protections for
speech or protected activity under the anti-SLAPP statute. See, e.g., Mauff v. People, 123 P. 101, 101-04 (Colo. 1912);
Johnson v. Bradley, 841 P.2d 990, 1003 (Cal. 1992).
450
      See Pl.’s Amend. Compl. at §§ I, IV, V.
451
      See id.
452
   It is unclear what artifice in pleadings some Defendants argue, especially given Dr. Coomer’s complaint does not
assert the torts for breach of contract or breach of fiduciary duties at issue in their cited authority. See Navellier v.
Sletten, 52 P.3d 703, 711 (Cal. 2002) (merely finding that claims for breach of contract can also implicate protections
under the anti-SLAPP statute when the terms of the contract affect protected activities, such as the breach of an
agreement not to petition by filing a petition); Hylton v. Frank E. Rogozienski, Inc., 177 Cal. App. 4th 1264, 1269-75
(2009) (finding the anti-SLAPP statute did not apply to breach of fiduciary duty claims even when those claims arise
from an attorney’s misconduct with petitioning activity on behalf of the client); Trilogy at Glen Ivy Maint. Assn. v.




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            161.     Dr. Coomer also identified the actionable statements at issue—namely, that

Defendants falsely stated and falsely implied that: Dr. Coomer participated in an alleged Antifa

conference call; declared in that call he would subvert the election; and then did subvert the

election. 453 Dr. Coomer’s claims for defamation, civil conspiracy, intentional infliction of

emotional distress, and request for injunctive relief all arise from these statements. 454 Defendants

make no attempt to explain why the Colorado anti-SLAPP statute applies to those statements. Nor

can they. Dr. Coomer was neither a matter of public interest nor a party to an official proceeding

prior to Defendants’ defamation of him.455 As such, Defendants’ defamation was not a protected

act subject to the anti-SLAPP statute.

            162.     Because Defendants have failed to put forward any evidence to carry their threshold

burden in establishing that the anti-SLAPP statute applies to the actual claims Dr. Coomer asserts,

Defendants’ special motions to dismiss should be denied.

            ii.      Defendants’ statements were not made in connection with a matter of public
                     interest.

            163.     Even if Defendants had attempted to engage with the merits of Dr. Coomer’s claims,

they could not establish that they arise out of a matter of public concern under the anti-SLAPP

statute. The Colorado anti-SLAPP statute was recently enacted with limited case law interpreting

its terms. However, Colorado courts have addressed the constitutional issues underlying the statute,

including matters of public concern. Whether a statement is a matter of public concern is a legal


Shea Homes, Inc., 235 Cal. App. 4th 361, 367 (2015) (finding anti-SLAPP statute did not apply to breach of fiduciary
claims at issue).
453
      See supra at § II(C)-(J); see also Pl.’s Amend. Compl. at §§ I, IV, V.
454
      See Pl.’s Amend. Compl. at § V.
455
      See Exhibit A, Coomer Dec. at ¶ 10.




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determination based on “the content, form, and context of the statements, in conjunction with the

motivation or ‘point’ of the statements as revealed by the whole record.” McIntyre v. Jones, 194

P.3d 519, 525 (Colo. App. 2008). Because the boundaries of what constitutes a public concern are

not clear, courts make this determination on a case-by-case basis. See Williams v. Cont’l Airlines,

Inc., 943 P.2d 10, 17-18 (Colo. App. 1996). Here, Defendants seek to collapse those boundaries

between public and private concerns and efface any constitutional protections for an individual’s

reputation. See Keohane v. Stewart, 882 P.2d 1293, 1297-98 (Colo. 1994) (recognizing the

individual’s right to be free from false and defamatory assertions); Diversified Management, Inc.

v. Denver Post, Inc., 653 P.2d 1103, 1111-15 (Colo. 1982) (dissent, J. Erickson) (identifying

public policy concerns in expanding protections for matters of public concern at the expense of

private individuals’ reputations). That is not the law. Generally, a matter is of public concern only

when the public has a “legitimate interest in what is being published” or when it involves an issue

“about which information is needed or appropriate.” Williams, 943 P.2d at 17 (emphasis added).

When determining whether a matter is of public concern, courts have considered factors including

the nature and scope of the alleged public interest, the plaintiff’s involvement in that interest, and

the existence of that interest prior to the defamation.

       164.    Specifically, in Diversified, the seminal Colorado case on matters of public concern,

the Colorado Supreme Court found that public interest existed in a widespread and ongoing land-

development scheme then under investigation because the nature and scope of the plaintiffs’

activities directly implicated the public. See 653 P.2d 1103, 1105-08 (Colo. 1982). There,

plaintiffs actively sought prospective buyers in their land development while it was under

investigation by the Colorado Real Estate Commission, the U.S. Department of Housing and




                                                  94
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Urban Development, and “a variety of other federal and state regulatory and law enforcement

agencies.” See id. This created a direct nexus between the plaintiffs’ activities and the public

giving rise to a matter of public concern. See id. Further, this public interest existed prior to and

separate from the defendants’ alleged defamation. See id.

         165.     In contrast, courts have consistently found that private individuals and their private

employment are not matters of public concern. In Williams, the Colorado Supreme Court declined

to find allegations of illegal and violent conduct against a privately employed pilot were matters

of public concern, despite the prominence of the airline at issue and the effect of the allegations on

the pilot’s coworkers. See 943 P.2d at 17-18. In McIntyre, the Colorado Supreme Court again

declined to find allegations of fraud against a privately employed bookkeeper for a homeowners’

association to be matters of public concern and clarified the distinction between acts of a private

employee and acts of a homeowners’ association. See 194 P.3d at 525-27. In Quigley v. Rosenthal,

the Tenth Circuit declined to find a matter of public concern when statements “were not asserted

against a public employer, nor were they asserted against any entity or person with which the

general public had contact.” 327 F.3d 1044, 1059-61 (10th Cir. 2003). There, the court went on

to find that allegations in a pending lawsuit alone were not sufficient to establish a matter of public

concern and rejected arguments that a defendant’s statements to the press could then make those

allegations matters of public concern. See id. Despite some Defendants’ assertions, the act of

holding a press conference does not elevate an issue to a matter of public concern.456



456
   In fact, Defendants misstate the authority they relied upon, which did not involve press conferences, election fraud,
statements regarding ongoing litigation, or claims for defamation. See Lieberman v. KCOP Television, Inc., 110 Cal.
App. 4th 156, 162 (2003) (analyzing publication of recordings obtained through newsgathering); M.G. v. Time Warner
Inc., 89 Cal. App. 4th 623, 626 (2001) (analyzing publication of private photographs); Briscoe v. Reader’s Digest




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        166.     Similarly, in the context of limited purpose public figures, which is also premised

on the existence of a public concern, courts have found a private individual’s private acts to be of

public interest only when the individual invited public scrutiny. Compare DiLeo v. Koltnow, 613

P.2d 318, 322 (Colo. 1980) (finding a plaintiff’s discharge from the police force was a matter of

public concern solely because the plaintiff sought press coverage instead of “quietly seeking to

exert his legal rights”) and Lewis v. McGraw-Hill Broad. Co., Inc., 832 P.2d 1118, 1122-23 (Colo.

App. 1992) (finding a prominent civil rights case was a matter of public concern in part because

plaintiff’s counsel actively sought community involvement and conducted public interviews with

the press), with Hutchinson, 443 U.S. at 135 (finding a researcher’s receipt of a federal grant was

insufficient to establish a particular matter of public concern and, instead, only established a

general concern about public expenditures that would apply “to everyone who received or

benefitted from the myriad public grants for research”). Further, any reliance by Defendants on

Lewis is misplaced as it turned on conduct by the plaintiff, not the defendants, and the public

interest arose from that conduct rather than the defendants’ defamation. See 832 P.2d at 1122-23.

        167.     This is also consistent with well-settled constitutional doctrine that precludes

defendants from creating their own defense. Hutchinson, 443 U.S. at 135 (“Those charged with

alleged defamation cannot, by their own conduct, create their own defense by making the claimant

a public figure.”). In other words, defendants cannot manufacture the public concern. Snead v.

Redland Aggregates, Ltd., 998 F.2d 1325, 1330 (5th Cir. 1993) (holding that “[a] speaker cannot

turn his speech into a matter of public concern simply by issuing a press release” or by “drawing



Ass’n, Inc., 483 P.2d 34, 36 (1971), overruled on other grounds by Gates v. Discovery Comm., 101 P.3d 552 (2004)
(analyzing publication of private individual’s criminal admission).




                                                      96
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the plaintiff into [the] controversy against their will.”). Defendants cannot define the scope of a

constitutional privilege by their own determination of what they choose to publish. Diversified

Mgmt., Inc., 653 P.2d at 1107. Defendants cite no authority that would permit their defamation to

serve as the basis for the public concern, regardless of whether they originated the defamation or

republished it.457

           168.     Here, the content, form, and context of the statements, when viewed alongside

factors courts have considered in determining this issue, weigh in favor of finding Defendants’

defamation of Dr. Coomer was not a matter of public concern. 458 Rather, Dr. Coomer was

unquestionably a private individual about whom the public had no legitimate interest before

Defendants’ collective defamatory campaign against him. 459 See Rosenbloom, 403 U.S. at 86

(dissent, J. Marshall) (defining private figures as “persons first brought to public attention by the

defamation that is the subject of the lawsuit”). Dr. Coomer’s private employer provided election

equipment and services to governmental bodies.460 However, neither Dominion nor Dr. Coomer

controlled the election or those governmental bodies.461 Defendants’ efforts to suggest his private


457
    The only authority some Defendants put forward is a factually distinguishable case that did not involve the
republication of defamation, but, rather, the publication of a subsequent article by two psychologists of their review
and investigation of a case study published in a scientific journal concerning repressed memories of abuse. See Taus
v. Loftus, 151 P.3d 1185, 1190-1204 (Cal. 2007).
458
   Defendants cite pivotal cases that delineate the boundaries between and protections for public and private issues
that support this determination. See, e.g., N.Y. Times v. Sullivan, 376 U.S. 254, 269-70 (1964); Rosenbloom v.
Metromedia, Inc., 403 U.S. 29, 46-52 (1971); Gertz, 418 U.S. at 346-48; Diversified Mgmt., Inc., 653 P.2d at 1108.
459
      See Exhibit A, Coomer Dec. at ¶ 10; see also Pl.’s Amend. Compl. at § IV(D), ¶ 83.
460
      See Exhibit A, Coomer Dec. at ¶ 9; see also Pl.’s Amend. Compl. at §§ I, IV.
461
   Defendants cite no authority in support of a private employee of a private business constituting a public official.
See Rosenblatt v. Baer, 383 U.S. 75, 85-87 (1966) (analyzing statements made broadly against elected officials and
the operations of government, not private businesses); Gray v. Udevitz, 656 F.2d 588, 591 (10th Cir. 1981) (finding
police officers constitute public officials, not private businesses); Young v. CBS Broad., 212 Cal. App. 5th 551, 559-
61 (2012) (finding a court appointed conservator was a public official as she became the face of the government given
the court appointment and sovereign control she had over the individual).




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employment made him a public official or public figure have no basis in law or fact. 462 And

Defendants’ efforts to suggest Dr. Coomer’s private Facebook posts made him a matter of public

concern strain credulity. 463 Instead, there was no public interest in Dr. Coomer’s private

employment or private job performance before the 2020 election.464 See Williams, 943 P.2d at

17-18; McIntyre, 194 P.3d at 525-26. There is no credible evidence of any nexus between

Dr. Coomer’s private employment and Defendants’ allegations of election fraud.465 See Quigley,

327 F.3d at 1061. Rather, the public interest in Dr. Coomer’s employment was manufactured by

and only arose from Defendants’ collective defamation. 466 See id. Defendants perpetuated

baseless allegations that Dr. Coomer subverted the presidential election. 467 Under well-settled law,

Defendants are not permitted to manufacture their defense to defamation through their own

defamatory conduct. Similarly, Dr. Coomer’s efforts to respond to and correct that defamation

does not forfeit his right to privacy or the protection of his reputation.468




462
   Both the public official and public figure classifications are not applied lightly and require the plaintiff to have
invoked public scrutiny to the particular issue as well as the increased risk for defamation, which is not present here.
See, e.g., Diversified Mgmt., Inc., 653 P.2d at 1105-08 (finding plaintiff was neither a public official nor public figure
and clarifying “[w]e are reluctant to make too easy a finding that one is a public figure.”); see also Gertz, 418 U.S. at
351-52 (finding plaintiff was neither a public official nor public figure and cautioning “[w]e would not lightly assume
that a citizen’s participation in community and professional affairs rendered him a public figure for all purposes”).
463
   Dr. Coomer’s political beliefs are not probative of Defendants’ allegations of election fraud. See supra at ¶ 10.
That they were privately published to Dr. Coomer’s friends and family on Facebook does not make them a public
concern. See Pott v. Lazarin, 47 Cal. App. 5th 141, 148-49 (2020) (finding the content of the Facebook posts addressed
a matter of public concern, not that such posts created a public concern).
464
      See Exhibit A, Coomer Dec. at ¶ 10; see also Pl.’s Amend. Compl. at § IV(B)–(D).
465
      See Exhibit A, Coomer Dec. at ¶ 10; see also Pl.’s Amend. Compl. at § IV(B)–(C).
466
      See id.
467
      See id.
468
   See Diversified Mgmt., Inc., 653 P.2d at 1107-08 (finding “[a] private figure subjected to unfavorable publicity
should not forfeit protection from defamation as a price of his response.”).




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       169.    Defendants avoid this analysis and, instead, broadly invoke First Amendment

protections without explaining how such protections apply. However, there is no constitutional

value in defamation generally and no protection for malicious publications specifically. See Gertz

v. Robert Welch, Inc., 443 U.S. 111, 135 (1979) (“[T]here is no constitutional value in false

statements of fact.”); see also Diversified, Mgmt., Inc., 653 P.2d at 1105-06.       Courts have

considered evidence of actual malice when determining whether there is a matter of public concern.

Specifically, when defendants are in a position to know, and indeed knew or should have known,

that the allegations raised are baseless, they cannot then avail themselves of the constitutional

protection of a heightened fault standard by simply alleging a “public concern.” Quigley, 327 F.3d

at 1061 (citing Kemp v. State Bd. of Agric., 803 P.2d 498, 504 (Colo.1990)). The Tenth Circuit

directly addresses this issue.   In Quigley, a couple accused their neighbors of anti-Semitic

discrimination and harassment. 327 F.3d at 1053. The couple’s attorney, who was the director of

the Anti-Defamation League’s local office, released a press statement at the ADL’s office and

participated in a radio broadcast in which he stated that the neighbors committed some of the most

serious, anti-Semitic harassment campaigns that the ADL had ever seen. Id. The neighbors

subsequently sued the attorney for defamation, and the court had to decide whether the attorney’s

statements amounted to matters of public concern under Colorado law. Id.

       170.    The Quigley court found that the specific context of the statements and the

motivations of the speaker weighed against finding that the matter was of public concern:

           Accordingly, we are unable to conclude that Rosenthal’s comments at the press
           conference and on the radio show involved matters of “public concern” since
           Rosenthal and the ADL knew or should have known that the Aronsons’
           allegations of racial discrimination/harassment were not colorable.




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327 F.3d at 1061. In making its ruling, the Tenth Circuit noted that Colorado courts have found

colorable discrimination claims in the context of public employment to be matters of public

concern, not private. Id. Further, the lynchpin in the Tenth Circuit’s determination in Quigley that

the statements there did not involve a matter of public concern was that the underlying claims of

the statements were not colorable. See id. Under Colorado law, the public has no interest in such

matters.

            171.    The claims involving Dr. Coomer are even less colorable than those in Quigley.

With no personal knowledge or evidence, Oltmann falsely accused Dr. Coomer of participating in

an Antifa conference call; of stating that he intended to rig the election; and then of actually rigging

the election.469 Oltmann’s story lacks any indicia of reliability or authenticity—he claims to have

infiltrated a conference call where some unidentified speaker—who Oltmann had never heard

before—claimed to be “Eric” from “Dominion.”470 Oltmann provided no explanation for how he

learned of this purported call or gained access to it. 471 Oltmann could not identify the speakers on

it and had no specialized training or experience in vocal identification. 472 Instead, Oltmann relied

on the unsound methodology of a Google search of limited terms to speculate that Dr. Coomer was

the speaker on this alleged conference call and then listened to YouTube videos to unreliably

confirm his speculation.473 To this day, there has never been any recording produced or any other

credible evidence verifying that such an Antifa conference call took place, much less that



469
      See supra § II(C); see also Pl.’s Amend. Compl. at §§ I, IV(B)–(C).
470
      See id.
471
      See id.
472
      See id.
473
      See id.




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Dr. Coomer was on such a call. 474 Only after the election did Oltmann conveniently remember

this Antifa conference call and from it speculate—again with no evidence or personal knowledge

of election fraud—that Dr. Coomer did subvert the election. 475

           172.     Such allegations cannot serve as a basis for public concern because they are not

colorable. Like the attorney in Quigley, Defendants had every reason to know, or should have

known, that Oltmann’s absurd accusations that Dr. Coomer is a treasonous criminal who conspired

to subvert the election are baseless.476 Defendants’ decision to republish these unsupported and

facially impossible statements further forecloses any argument that the defamatory statements

about Dr. Coomer involve a matter of public concern.

           173.     The California Supreme Court has likewise declined to apply anti-SLAPP

protections to statements that would otherwise constitute matters of public concern if the

statements were conclusively illegal. Flatley v. Mauro, 139 P.3d 2, 15 (Cal. 2006). In Flatley, the

California Supreme Court recognized the purpose of the anti-SLAPP statute is to protect the valid

exercise of the constitutional rights of speech. Id. at 21. However, the court there recognized there

is no constitutional protection for unlawful conduct.                     Id. (finding “[e]xtortion is not a

constitutionally protected form of speech.”). As in this case, the underlying unlawful conduct at

issue in Flatley was undisputed,477 and thus the issue concerned whether the defendant was entitled




474
      See Exhibit A, Coomer Dec. at ¶ 18; see also Pl.’s Amend. Compl. at §§ I, IV(B)–(C).
475
      See supra § II(C); see also Pl.’s Amend. Compl. at ¶ 53.
476
      See supra §§ II(B)–(K); see also Pl.’s Amend. Compl. at § IV(B)–(C).
477
   Defendants do not challenge that they published the statements at issue. See Oltmann, et al. Mot. at 5-6, 9-12;
Hoft-TGP Mot. at 7; Malkin Mot. at 2, 4; Metaxas Mot. at 6-7; OAN-Rion Mot. at 8-10; Powell Mot. at § III;
Defending the Republic Mot. at III; Trump Campaign Mot. at 7-10; Giuliani Mot. at 10-16. There is no credible
dispute premised on facts as to the falsity of these statements. See infra at § VI(B)(i)(a).




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to the benefit of the anti-SLAPP statute despite such illegality. The Court held that when the

activity at issue is not constitutionally protected, it cannot serve as the basis for a motion to dismiss

under the anti-SLAPP statute.478 See id. at 21-24. Similarly, the United States Supreme Court has

long recognized, only truthful factual statements are entitled to such protections. “[T]here is no

constitutional value in false statements of fact.” Gertz, 418 U.S. at 340 (emphasis added). When

a media organization, or any person, engages in defamatory conduct, and knows or should have

known that the statements are false, such actions are not protected by the First Amendment. See

Quigley, 327 F.3d at 1061. Because such statements are not constitutionally protected, they cannot

serve as the basis for Defendants’ special motions to dismiss under the anti-SLAPP statute.

        iii.     Defendants’ statements were not made in connection with an official
                 proceeding.

        174.     Without support, some Defendants have also argued the anti-SLAPP statute applies

to their defamatory statements because they allegedly made them in connection with an issue under

consideration or review by a judicial body. 479 For statements to be made “in connection with” an

issue under review by a judicial body, they must have a direct connection with issues under review

in a judicial proceeding and must be directed to persons with an interest in the proceeding. See

Hanover Ins. Co., 68 F. Supp. 3d at 1101 (declining to find that statements were made in




478
   Some of the Defendants mistakenly rely on Doe v. Gangland Prods. Inc. to avoid the Flatley exception. See
Metaxas Mot. at 7. However, the Ninth Circuit in Doe expressly recognized Flatley and clarified that Flatley was not
raised in that case where there were factual disputes concerning the illegal conduct. See 730 F.3d at 954, n.2.
479
   See Metaxas Mot. at 7-8; OAN-Rion Mot. at 15-16; Trump Campaign Mot. at 12-14; see also
C.R.S. § 13-20-1101(2)(a)(II).




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connection with an official proceeding when the statements did not reference attorneys in the

litigation or the litigation itself). Defendants cannot establish these factors here.

            175.     Defendants have failed to identify the specific judicial proceedings and how their

defamation of Dr. Coomer connected to them. Instead, Defendants rely on the existence of judicial

proceedings generally concerning the election. However, to make a prima facie showing that a

statement was made in connection with an official proceeding, it is insufficient to argue that a

statement is tangentially connected to issues under review. See McConnell v. Innovative Artists

Talent & Literary Agency, Inc., 175 Cal. App. 4th 169, 178 (2009). As courts have recognized,

anti-SLAPP protection does not apply when the connection is remote:

            [The defendant’s] motion to strike . . . rested principally on the ground that any
            conduct in connection with an official proceeding is protected by the statute. As
            we have already observed, that view is erroneous. The statute does not accord anti-
            SLAPP protection to suits arising from any act having any connection, however
            remote, with an official proceeding.

Paul v. Friedman, 95 Cal. App. 4th 853, 866 (2002). Instead, there must be a sufficient, causal

nexus between the statements and the issues under review. See id. The boundaries of this protected

activity are similar to the boundaries found with other defenses connected to ongoing litigation

and the right to petition.480 Those boundaries do not extend to Defendants’ defamation.

            176.     McConnell helps illustrate why Defendants’ statements do not have this causal

nexus. In McConnell, two agents sued their employer. 175 Cal. App. 4th at 172. After the lawsuit

was filed, the employer sent letters to the agents limiting their roles and effectively prohibiting

performance of their job duties. Id. The employer argued that these letters were necessary as part

of its investigation of the agents’ claims. Id. The agents subsequently amended their claims to


480
      See infra at § VI(B)(iv) (analyzing the litigation and fair report privileges).




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add wrongful termination and retaliation in light of the employer’s letters. Id. The employer then

filed a motion to dismiss under California’s anti-SLAPP statute, arguing that its letters were made

in connection with a judicial proceeding and were therefore protected acts. Id.

           177.     The court in McConnell rejected the employer’s argument. Id. at 176-77. The court

explained that the fact the letters had a tangential connection to the agents’ litigation was

insufficient to support a finding that the letters were made in connection with an official proceeding.

Id. The court found that even if a lawsuit precipitates the allegedly protected conduct, the conduct

must be directed specifically at the contents of the litigation to qualify as connected with the

judicial proceeding. Id. The court also found it relevant that the letter did not reference the lawsuit

or any of the specific claims in it. Id. at 177.

           178.     Similarly, here, Defendants rely on conclusory assertions that their defamatory

statements were connected with unidentified issues under review in various unrelated lawsuits.481

Defendants do not identify which specific lawsuits their defamatory statements were made in

connection with; they only broadly state that there were ongoing lawsuits about the election.482

Similarly, at the time Defendants made their defamatory statements about Dr. Coomer, they did

not reference any lawsuits or any of the specific claims in lawsuits.483 Significantly, Defendants

provide no explanation for how their defamation of Dr. Coomer actually connected to these




481
   For example, Defendants reference cases filed by the Trump campaign prior to and after the election and yet fail
to mention that none of these cases concerned Dr. Coomer or their false allegations asserted against him. See Malkin
Mot. at 5; Metaxas Mot. at 8; OAN-Rion Mot. at 2, 6, 12; Trump Campaign Mot. at 13, n.3; Giuliani Mot. at 12-13,
n.5.
482
  See Malkin Mot. at 5; Metaxas Mot. at 8; OAN-Rion Mot. at 2; Powell Mot. at 6, 12, 15-16; Defending the Republic
Mot. at 2, 7, 13, 16-18; Trump Campaign Mot. at 2, 13; Giuliani Mot. at 12-13, 15-16.
483
      See supra at §§ II(B)–(K); see also Pl.’s Amend. Compl. at § IV.




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unidentified proceedings.484 Dr. Coomer was not a party to such proceedings. Dr. Coomer was

not at issue in proceedings pending at that time.485 Instead, Defendants seemingly argue that so

long as both their defamation and these other proceedings involved the election, their statements

were made in connection with litigation. This would effectively permit anyone to claim a protected

act so long as some case somewhere had some topic in common. This is not supported under the

law as courts have consistently held that the statements at issue must have some direct connection

with an actual issue under review. See e.g., Rand Res., LLC v. City of Carson, 433 P.3d 899, 906

and 911 (Cal. 2019) (finding the anti-SLAPP statute must be in connection with an issue under

review in an official proceeding); McConnell, 175 Cal. App. 4th at 178; Paul, 95 Cal. App. 4th at

866.    This is not supported under the plain language of the statute.                    See C.R.S. § 13-20-

1101(2)(a)(II) (limited to statements “made in connection with an issue under consideration or

review by a legislative, executive, or judicial body”). Some of the Defendants assert their

statements to the press were pursuant to their rights to petition, with one referring to it as an

opening statement for anticipated litigation.486 Opening statements are made in courts of law, not

the court of public opinion.487 And Colorado courts are clear that press conferences are not acts




484
  See Malkin Mot. at 5; Metaxas Mot. at 8; OAN-Rion Mot. at 2; Powell Mot. at 6, 12, 15-16; Defending the Republic
Mot. at 2, 7, 13, 16-18; Trump Campaign Mot. at 2, 13; Giuliani Mot. at 12-13, 15-16.
485
   Defendants also cite subsequent cases filed by Powell that they fail to mention were filed after Defendants began
defaming Dr. Coomer. See Powell Mot. at 6, 12, 15-17; Defending the Republic Mot. at 2, 7, 13, 16-18; Trump
Campaign Mot. at 13, n.4-5.
486
   See Powell Mot. at 10-11; Defending the Republic Mot. at 11-12; Trump Campaign Mot. at 5-14; Giuliani Mot. at
n.4.
487
  See Exhibit V-4, Order, No. 20-13134 (E.D. Mich.), at *1. Giuliani mischaracterizes the holding of In re Foster,
which in no way supports the proposition that his defamation could be considered “opening statements.” 253 P.3d
1244, 1251 (Colo. 2011).




                                                        105
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of petition.488 See Seidl v. Greentree Mortg. Co., 30 F. Supp. 2d 1292, 1314-15 (D. Colo. 1998);

see also Green Acres Trust v. London, 688 P.2d 617, 623 (Ariz. 1984). Further, anticipated

litigation must be considered in good faith, which Defendants cannot establish. 489 See Trinity Risk

Mgmt., LLC v. Simplified Labor Staffing Solutions, Inc., 59 Cal. App. 5th 995, 1005 (2021); see

also Exhibit V-4, Order, No. 20-13134 (E.D. Mich.), at *103, 108 (sanctioning Powell for filing

claims “in bad faith and for an improper purpose” and referring the matter “for investigation and

possible suspension or disbarment to the appropriate disciplinary authority for every state bar and

federal court in which each attorney is admitted.”); see also Exhibit V-2, Opinion, No. 2021-00506

(N.Y. App. Div. [1st Dept.]), at *2 (suspending Giuliani for false statements of election fraud).

Some of the Defendants attempt to connect their statements to an affidavit that they did not

reference in a case that was not filed at the time of their defamation. 490 These arguments are

unavailing and fail to establish a protected act subject to the anti-SLAPP statute. See Rand Res.,

LLC, 433 P.3d at 906 (“It is insufficient to assert that the acts alleged were ‘in connection with’ an

official proceeding.”).




488
    Defendants cite no authority that supports finding statements made in press conferences to be prelitigation
communications in connection with an official proceeding. See Trinity Risk Mgmt., LLC v. Simplified Labor Staffing
Solutions, Inc., 59 Cal. App. 5th 995, 1005-07 (2021) (finding internal statements—not statements to the public at
large—between relevant parties regarding claims at issue prior to filing suit were statements made in good faith
anticipation of litigation); Digerati Holdings, LLC v. Young Money Ent’t, 194 Cal. App. 4th 873, 887-888 (2011)
(same); Briggs, 969 P.2d at 568-69 (same); Neville v. Chudacoff, 160 Cal. App. 4th 1255, 1262-70 (2008) (same).
489
   It is unclear what anticipated litigation Giuliani and the Trump Campaign refer to since they have never raised
issues concerning Dr. Coomer in a court of law. This is understandable given the Trump Campaign’s internal memo
on November 14, 2020, finding such claims were baseless. See Ex. M1, PX 68 (“There is no evidence Coomer is a
member or has any ties to Antifa.”).
490
    See Malkin Mot. at 8; OAN-Rion Mot. at 3, 8, 16; Powell Mot. at 9, 19, 21, 23, 25; Defending the Republic Mot.
at 10, 20, 22, 26; Trump Campaign Mot. at 17. Further, Defendants’ publications extend well beyond reporting the
allegations in the affidavit. See infra at ¶ 220.




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            179.        Further, Defendants seek to use their abuse of judicial proceedings to protect

themselves from their defamation outside of those proceedings.491 The cases Defendants filed

were never about fraud—they were about “undermining the People’s faith in our democracy and

debasing the judicial process to do so.”492 Notably, these cases have been dismissed. Defendants

who filed these cases are the subject of sanctions or related investigations. Specifically, in relation

to litigation that Powell filed, one court found:

            What is most important, and what very clearly reflects bad faith is that Plaintiff’s
            attorneys are trying to use the judicial process to frame a public “narrative.” Absent
            evidentiary or legal support for their claims, this seems to be one of the primary
            purposes of this lawsuit.

            Second, there is a basis to conclude that Plaintiff’s legal team asserted the allegations
            in their pleadings as opinion rather than fact, with the purpose of furthering counsel’s
            political positions rather than pursuing any attainable legal relief. 493

            180.        Similarly, in relation to Giuliani, another court found:

            . . . there is uncontroverted evidence that respondent communicated demonstrably
            false and misleading statements to courts, lawmakers and the public at large in his
            capacity as lawyer for former President Donald J. Trump and the Trump Campaign
            in connection with Trump’s failed effort at reelection in 2020. These false statements
            were made to improperly bolster respondent’s narrative that due to widespread voter
            fraud, victory in the 2020 United States presidential election was stolen from his
            client. We conclude that respondent’s conduct immediately threatens the public
            interest and warrants interim suspension from the practice of law . . .494

Their misconduct there should not serve as a basis for protection for themselves or others here.




491
   See Exhibit V-4, Order, No. 20-13134 (E.D. Mich.), at *103, 108; see also Exhibit V-2, Opinion, No. 2021-00506
(N.Y. App. Div. [1st Dept.]), at *2.
492
      See Exhibit V-4, Order, No. 20-13134 (E.D. Mich.), at *3.
493
      See id. at *89.
494
      See Exhibit V-2, Opinion, No. 2021-00506 (N.Y. App. Div. [1st Dept.]), at *2.




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        181.    Because Defendants have failed to carry their burden in showing that Dr. Coomer’s

claims arise out of Defendants’ protected conduct, Dr. Coomer respectfully requests that the Court

deny Defendants’ special motions to dismiss.

B.      Dr. Coomer has more than sufficient evidence to establish a reasonable likelihood of
        success on his claims.

        182.    Regardless of whether the Colorado anti-SLAPP statute applies (and it does not),

this case should not be dismissed because Dr. Coomer’s claims are meritorious. In the second step

of anti-SLAPP analysis, a court must assess whether a plaintiff has sufficient evidence to establish

a “reasonable likelihood that the plaintiff will prevail on the claim[s]” to which the statute applies.

C.R.S. § 13-20-1101(3)(a). California’s anti-SLAPP statute has nearly identical language for the

evidentiary standard that a plaintiff must meet to defeat an anti-SLAPP motion. See Code Civ.

Proc., § 425.16(b)(1) (stating that, if the anti-SLAPP statute applies to any of the plaintiff’s claims,

the court should still not dismiss the claims if the plaintiff establishes “that there is a probability

that the plaintiff will prevail on the claim.”). California interprets this to mean that, so long as a

plaintiff can present evidence of a prima facie showing for each claim, the court must not dismiss

the claims. Other states likewise only require a prima facie showing of evidence to defeat dismissal

under the anti-SLAPP statute. See, e.g., In re Lipsky, 411 S.W.3d 530, 543 (Tex. App.—Fort

Worth 2013, no pet.). This is a low burden for plaintiffs to carry.

        183.    In making this assessment, the Court only looks to whether the plaintiff “has stated

a legally sufficient claim and made a prima facie factual showing.” Baral, 376 P.3d at 608. The

Court should not weigh the evidence and must accept all evidence in the plaintiff’s favor as true.

Id. at 608–609. As the California Supreme Court noted in Baral:




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        The anti-SLAPP statute does not insulate defendants from any liability for claims
        arising from the protected rights of petition or speech. It only provides a procedure
        for weeding out, at an early stage, meritless claims arising from protected activity.

Id. (emphasis in original). Once a plaintiff provides the minimum quantum of evidence to show a

legally cognizable claim, the plaintiff has satisfied its burden under the second-prong. See id.

        184.    Defendants argue that the anti-SLAPP statute applies to all claims that Dr. Coomer

has brought against them for (1) defamation, (2) intentional infliction of emotional distress,

(3) civil conspiracy, and (4) request for permanent injunction. 495 Although Defendants advance

different bases, they collectively argue that Dr. Coomer cannot establish a likelihood of success

on his claims. However, Dr. Coomer has more than sufficient evidence to make a prima facie

showing for his claims and those claims are viable under Colorado law. Because Dr. Coomer can

establish a prima facie evidentiary basis for his claims, Defendants’ special motions to dismiss

should be denied.

        i.      Dr. Coomer has established a prima facie showing of defamation.

        185.    Under Colorado law, the elements for defamation are: (1) a defamatory statement

concerning another; (2) published to a third party; (3) with fault amounting to at least negligence

on the part of the publisher; and (4) either actionability of the statement irrespective of special

damages or the existence of special damages to the plaintiff caused by the publication.” Williams

v. Dist. Court, Second Judicial Dist., City & Cnty. of Denver, 866 P.2d 908, 911 n.4 (Colo. 1993).

        186.    If a defamatory statement does not involve a public official, public figure, or a

matter of public concern, the plaintiff must only prove defamation by a preponderance of the



495
  See generally Oltmann, et al. Mot.; Hoft-TGP Mot.; Malkin Mot.; Metaxas Mot.; OAN-Rion Mot.; Powell Mot.;
Defending the Republic Mot.; Trump Campaign Mot.; Giuliani Mot.




                                                   109
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evidence. McIntyre, 194 P.3d at 524. However, if the statement does pertain to a matter of public

concern or a public official or figure, there are two additional burdens: (1) the plaintiff must prove

the statement’s falsity by clear and convincing evidence and (2) the plaintiff must prove that the

defendant published the statement with actual malice. Id.; see also Broker’s Choice of Am., Inc.

v. NBC Universal, Inc., 861, F.3d 1081, 1110 (10th Cir. 2017) (recognizing truth is strictly a

defense unless the plaintiff is a public official, figure, or matter of public concern where heightened

constitutional protections apply). In determining whether a plaintiff can make a prima facie

showing of a claim, the clear and convincing standard is not applied at this stage. See Han Ye Lee

v. Colorado Times, Inc., 222 P.3d 957, 962-63 (Colo. App. 2009) (noting that the clear and

convincing standard in a defamation claim goes to a plaintiff’s burden of proof and is not

applicable at the summary judgment stage); see also Baral, 376 P.3d at 608 (identifying review

under the anti-SLAPP statute is a “summary-judgment like procedure”). First, the heightened fault

standard does not apply here because Dr. Coomer is not a public official, a public figure, or a

matter of public concern.496 Second, even if the heightened fault standard applied, the court would

merely determine whether there is prima facie evidence that it is met (i.e. whether the plaintiff

established a reasonable probability that he will be able to produce at trial clear and convincing

evidence of actual malice). See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 252 (1986); see

also Young v. CBS Broad., Inc., 212 Cal. App. 4th 551, 562 (2012); Ampex Corp. v. Cargle, 128

Cal. App. 4th 1569, 1576 (2005). Some of the Defendants recognize this standard. 497 Whereas

the remaining Defendants attempt to advance a heightened evidentiary burden at this stage of the


496
      See supra at § VI(A)(ii)–(iii).
497
      See Powell Mot. p. 19; Defending the Republic Mot. at 20; Giuliani Mot. at 18.




                                                          110
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proceeding that misstates applicable law—either by citing California case law that expressly

recognized and applied the prima facie burden of proof at the anti-SLAPP stage498 or by citing

inapposite case law that neither involved anti-SLAPP statutes nor addressed the requisite burden

of proof at the anti-SLAPP stage.499

                     a.       Defendants negligently published defamatory statements concerning a
                              private individual.

            187.     Dr. Coomer has prima facie evidence establishing that Defendants defamed him.

First, Defendants made defamatory, false statements of fact directly about Dr. Coomer.500 The

Court has already addressed this issue, finding “Plaintiff’s pleadings, and indeed the pleadings of

some of the Defendants, have established a prima facie case that the statements at issue contain

‘provably false factual assertions.’”501 This is consistent with well-settled law. For a statement to

be actionable as defamatory, it must at least express or imply a verifiably false fact about the

plaintiff. See Milkovich v. Lorain Journal Co., 497 U.S. 1, 19-20 (1990); Burns v. McGraw-Hill

Broad. Co., Inc., 659 P.2d 1351, 1360 (Colo. 1983). Statements of opinion are also actionable if

they imply provably false facts or rely upon stated facts that are provably false. See Milkovich,

497 U.S. at 20. In deciding whether a statement expressed or implied a false statement of fact,



498
   See, e.g., Gilbert v. Sykes, 147 Cal. App. 4th 13, 18 and 26-34 (2007); McGarry Univ. of San Diego, 154 Cal. App.
4th 97, 108 and 118-23 (2007); Gardner v. Martino, 563 F.3d 981, 986 and 988-89 (9th Cir. 2009).
499
   See, e.g., Rosenbloom, 403 U.S. at 43; Sullivan, 376 U.S. at 279-80; St. Amant v. Thompson, 390 U.S. 727 (1968);
NBC Subsidiary, Inc. v. The Living Will Center, 879 P.2d 6, 11 (Colo. 1994); Seible v. Denver Post Corp., 782 P.2d
805, 808 (Colo. App. 1989); DiLeo, 613 P.2d at 324; Diversified Mgmt., Inc., 653 P.2d at 1106; Lewis, 832 P.2d at
1122-23; Walker v. Colo. Springs Sun, Inc., 538 P.2d 450, 457 (Colo. 1975); Metro Moving & Storage Co. v. Gussert,
914 P.2d 411, 414 (Colo. App. 1995); Smiley’s Too, Inc. v. Denver Post Corp., 935 P.2d 39, 42 (Colo. App. 1996);
Flowers v. Carville, 310 F.3d 1118, 1129 (9th Cir. 2002); Broker’s Choice of Am., Inc. v. NBC Universal, Inc.,
861 F.3d 1081, 1110 (10th Cir. 2017).
500
      See supra at §§ II(C)-(J).
501
      See June 8, 2021 Order at *2.




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courts consider the entire statement, the context in which it was made, and whether a reasonable

person would conclude that the statements at issue expressed or implied a false fact. See Burns,

659 P.2d at 1360.502 Defendants’ efforts to select discrete words or sentences that are divorced

from the context of their published statements are unavailing.503 Instead, their statements must be

reviewed in whole and, when fully reviewed, reveal that Defendants defamed Dr. Coomer.504 As

the court determined in U.S. Dominion, et al. v. Powell, et al. when reviewing similar statements,

this is not a close call. 505

            188.     Here, all of the Defendants alleged that Dr. Coomer was on an Antifa conference

call.506 This is not opinion or hyperbolic rhetoric. It is a simple statement of fact—one that is

verifiably false.507 All of the Defendants also alleged that Dr. Coomer stated on the purported

Antifa conference call that he intended to subvert the presidential election. 508 Again, this is a

statement of fact that is subject to verification. Dr. Coomer either made these statements or he did

not. Finally, all of the Defendants alleged either expressly or implicitly that Dr. Coomer subverted

the results of the presidential election.509 Again, these allegations are subject to verification—


502
   For purposes of this analysis, “reasonable person” does not implicate a majority of the community but, rather, a
substantial and respectable minority of the community. See Keohane, 882 P.2d at 1299, n.9.
503
   See Oltmann, et al. Mot. at 5, 9, 11; Hoft-TGP Mot. at 12-13, 16-17, 21; Malkin Mot. at 4; OAN-Rion Mot. at 8-
10, 17-18; Powell Mot. at 8, 10; Defending the Republic Mot. at 8, 11; Trump Campaign Mot. at 7-9, 12-13; Giuliani
Mot. at 7.
504
      See supra at § II(C)-(J); see also Pl.’s Amend. Compl. at §§ I, IV, V.
505
      See Exhibit V-3, Opinion, Nos. 1:21-cv-00040, 1:21-cv-00213, 1:21-cv-0045 (D.D.C.), at *16.
506
      See supra at § II(C)-(J) (Giuliani); see also Pl.’s Amend. Compl. at §§ I, IV, V.
507
      See Exhibit A, Coomer Dec. at ¶ 18; see also Pl.’s Amend. Compl. at ¶ 7.
508
      See supra at § II(C)-(J); see also Pl.’s Amend. Compl. at §§ I, IV, V.
509
   See id. Defendants admit to these statements when arguing that statements concerning election fraud are a matter
of public concern. See Oltmann, et al. Mot. at 6-9; Hoft-TGP Mot. at 12-13; Malkin Mot. at 6-7, 13; Metaxas Mot. at
9-11; OAN-Rion Mot. at 4, 11-13, 15-16, 20-21; Powell Mot. at 8-11; Defending the Republic Mot. at 9-12; Trump
Campaign Mot. at 9-11; Giuliani Mot. at 8-9.




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either Dr. Coomer committed election fraud or he did not. And Dr. Coomer has unequivocally

declared that these statements are false, which is competent and admissible evidence. 510 For

purposes of the anti-SLAPP statute, Dr. Coomer’s evidence is accepted as true. See Baral, 376

P.3d at 608-09. However, this evidence is also uncontroverted. Dr. Coomer is the only witness

with personal knowledge of the allegations made. In contrast, Defendants have no evidence in

support of their allegations.511 Defendants admit they relied on Oltmann as the “source” of their

defamation. As such, they built their defamation on the speculation of a witness who admitted he

had no personal knowledge or evidence of the allegations made.512 Speculation is not evidence

and could never amount to evidence. 513 Subjective beliefs without facts are not evidence,

regardless of whether they are in an affidavit.514 Even inferences must be based on provable facts,

which Defendants do not have.515 Without facts, Oltmann’s statements amounted to nothing more

than fabrication. Defendants’ republication of these statements does not change the fact that they

are fabricated. Despite this, a substantial portion of the public believed Defendants’ statements to

be true.516




510
      See Exhibit A, Coomer Dec. at ¶ 18; see also Pl.’s Amend. Compl. at ¶ 7.
511
      See supra at § III; see also supra at § II(C)-(J).
512
      See supra at § II(C)-(J); see also Pl.’s Amend. Compl. at §§ I, IV, V.
513
   Compare Colo. R. Evid. 401 and 602, with Exhibit V-4, Order, No. 20-13134 (E.D. Mich.), at *3, 66-67, 76, 102
(recognizing that speculation, conjecture, and guess-work are not evidence).
514
   Compare Colo. R. Evid. 401 and 602, with Exhibit V-4, Order, No. 20-13134 (E.D. Mich.), at *78 (recognizing
that “an affiant’s subjective belief that an event occurred does not constitute evidence that the event in fact occurred”).
515
    Compare Colo. R. Evid 401 and 602, with Exhibit V-4, Order, No. 20-13134 (E.D. Mich.), at *70 (recognizing
“[i]nferences must be reasonable and come from facts proven, not speculation or conjecture”) (internal citations
omitted).
  See Exhibit A, Coomer Dec. at ¶¶ 19-20; Exhibit W, Bania Dec. at ¶ 12; Exhibit W-1, ADI Report; see also Pl.’s
516

Amend. Compl. at § IV(D).




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            189.     Second, Defendants’ opinions are also actionable as they are built on false

statements of fact.517 See Milkovich, 497 U.S. at 20 (finding opinions are actions when they imply

or rely upon provably false facts). When some Defendants have stated that Dr. Coomer is “evil,”

“a sociopath,” “a criminal,” similar to “the Unabomber,” and that he should be jailed, it was

because of the above false facts.518 Defendants made this clear when they published their opinions

in conjunction with those false facts.519 Some of the Defendants contend they are not liable for

their opinions because they fully disclosed the facts upon which they relied in making those

opinions. 520 These arguments are without legal or factual support.                      Legally, Defendants’

publications of false facts are themselves actionable and not obviated by the fact that Defendants

also formed opinions on them. See Milkovich, 497 U.S. at 18-19; see also NBC Subsidiary, Inc. v.

The Living Will Center, 879 P.2d 6, 11 (Colo. 1994); Restatement (Second) of Torts § 566, cmt. c.

Factually, Defendants also purposefully withheld information and positioned themselves to be

perceived as having additional knowledge. See Burns, 659 P.2d at 1360-61; Keohane, 882 P.2d

1302-04 (finding opinions are actionable if the facts disclosed are incorrect or incomplete such

that they imply a false assertion of fact). For example, Defendants published statements alleging

there were notes and recordings of the purported call that do not exist or were not disclosed.521

Defendants have published statements that expressly or implicitly alleged there were other


517
  Some of the Defendants mistakenly confuse the opinion analysis with the heightened fault standard for actual
malice, which is separately addressed. See infra at § VI(B)(1)(b).
  See Ex. B-4, 91:2-6; Ex. E-3; Ex. G-1, at 15:2-15, 29:7-14, 63:12-25; Ex. K-1, PX 3 at RG 1 49-50; see also Pl.’s
518

Amend. Compl. at § IV(C)–(D).
519
      See supra at § II(C)-(J).
520
   See Oltmann et al. Mot. at 9; Hoft-TGP Mot. at 17-21; Powell Mot. at 24-25; Defending the Republic Mot. at 25-
26.
521
      See supra at § II(C)-(J); see also Pl.’s Amend. Compl. at § IV(C).




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witnesses to this call that do not exist or were not disclosed. 522 Defendants have published

statements alleging to have video evidence that Dr. Coomer showed how votes could be altered

that does not exist or was materially altered.523 Defendants have published statements expressly

or implicitly alleging that they have evidence of election fraud that does not exist. 524 Significantly,

all of the Defendants built their opinions on Oltmann’s defamation and presented him as a witness

of that defamation when in fact he had no personal knowledge or evidence of the allegations he

made.525 They legitimized the illegitimate and gave a baseless conspiracy a national platform.

Despite Defendants’ assertions, they cannot now avoid liability for either their opinions or the false

statements of fact that underlie those opinions. See Milkovich, 497 U.S. at 19.

            190.    Regardless, Colorado courts have also found that accusations of criminal activity,

even if in the form of opinion, are not constitutionally protected and are actionable. See Keohane,

882 P.2d 1304. Defendants’ statements about Dr. Coomer impute a criminal offense—here,

election fraud—against him and, therefore, are actionable regardless of whether they are in the

form of an opinion.526 Further, statements that impute a criminal offense on a person are also

defamatory per se. Gordon v. Boyles, 99 P.3d 75, 79 (Colo. App. 2004) (holding that a radio talk

show host’s statements that a police officer had stabbed someone was defamatory per se because

it imputed a criminal offense to the officer). Some of the Defendants have conceded that the




522
      See id.
523
      See id.
524
      See id.
525
      See supra at § II(C)-(J); see also Pl.’s Amend. Compl. at §§ IV(B)–(C).
526
      See id.




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statements about Dr. Coomer impute a criminal offense. 527 Regardless, the substance of the

allegations Defendants expressly or implicitly made—that Dr. Coomer conspired to steal votes for

President Biden by corrupting statewide voting systems—is a criminal offense under Colorado

law. See C.R.S. § 1-13-703(1).

           191.     Third, Defendants published their statements across numerous media platforms,

including press conferences, television broadcasts, radio broadcasts, and social media websites.528

These publications provide prima facie evidence that Defendants did in fact publish defamatory

statements about Dr. Coomer. There is no real dispute surrounding these publications. Instead,

some of the Defendants attempt to avoid their liability for their publications. For example, the

Trump Campaign without support challenges its vicarious liability for publications.529 There is no

basis for this argument as there is more than sufficient evidence to establish the Trump Campaign’s

liability for its agents’ acts. 530 For purposes of this motion, the Trump Campaign opted to

incorporate past briefing by reference rather than restate the merits of its challenge here. As such,

Dr. Coomer similarly incorporates by reference his past response.531 Similarly, some Defendants

argue that they cannot be liable for republishing Oltmann’s statements. 532 However, this is



527
    See Exhibit G-1, PX 97 at 29:7-14 (describing the accusations against Dr. Coomer and stating they were “extremely
criminal, and these folks know they’re going to go to jail for the rest of their lives”); Exhibit A-1, Pub. 26, Giuliani,
Nov. 19, 2020 Press Conference (“It is not made up. It is not – there is nobody here that engages in fantasies. I’ve
tried a hundred cases. I’ve prosecuted some of the most dangerous criminals in the world. I know crimes. I can smell
them. You don’t have to smell this one. I can prove I to you eighteen different ways.”).
528   See supra at §§ II(C)–(J); see also Pl.’s Amend. Compl. at § IV(B)–(C).
529
      See Trump Campaign Mot. at 6; Ex. M-1, at 19:5-18, 28:22-29:13, 30:18-32:13.
530
   See supra at § II(H) (Powell); § II(I) (Trump Campaign); § II(J) (Giuliani); see also Pl.’s Amend. Compl. At §
IV(C).
531
      See Pl.’s Resp. filed May 14, 2021.
532
      See OAN-Rion Mot. at 8-10, 17-18; see also Malkin Mot. at 10-11.




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contrary to black letter law. See Dixson v. Newsweek, Inc., 562 F.2d 626 (10th Cir. 1977)

(“the republication of false defamatory statements is as much a tort as the original publication”);

see also Colo. Jury Instr., Civil 22:7 (citing Restatement (Second) of Torts § 578 (1977)) (“Each

time that libelous matter is communicated by a new person, a new publication has occurred, which

is a separate basis of tort liability . . . It is no defense that the second publisher names the author

or original publisher of the libel. Thus, a newspaper is subject to liability if it republishes a

defamatory statement, although it names the author and another newspaper in which the statement

first appeared.”). This is especially true here where Defendants knew of Oltmann and his

allegations in advance and purposefully sought to interview him as a guest so as to publish those

statements.533 Any assertion by Defendants that they did not review those statements in advance

shows conscious avoidance and an intentional or reckless disregard for the truth. 534 Furthermore,

not only did Defendants adopt Oltmann’s statements while interviewing him, but they actively

promoted those statement across media platforms after interviewing him. 535 These publications

are still accessible online. 536 Further, none of the Defendants have retracted their statements.537

            192.    Fourth, Defendants negligently published their defamatory statements. Specifically,

Oltmann fabricated a conspiracy involving Dr. Coomer.538 No reasonable person would accept




533
      See supra at § II(D)-(G); see also Pl.’s Amend. Compl. at § IV(C).
534
      See id.
535
      See id.
536
      See id.
537
      Exhibit V-1, Cain Dec., Demand for Retraction.
538
      See supra at § II(C); see also Pl.’s Amend. Compl. at § IV(B).




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these allegations as fact when based solely on speculation and conjecture. 539 No reasonable person

would repeat them as fact without investigating the allegations and obtaining corroborating

evidence. 540 Yet, the remaining Defendants relied on Oltmann, a uncredible source with no

personal knowledge or evidence of his allegations as the basis for their statements about

Dr. Coomer.541 These allegations were inherently improbable on their face. 542 Yet, none of the

Defendants contacted Dr. Coomer to corroborate the evidence. 543 None of the Defendants

investigated the allegations prior to publishing them.544 All of the Defendants rejected credible

sources of information that debunked these allegations.545 Defendants’ failure to investigate and

reliance on unreliable sources that were improbable on their face was negligent. See Quigley, 43

F. Supp. 2d at 1180 (“Failure to investigate obvious sources of refutation or corroboration of

statements, especially when there is no time-pressure on their publication, may indicate not only

negligence, but the higher standard of actual malice.”).

            193.     Fifth, Dr. Coomer does not need to establish special damages because Defendants’

statements are defamatory per se. Gordon, 99 P.3d at 79 (“If a libelous communication is

defamatory per se, damage is presumed, and a plaintiff need not plead special damages.”); Han Ye




539
   See supra at § II(C); see also Exhibit N, Brown Dec.; Exhibit O, Halderman Dec.; see also Exhibit V-4 (finding
“no reasonable attorney would accept the assertions in those reports and affidavits as fact . . . no reasonable attorney
would repeat them as fact or as support for factual allegations without conducting the due diligence inquiry required
under Rule 11(b).”).
540
      See id. Exhibit V-1, Cain Dec., Demand for Retraction.
541
      See supra at §§ II(D)–(J); see also Pl.’s Amend. Compl. at § IV(B)–(C).
542
      See supra at § II(C).
543
      See Exhibit A, Coomer Dec. at ¶¶ 16, 23, 34, 36; see also Pl.’s Amend. Compl. at ¶ 51.
544
      See supra at §§ II(C)–(J); see also Pl.’s Amend. Compl. at § IV(B)–(C).
545
      See supra at § II(K); see also Pl.’s Amend. Compl. at § IV(A).




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Lee, 222 P.3d at 961. Regardless, Dr. Coomer has suffered serious emotional distress, pecuniary

loss, and other damages that was directly caused by Defendants’ defamatory statements.546

            194.     Because Dr. Coomer has a prima facie showing for every essential element of his

defamation claim, the Court should deny Defendants’ special motions to dismiss Dr. Coomer’s

defamation claims.

                     b.       The heightened fault standard does not apply, but even if it did
                              Defendants defamed Dr. Coomer with actual malice.

            195.     Because Dr. Coomer is not a public official or figure, and because Defendants’

statements regarding Dr. Coomer do not involve a matter of public concern, Dr. Coomer does not

need to prove actual malice as an element of his defamation claim. 547 However, even were the

heightened actual malice standard to apply, Dr. Coomer has more than sufficient evidence to

establish that Defendants acted with actual malice in publishing his defamatory statements.

            196.     Actual malice “requires at a minimum that the statements were made with reckless

disregard for the truth.” Harte-Hanks Commc’ns, Inc. v. Connaughton, 491 U.S. 657, 686 (1989);

Diversified Mgmt., Inc., 653 P.2d at 1110-11.                  To prove actual malice, “the plaintiff must

demonstrate that the defendant in fact entertained serious doubts as to the truth of the statement . . .

or acted with a high degree of awareness of its probable falsity.” Lewis, 832 P.2d at 1122-23.

Reckless disregard “cannot be fully encompassed in one infallible definition” and is not limited to

specific bases. See St. Amant, 390 U.S. at 730. Instead, actual malice can be inferred from

objective circumstantial evidence, which can override a defendant’s protestations of good faith.




546
      See Exhibit A, Coomer Dec. at ¶ 53; see also Pl.’s Amend. Compl. at §§ IV(D), V.
547
      See supra §§ VI(A)(ii)-(iii).




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See Brown v. Petrolite Corp., 965 F.2d 38, 46-47 (5th Cir. 1992) (finding circumstantial facts can

“provide evidence of negligence, motive, and intent such that an accumulation of the evidence and

appropriate inferences supports the existence of actual malice”). Courts have considered countless

circumstantial factors as sufficient to establish that a defendant has acted with actual malice,

including: when a story is fabricated by a defendant or is the product of his imagination;548 when

a defendant relies on anonymous sources;549 when a defendant had reason to know his source was

unreliable; 550 when the allegations made are inherently improbable that only a reckless person

would publish them; 551 when a defendant intentionally avoids the truth; 552 when a defendant’s

allegations conform to a preconceived storyline; 553 and when a defendant has a financial incentive

to make the defamatory statements. 554

           197.     Defendants’ recklessness and bad faith in publishing these baseless allegations is

clear.555 Dr. Coomer has more than sufficient evidence to establish all of the above bases for actual



548
      St. Amant, 390 U.S. at 731-32.
549
      Id.; Eramo v. Rolling Stone, LLC, 209 F. Supp. 3d 862, 872 (W.D. Va. 2016).
550
   St. Amant, 390 U.S. at 732; Celle v. Filipino Rep. Enters., Inc., 209 F.3d 163, 190 (2d Cir. 2000); Wells v. Liddy,
186 F.3d 505, 542–43 (4th Cir. 1999); Zimmerman v. Al Jazeera Am., LLC, 246 F. Supp. 3d 257, 283 (D.D.C. 2017);
Jankovic v. Int’l Crisis Grp., 822 F.3d 576, 590 (D.C. Cir. 2016).
551
  St. Amant, 390 U.S. at 732; Spacecon Specialty Contractors, LLC. v. Bensinger, 782 F. Supp. 2d 1194, 1201 (D.
Colo. 2011), aff’d sub nom. Spacecon Specialty Contractors, LLC v. Bensinger, 713 F.3d 1028 (10th Cir. 2013);
Lohrenz v. Donnelly, 223 F. Supp. 2d 25, 46 (D.D.C. 2002), aff’d., 350 F.3d 1272 (D.C. Cir. 2003).
  Harte-Hanks Commc’ns, Inc., 491 U.S. at 693; Kuhn v. Trib.-Republican Pub. Co., 637 P.2d 315, 319 (Colo. 1981);
552

Burns, 659 P.2d at 1361.
  Harris v. City of Seattle, 152 Fed. App’x 565, 568 (9th Cir. 2005); Gilmore v. Jones, 370 F. Supp. 3d 630, 674-75
553

(W.D. Va. 2019); Eramo, 209 F. Supp. at 872.
554
      See Brown, 965 F.2d at 47.
555
   Courts that have considered similar issues have found the same. See Exhibit V-3, US Dominion, Inc. et al. v.
Powell, et al., Nos. 1:21-cv-00040, 1:21-cv-00213, 1:21-cv-00445, at *19-24 (finding adequate allegations of actual
malice); see also Exhibit V-4, Order, No. 20-13134 (E.D. Mich.), at *103, 108 (sanctioning Powell for filing claims
“in bad faith and for an improper purpose”); Exhibit V-2, June 24, 2021 Opinion, N.Y. App. Div. [1st Dept.], at *2
(suspending Giuliani for false statements of election fraud).




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malice against Defendants.556 First, Oltmann fabricated the false allegations against Dr. Coomer,

which Defendants adopted. 557 Second, Oltmann’s story was premised on anonymous sources,

which Defendants equally relied upon.558 Third, Defendants had several reasons to know that their

source, Oltmann, was unreliable and his story inherently improbable. Oltmann has no personal

knowledge of the claims he advanced. 559 Oltmann does not have any relevant credentials or

official verification of his hearsay claims about Dr. Coomer.560 Oltmann conducted no legitimate

investigation in support of his story and purposefully avoided the truth of it. 561 Oltmann had no

evidence in support of his story.562 Instead, Oltmann’s story is built on an alleged Google search

of anonymous speakers from an unrecorded call that he claims to have infiltrated. 563 Oltmann then

kept this alleged call secret for two months—despite almost daily podcasts—only to remember

after the election and after advancing other election fraud theories. 564 Oltmann’s financial

motivations in these allegations were apparent. 565 Fourth, in contrast, the story he advanced

involves facially impossible election interference. 566 Fifth, like all Defendants, Oltmann had a




556
  This includes related expert reports. See Exhibit N, Brown Dec.; Exhibit O, Halderman Dec.; Exhibit P, Rothschild
Dec..
557
      See supra at §§ II(C)–(J); see also Pl.’s Amend. Compl. at §§ I, IV(B)–(C).
558
      See id.
559
      See supra at § II(C); see also Pl.’s Amend. Compl. at § IV(B).
560
      See id.
561
      See id.
562
      See supra at §§ II(C)–(J); see also Pl.’s Amend. Compl. at § IV(A)–(C).
563
      See id.
564
      See id.
565
      See id.; see also Pl.’s Amend. Compl. at § V(C).
566
      See supra at § II(C) (Oltmann, et al.); see also Pl.’s Amend. Compl. at § IV(A)–(C).




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preconceived storyline of election fraud and desire to prove it.567 Prior to the election, Defendants

began advancing various baseless allegations of elections fraud in the event their preferred

candidate lost—as was projected. 568 When their candidate did in fact lose, Defendants sought

another baseless conspiracy to explain that loss, this one centered on Dr. Coomer.569 Sixth, like

all Defendants, Oltmann had political motivations and general ill will. 570 Seventh, like all

Defendants, Oltmann had financial incentive to defame Dr. Coomer.571 That Defendants relied on

Oltmann, an unqualified witness with no personal knowledge or evidence of the allegations he

asserted and who had questionable motivations in asserting them, as their sole source to advance

allegations against Dr. Coomer constitutes actual malice. 572 Eighth, Defendants intentionally

avoided the truth. Several Defendants reference alleged vulnerabilities in Dominion’s election

software,       573   but as Dr. Coomer’s elections expert, Dr. Halderman, makes clear, such

vulnerabilities are not evidence of actual fraud let alone fraud committed by Dr. Coomer. 574

Defendants did not contact Dr. Coomer or Dominion regarding the allegations; disregarded

reliable sources with actual election expertise refuting the allegations; and conducted no




567
      See supra at §§ II(C)–(J); see also Pl.’s Amend. Compl. at § IV(B)–(C).
568
      See id.
569
      See id.
570
      See id.
571
      See supra at §§ II(C)–(J); see also Pl.’s Amend. Compl. at §§ IV(A)–(C), V(C).
  Oltmann describing the statements as “absolute fact” does not make it so and does not absolve Defendants of
572

complying with journalistic standards. See Metaxas 12(b)(5) Mot., filed Feb. 22, 2021 at 9; see also Exhibit N, Brown
Dec. at ¶¶ 17, 130-134.
573
  See Hoft-TGP Mot. at 3-7; OAN-Rion Mot. at n.10; Giuliani Mot. at n.7; Powell Mot. at 19-21; Defending the
Republic Mot. at 20-22.
574
      See Exhibit O, Halderman Dec. at ¶ 9.




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investigation before actively promoting the allegations.575 Ninth, Defendants have yet to issue a

retraction or remove all of the defamatory posts, further evidencing their actual malice.576 This

evidence more than supports a prima facie showing that Defendants acted with actual malice when

they published the false statements about Dr. Coomer.577

           198.     Further, Defendant’s reckless conduct is clear under Colorado law. In Kuhn v.

Trib.-Republican Publishing Company, the Supreme Court of Colorado found clear and

convincing evidence of actual malice where a reporter “admitted that he had no bases for most of

his erroneous statements, and that he failed to take the time to corroborate allegations made in the

article.” 637 P.2d at 319 (holding “a reporter’s failure to pursue the most obvious available sources

of possible corroboration or refutation may clearly and convincingly evidence a reckless disregard

for the truth.”). This “[f]ailure to verify the statements made meant that many of the ‘facts’ . . .

were, essentially, fabrications.”          Id.    Fabrications of facts do not enjoy First Amendment

protections.” Id. Similarly, in Burns v. McGraw-Hill Broadcasting Company, the Colorado

Supreme Court found clear and convincing evidence of actual malice where a reporter had reasons

to question the reliability of the source and information; failed to investigate other sources of

possible corroboration or refutation before publishing; and had no factual support for the

allegations made. 659 P.2d at 1361-62. In contrast, in Lewis the Colorado Supreme Court found

that there was not sufficient evidence of actual malice where the defending television station and



575
   See supra at § II(C)–(J); see also Ex. B-2, PX 111 (confirming that there is “no evidence that any voting system
deleted or lost votes, changed votes, or was in any way compromised” and that the 2020 election was the most secure
in American history); Pl.’s Amend. Compl. at § IV.
576
      See Exhibit V-1, Cain Dec., Demand for Retraction.
577
   While ill-will or improper motive alone may not establish actual malice, Dr. Coomer has proffered much more.
See Ex. V-3, at *19-24.




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reporter had actually investigated the claims alleged. 832 P.2d at 1119–21. Their investigation

turned to official, credible sources with the Aurora Police Department. Id. The television station

and reporter had a years-long relationship with this source who had previously always provided

accurate information.              Id.   That credible source relied on an official report in the police

department’s system to determine the plaintiff had a prior criminal history. Id. Upon learning this,

the television station and reporter tried to contact plaintiff’s representatives before reporting that

information. Id. When the television station and reporter learned this information was in error

due to a mix up of names, they then immediately issued a retraction to correct the false statement.

Id. Here, Defendants took none of the actions identified in Lewis. Instead, like Kuhn and Burns,

Defendants published their statements despite having reasons to question Oltmann’s allegations

against Dr. Coomer.578 As such, Defendants’ failures to investigate and corroborate the allegations

before publishing them is evidence of their actual malice.

            199.     Because Dr. Coomer has evidence establishing a prima facie case for every

essential element of his defamation claim—including, out of an abundance of caution, for actual

malice—Defendants’ special motions to dismiss should be denied.

            ii.      Dr. Coomer has established a prima facie showing of intentional infliction of
                     emotional distress claim.

            200.     Dr. Coomer has a prima facie showing for intentional infliction of emotional

distress. The facts supporting that claim include and build upon the facts underlying Dr. Coomer’s

defamation claim. A claim for intentional infliction of emotional distress requires proof that “(1)

the defendant(s) engaged in extreme and outrageous conduct, (2) recklessly or with the intent of



578
      See supra at §§ II(C)–(J).




                                                        124
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causing the plaintiff severe emotional distress, and (3) causing the plaintiff severe emotional

distress.” Mackall v. JPMorgan Chase Bank, N.A., 356 P.3d 946, 955 (Colo. App. 2014) (citing

Archer v. Farmer Bros. Co., 70 P.3d 495, 499 (Colo. App. 2002), aff’d, 90 P.3d 228 (Colo. 2004)).

        201.     Because Dr. Coomer is not a public official or figure, and because Defendants’

statements regarding Dr. Coomer do not involve a matter of public concern, Dr. Coomer does not

need to prove actual malice as an element of his intentional infliction of emotional distress claims.

However, Dr. Coomer has more than sufficient evidence to establish Defendants’ actual malice.

Despite Defendants’ assertions, Hustler Magazine, Inc. v. Falwell does not hold that the First

Amendment immunizes Defendants from Dr. Coomer’s claims. See 485 U.S. 46, 50-52

(1988). Rather, it stands for the limited position that actual malice applies to claims for intentional

infliction of emotional distress when it also applies to the underlying defamation claims (i.e., when

a plaintiff is a public figure or public official). See id. Because Dr. Coomer can establish a prima

facie case for all of his claims, the remaining cases cited by Defendants are similarly unavailing. 579

                 a.       Defendants engaged in extreme and outrageous conduct.

        202.     Defendants engaged in extreme and outrageous conduct when they defamed

Dr. Coomer. Extreme and outrageous conduct exists when “the recitation of the facts to an average

member of the community would arouse his resentment against the actor, and lead him to exclaim,




579
   See Fry v. Lee, 408 P.3d 843, 856 (Colo. App. 2013) (dismissing ancillary claims where underlying defamation
claims failed); Miles v. Ramsey, 31 F. Supp. 2d 869, 880 (D. Colo. 1998) (same); Vackar v. Package Mach. Co., 841
F. Supp. 310, 315 (N.D. Cal. 1993) (same); Lewis, 832 P.2d at 1124-25 (same).




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‘Outrageous!’” Han Ye Lee, 222 P.3d at 963. Courts have found allegations of extreme and

outrageous conduct sufficient in:

           •        Unverified statements by a newspaper that a wife failed to testify in her
                    husband’s murder trial, impugning the wife’s integrity and implying the
                    wife was disloyal;580

           •        Statements that a tenant would have special influence in a judicial
                    proceeding against a landlord and mocking the landlord’s serious and
                    unfortunate physical condition;581

           •        Reports of child abuse by an unlicensed mental health provider when
                    allegedly made in bad faith;582

           •        Repeated accusations of theft with no evidence beyond a polygraph test
                    when questioning the employee;583

           •        Repeated requests for payment and threats to garnish wages without
                    judgment;584

           •        Derogatory comments by a supervisor to pregnant employees; 585 and

           •        Racial slurs directed in an employment setting. 586

These cases illustrate that statements—when they defame, denigrate, harass, and threaten—can

constitute extreme and outrageous conduct. Such a finding is not necessarily predicated on a

pattern of conduct. This is best illustrated in Han Ye Lee. There, a plaintiff sued a newspaper for

causing her severe emotional distress with a defamatory newspaper article that falsely reported



580
      Han Ye Lee, 222 P.3d at 963-65.
581
      Meiter v. Cavanaugh, 580 P.2d 399, 401 (Colo. App. 1978).
582
      Montoya v. Bebensee, 761 P.2d 285, 286-90 (Colo App. 1988).
583
      Ellis v. Buckley, 790 P.2d 875, 877 (Colo. App. 1990).
584
      Rugg v. McCarty, 476 P.2d 753, 754-56 (Colo. 1970).
585
      Donaldson v. Am. Banco Corp. Inc., 945 F. Supp. 1456, 1465-66 (D. Colo. 1996).
586
      Mass v. Martin Marietta Corp., 805 F. Supp. 1530, 1543-44 (D. Colo. 1992).




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that she declined to testify in her husband’s murder trial. Han Ye Lee, 222 P.3d at 964. The article

implied that the plaintiff was disloyal to her husband and impugned her integrity. Id. Further, the

evidence established that the defendants published the article recklessly and without verifying the

information. Id. The court in Han Ye Lee explained that a reasonable jury could find such

defamatory statements by a newspaper article were extreme and outrageous. Id.

            203.     Like Han Ye Lee, Defendants have impugned Dr. Coomer’s integrity, his reputation,

and his patriotism by accusing him of defrauding the American public from democratically

electing their next president. It is difficult to comprehend statements more extreme and more

damaging than the ones Defendants have made regarding Dr. Coomer both in nature and scope,

especially given the fact that Dr. Coomer has dedicated his professional career to ensuring free

and fair elections. Defendants repeatedly, without evidence, falsely accused Dr. Coomer of

conspiring to overturn the presidential election. 587 This is alleged criminal conduct committed

against every citizen of the United States. Without verifying their information, Defendants

branded Dr. Coomer a traitor, impugned his personal and professional reputation, and incited the

threat of real violence against Dr. Coomer.588 Oltmann, for example, has repeatedly claimed that

Dr. Coomer has committed treason and sedition, and that he may face the death penalty as a

result.589 He has accused Dr. Coomer of being mentally ill, a sociopath, and claimed that “not one

person has said that this person is a decent human being.” 590 Malkin has branded Dr. Coomer an



587
      See supra at §§ II(C)–(J); see also Pl.’s Amend. Compl. at §§ I, IV, V.
588
      See id.
589
   See Exhibit A-1, Pub. 2, Oltmann et. al., CONSERVATIVE DAILY PODCAST (Nov. 11, 2020); Exhibit A-1, Pub. 3,
Oltmann et. al., CONSERVATIVE DAILY PODCAST (Nov. 12, 2020); Exhibit F-1, Malkin July 27, 2021, PX 15.
590
      See Exhibit A-1, Pub. 52, Oltmann et. al., WAKE UP! WITH RANDY CORPORON (Dec. 19, 2020).




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“Antifa radical.”591 Hoft and TGP labeled Dr. Coomer an “unhinged sociopath” in the headline of

an article that went on to be shared with millions by Eric Trump, acting on behalf of the Trump

Campaign. 592 Powell said that Dr. Coomer’s social media posts demonstrated hatred “for the

United States of America as a whole.”593 Giuliani called him a “vicious, vicious man” who “is

completely warped.”594 OAN and Chanel Rion described him as an “antifa drenched engineer”

who was “hellbent on deleting half of America’s voice.” 595 Metaxas went so far as to compare

Dr. Coomer to the Unabomber, describe him as evil, and state that he should be locked away for

the rest of his life. 596 This is more than sufficient to establish a prima facie showing that

Defendants’ defamatory statements were extreme and outrageous.597

                    b.       Defendants acted recklessly and with intent to cause severe emotional
                             distress.

           204.     Dr. Coomer can also establish that Defendants were reckless or intended to cause

Dr. Coomer emotional distress. Intent exists when a defendant engages in conduct with the

purpose of causing severe emotional distress to another person or knows that his conduct is certain

or substantially certain to have that result. Culpepper v. Pearl St. Bldg. Inc., 877 P.2d 877, 882-

83 (Colo. 1994). Recklessness exists when, at the time of the conduct, a defendant knew or



591
      See Exhibit A-1, Pub. 6, Malkin, TWITTER (Nov. 13, 2020).
592
      See Exhibit E-3; Exhibit M-1, Trump Campaign, Aug. 9, 2021, PX 69; see also Exhibit A-1, Pubs. 19-20.
593
      See Exhibit K-1, Powell, July 20, 2021, PX 3 at 32:10-13; see also Exhibit A-1, Pub. 26.
594
      See Exhibit K-1, Powell, July 20, 2021, PX 3 at 49:14-23; see also Exhibit A-1, Pub. 26.
595
      See Exhibit I-1, OAN, July 30, 2021, PX 32; see also Exhibit A-1, Pub. 33.
596
      See Exhibit G-1, Metaxas, Aug. 13, 2021, PX 97 at 15:2-15, 29:7-14.
597
   Compare Han Ye Lee, 222 P.3d at 963–64 (finding newspaper’s unverified statements that wife’s absence at trial
caused husband’s murderer to walk free could be sufficiently outrageous), with Gordon, 99 P.3d at 82 (finding radio
host’s statements that sources indicated police officer was involved in stabbing and extramarital affair were not
sufficiently outrageous).




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reasonably should have known that there was a substantial probability that his conduct would cause

another severe emotional distress. Id. Given the nature and scope of Defendants’ defamation, at

a minimum they knew or should have known there was a substantial probability that their conduct

would cause Dr. Coomer severe emotional distress.598

                    c.       Defendants caused Dr. Coomer severe emotional distress.

            205.    Defendants’ outrageous statements about Dr. Coomer caused him severe emotional

distress.599 Dr. Coomer has suffered severe emotional distress, including anxiety and depression,

for which he has sought medical treatment, and he has experienced lost wages and other negative

harm from the severe emotional distress caused by Defendants’ statements.600 See Paulson v. State

Farm Mut. Auto. Ins. Co., 867 F. Supp. 911, 919 (C.D. Cal. 1994) (noting that, in order to establish

severe emotional distress, the plaintiff must “prove that he suffered objective symptoms of

distress.”). Because Dr. Coomer has suffered objective and verifiable symptoms of distress, he

has made a prima facie showing for this element.

            206.    Dr. Coomer has established a prima facie showing for every essential element of

his intentional infliction of emotional distress claims against Defendants. Defendants’ Motions

should be denied, accordingly.

            iii.    Dr. Coomer’s has established a prima facie showing of civil conspiracy claim.

            207.    Dr. Coomer has established that Defendants engaged in civil conspiracy. The facts

underlying his civil conspiracy claims include and build upon the facts that support Dr. Coomer’s



598
      See Exhibit A, Coomer Dec. at ¶ 53; see also Pl.’s Amend. Compl. at §§ I, IV, V.
599
      See id.
600
      See Exhibit A, Coomer Dec. at ¶ 53; see also Pl.’s Amend. Compl. at § IV(D).




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defamation and intentional infliction of emotional distress claims. 601 To prevail on a claim for

civil conspiracy, a plaintiff must prove five elements: “(1) two or more persons, and for this

purpose a corporation is a person; (2) an object to be accomplished; (3) a meeting of the minds on

the object or course of action; (4) one or more unlawful overt acts; and (5) damages as the

proximate result thereof.” Walker v. Van Laningham, 148 P.3d 391, 396 (Colo. App. 2006).

           208.     Because Dr. Coomer is not a public official or figure, and because Defendants’

statements regarding Dr. Coomer do not involve a matter of public concern, Dr. Coomer does not

need to prove actual malice as an element of his conspiracy claims. See supra at § VI(B)(ii).

However, again Dr. Coomer has more than sufficient evidence to establish Defendants’ actual

malice.

                    a.      Defendants agreed, by words or conduct, to defame Dr. Coomer.

           209.     Dr. Coomer does not need to prove express agreement to establish conspiracy. See

Schneider v. Midtown Motor Co., 854 P.2d 1322, 1326-27 (Colo. App. 1992). Rather, conspiracy

may be implied by course of conduct or other circumstantial evidence providing some indicia of

agreement. Id. at 1327; Ferraro v. Convercent, Inc., No. 17-CV-00781-RBJ, 2017 WL 4697499,

at *5 (D. Colo. Oct. 19, 2017). Indeed, because few, if any, “smoking guns” are ever discovered,

most conspiracy claims are established by circumstantial evidence. Lee v. State Farm Mut. Auto.

Ins. Co., 249 F.R.D. 662, 669 (D. Colo. 2008) (“Circumstantial evidence is not only permissible

in determining whether there is illicit conduct or agreement, it is indeed the usual and customary

basis for doing so. Direct evidence is seldom available and few so-called ‘smoking guns’ are ever

discovered. What individuals actually do—and perhaps more significantly what they do not do—


601
      See Pl.’s Amend. Compl. at §§ IV(B)-(C); V(C).




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is more probative.”). As such, an agreement to conspire may “be inferred from the nature of the

acts done, the relation of the parties, the interests of the alleged conspirators, and other

circumstances.” Wyatt v. Union Mortgage Co., 598 P.2d 45, 52 (Cal. 1979). “Tacit consent as

well as express approval will suffice to hold a person liable as a coconspirator.” Id.

            210.    The appellate court in Schneider recognized that conspiracy may be implied by a

course of conduct and other circumstantial evidence providing “some indicia of agreement in an

unlawful means or end.” See 854 P.2d at 1326-27. There the court found that a car dealership’s

sales to an unlicensed motorist at discount prices to encourage repeat purchases while knowing of

the motorist’s reckless driving was sufficient evidence for a jury to find a tacit agreement between

the dealership and motorist to commit a tortious act. See 854 P.2d at 1326-27. Similarly, the

appellate court in Saint John Church in Wilderness v. Scott found protestors’ promotion,

preparation, and participation in a protest were sufficient evidence to establish a conspiracy to

commit a private nuisance. See 194 P.3d 475, 480 (Colo. App. 2008).

            211.    Here, circumstantial and direct evidence indicates that at a bare minimum each of

the Defendants conspired with Oltmann to defame Dr. Coomer and intentionally cause Dr. Coomer

emotional distress.602 Conspiracy only requires an agreement between two people to commit an

unlawful or tortious act. Here, each Defendant obtained their information from Oltmann.603 Each

Defendants utilized Oltmann as the sole source of their information regarding Dr. Coomer. 604

Each Defendant agreed to and did republish Oltmann’s defamation against Dr. Coomer, either by



602
      See supra at §§ II(C)–(J); see also Pl.’s Amend. Compl. at §§ IV, V.
603
      See supra at §§ II(C)–(J); see also Pl.’s Amend. Compl. at § IV(B)–(C).
604
      See id.




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publishing their interview of Oltmann directly or by publicly restating Oltmann’s allegations. 605

This alone is sufficient to establish conspiracy between each of the Defendants and Oltmann in

this case.606

            212.    However, there is also sufficient circumstantial and direct evidence to indicate that

this conspiracy extended across all Defendants.                    First, this conspiracy is unique among

conspiracies in that the conspirators were overtly public in their efforts. With this publicity, the

Defendants were aware of one another’s defamation and would have been cognizant of the effects

of their collective defamation of Dr. Coomer. Several of the Defendants have acknowledged

this.607 Second, each Defendant entered the same agreement with Oltmann to publish the same

defamation, necessarily connecting the Defendants through Oltmann. Third, the Defendants

shared comparable personal, political, and financial motivations to defame Dr. Coomer and

challenge the results of the election. 608 When former President Trump publicly raised allegations

of election fraud and demanded support, each of the Defendants complied. 609 Each of the

Defendants sought to undermine the results of the election and utilized Dr. Coomer as the means

to accomplish that goal.610 Fourth, each of the Defendants published this defamation with similar


605
      See id.
606Defendants’ conduct grouped the Defendants together, not Dr. Coomer. Cf. Pierson v. Orlando Reg’l
Healthcare Sys., Inc., 619 F. Supp. 2d 1260, 1271 (M.D. Fla. 2009), aff'd, 451 F. App'x 862 (11th Cir. 2012).
607
   See Powell Mot. at 15; Defending the Republic Mot. at 16; OAN-Rion Mot., Rion Dec. at ¶ 4; Exhibit E-1, TGP-
Hoft, Aug. 10, 2021 Depo. Tr. 30:3-15, 33:6-34:17, 37:19-38:2, 124:10-21; Exhibit G-1, Metaxas, Aug. 13, 2021
Depo. Tr. 69:18-70:2; Exhibit H-1, Rion, Aug. 9, 2021 Depo. Tr. 15:21-16:1, 18:12-19:7, 73:16-20, 81:16-82:15,
115:2-7, 116:23-117:17, 150:14-19, 160:15-23; Exhibit I-1, OAN, July 30, 2021 Depo. Tr. 11:22-12:21, 14:6-14,
28:17-22, 30:17-19, 62:4-9; Exhibit K-1, Powell, July 20, 2021 Depo. Tr. 10:14-21, 11:20-12:1, 15:10-18, 26:15-27:4,
41:13-16, 57:22-58:3, 65:22-66:8, 72:15-23, 73:8-15, 88:22-89:6, 92:11-22, 96:4-16, 98:10-15, 108:22-109:7.
608
      See supra at §§ II(C)–(J); see also Pl.’s Amend. Compl. at § IV(B)–(C).
609
      See id.
610
      See id.




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actual malice, further indicating a shared unlawful basis.611 They proffered baseless conspiracy as

fact without any evidence in support of their claims and actively avoided evidence debunking these

claims.612 Fifth, many of the Defendants have yet to retract these statements, despite their clear

fabrication, further indicating agreement to defame. 613          Sixth, several of the Defendants

coordinated with one another in relation to this defamation beyond Oltmann. For example, there

was clear coordination between the Trump Campaign, Giuliani, Powell, OAN, and Rion. 614 The

nature of these acts, the relation between the parties, and their shared interests sufficiently give

rise to a prima facie showing of agreement to defame. Where evidence was lacking, Defendants

relied on one another to bolster their defamation. They successfully utilized baseless allegations

to cast doubt on the results of the election and provide support for former President Trump, while

destroying Dr. Coomer’s reputation in the process.

                     b.        Defendants defamed Dr. Coomer and intentionally inflicted emotional
                               distress.

            213.     Defendants did in fact defame Dr. Coomer and intentionally inflict emotional

distress.615




611
      See Pl.’s Amend. Compl. at § IV(A)–(C).
612
      See supra at § VI(B)(i)(b).
613
      See Exhibit V-1, Cain Dec., Demand for Retraction.
614
      See supra at §§ II(C)–(J); see also Ex. K-1, PX 6.
615
      See supra at § V(B)(i)-(ii).




                                                           133
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                    c.       Dr. Coomer suffered injuries caused by Defendants’ defamation and
                             intentional infliction of emotional distress

           214.     Dr. Coomer suffered serious injuries caused by Defendants’ defamatory statements

and intentional infliction of emotional distress.616

           215.     Because Dr. Coomer has made a prima facie showing of his conspiracy claim,

Defendants’ special motions to dismiss should be denied.

           iv.      Defendants fail to establish affirmative defenses to avoid liability for their
                    defamation.

           216.     Defendants further attempt to avoid liability for their defamation of Dr. Coomer by

raising various unsupported affirmative defenses. Generally, Defendants have the burden to prove

their affirmative defenses. In the context of the anti-SLAPP statute, that does not change. To the

extent Defendants put forward evidence in support of an affirmative defense, Dr. Coomer must

overcome that evidence to demonstrate a probability of prevailing. 617 However, Dr. Coomer’s

burden of proof at this stage of the proceeding remains a prima facie burden. See Baral, 376 P.3d

at 608-09. Here, Defendants generally provide no evidence in support of their defenses. In




616
      See Exhibit A, Coomer Dec. at ¶ 53; see also supra at §§ V(B)(i), V(B)(ii)(c).
617
    See Trinity Risk Mgmt., LLC, 59 Cal. App. 5th at 1005-07 (affirming dismissal of claims because plaintiff failed to
overcome evidence of litigation privilege based on the court’s review of emails exchanged between participants of
litigation in anticipation of litigation and during litigation); Dove Audio, Inc. v. Rosenfield Meyer & Susman, 47 Cal.
App. 4th 777, 781-82 (1996) (affirming dismissal of claims because plaintiff failed to overcome evidence of litigation
privilege based on the court’s review of letters exchanged between a law firm and persons with potential claims,
seeking support for filing of a claim, in preparation for an official proceeding).




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contrast, Dr. Coomer provides more than sufficient evidence to meet his prima facie burden of

proof to overcome these alleged defenses.

           217.     First, some of the Defendants advance a blanket immunity for defamation by media

defendants under the First Amendment that does not exist.618 Despite Defendants’ assertions, there

is no special immunity to defame. See Curtis Pub. Co. v. Butts, 388 U.S. 130, 151 (1967) (“The

publisher of a newspaper has no special immunity from the application of general laws. He has

no special privilege to invade the rights and liberties of others.”) (internal quotations omitted); see

also Galella v. Onassis, 487 F.2d 986, 995 (2d Cir. 1973) (holding that defendant’s tortious

conduct was not immunized by First Amendment despite being committed during newsgathering

process). The First Amendment recognizes both “the interests of the community in free circulation

of information and those of individuals in seeking recompense for harm done by the circulation of

defamatory falsehood.” Curtis Pub. Co., 388 U.S. at 153. A person’s right to protect their good

name “reflects no more than our basic concept of the essential dignity and worth of every human

being—a concept at the root of any decent system of ordered liberty.” Gertz, 418 U.S. at 341

(internal quotations omitted). For this reason, the U.S. Supreme Court has never “embraced . . .

the view that publishers and broadcasters enjoy an unconditional and indefeasible immunity from

liability for defamation,” because “absolute protection for the communications media requires a

total sacrifice of the competing value served by the law of defamation.” Id. Instead, Colorado

courts extend First Amendment protections to matters concerning public officials, public figures,

and matters of public concern.             Those protections, when they apply, do not immunize all

defamation but, rather, require a heightened fault standard for establishing that defamation. See


618
      See Malkin Mot. at 3, 11; Metaxas Mot. at 3; OAN-Rion Mot. at 12, 14-16.




                                                         135
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Diversified Mgmt., Inc., 653 P.2d at 1105-10; see also Herbert, 441 U.S. at 171 (“Spreading false

information in and of itself carries no First Amendment credentials.”). As discussed above, those

heightened protections do not apply because Defendants’ defamation of Dr. Coomer did not

concern a public official, public figure, or matter of public concern.619 Given the lack of any

credible journalism performed here, it is questionable whether Defendants should be afforded

those protections in the first place. Even so, Dr. Coomer has more than established the requisite

culpability.

            218.     Further, any efforts by non-media Defendants like Powell to equate their election-

related litigation with journalism for purposes of these First Amendment protections have already

been rejected620—and should also be rejected here.

            219.     Second, some of the Defendants advance a “newsworthy” exception to defamation

that does not exist. 621 There is no such exception. In fact, Colorado courts expressly reject

protecting speech based solely on what a news organization deems newsworthy. See Diversified

Mgmt., Inc., 653 P.2d at 1107. Instead, Defendants seemingly confuse this purported exception

with the neutral reporting privilege created by the Second Circuit in Edwards v. Nat’l Audubon

Soc., Inc., 556 F.2d 113, 120 (2d Cir. 1977). In Edwards, the Second Circuit held that media

defendants are not liable for defamation for the publication of neutral and accurate reports of

newsworthy charges made by responsible and prominent organizations against public figures. 556

F.2d at 120. This privilege has never been adopted by the U.S. Supreme Court, the Tenth Circuit,



619
      See supra at § VI(A)(ii)-(iii).
620
      See Exhibit V-4, Order, No. 20-13134 (E.D. Mich.), at *82-83 (“Attorneys are not journalists.”).
621
      See OAN-Rion Mot. at 12.




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or Colorado state courts. The Third Circuit has gone so far as to expressly reject the privilege,

noting that allowing publication “without fear of a libel suit even if the publisher ‘has serious

doubts regarding their truth’ . . . is contrary to the Supreme Court’s ruling in St. Amant” and

inconsistent with its ruling in Gertz. Dickey v. CBS Inc., 583 F.2d 1221, 1225, 1226 n.5 (3d Cir.

1978). Even were this privilege recognized in Colorado, which it is not, it would not apply here.

Defendants cannot establish any neutral or accurate report of newsworthy charges made, especially

given the prominent and credible reports rejecting their allegations at that time. 622 Cf. Edwards,

556 F.2d at 120 (finding the article’s author “did not in any way espouse the Society’s accusations,”

but instead was the “exemplar of fair and dispassionate reporting”). Oltmann could never be

classified as responsible or prominent. Cf. Edwards, 556 F.2d at 116 (involving statements made

by a nationally known ornithological society).                   And Dr. Coomer is not a public figure. 623

See Dixson, 562 F.2d at 631 (rejecting application of Edwards where victim was a private

individual); Khawar v. Globe Int’l, Inc., 965 P.2d 696, 707 (Cal. 1998) (recognizing an absolute

privilege against private figures “would be inconsistent with the United States Supreme Court’s

insistence on the need for balancing the First Amendment interest in promoting the broad

dissemination of information relevant to public controversies against the reputation interests of

private figures”).

            220.     Third, some of the Defendants assert without support that their statements are

protected under the fair report privilege. Specifically, Defendants argue that the filing of an

affidavit by Oltmann in subsequent judicial proceedings immunizes them from liability for their


622
      See supra at § II(K); see also Pl.’s Amend. Compl. at § IV(A).
623
      See supra at § VI(A)(ii).




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defamation. 624 Again, Defendants’ reliance on this privilege is misplaced. The fair report

privilege protects reports of judicial proceedings that are fair and substantially correct. See Quigley,

327 F.3d at 1062. It does not apply to reporting before any judicial action has been taken; does

not extend to reporting on preliminary pleadings; and cannot extend beyond accurate reporting of

the judicial proceedings. See id. Defendants’ claim that the privilege applies because Oltmann

memorialized some of his allegations against Dr. Coomer in an affidavit misses the mark.

Dr. Coomer’s claims are based on Defendants’ defamation—which extended well beyond any

reporting of Oltmann’s sworn statements in a judicial proceeding.625

            221.     Fourth, some of the Defendants argue that their various election-related lawsuits

immunize their defamation of Dr. Coomer under the litigation privilege. 626                         Defendants’

misapplication of the litigation privilege has already been briefed and considered by the Court in

the discovery context.627 The same analysis applies here. The litigation privilege (or shield) is not

intended to immunize any and all statements an attorney may make on a client’s behalf. Instead,

application of the privilege requires a court to “consider the nature of the duties performed and

whether such duties are an essential and integral part of the judicial process.” Patterson v. James,

454 P.3d 345 (Colo. App. 2018) (internal quotations omitted). The litigation privilege does not

apply to statements made to the news media. See Seidl, 30 F. Supp. 2d at 1314-15; see also Green




624
      See OAN-Rion Mot. at 15-16.
625
      See supra at §§ II(C)(J).
626
  See Powell Mot. at § III(D); Defending the Republic Mot. at § III(D); Trump Campaign Mot. at 11-14; Giuliani
Mot. at 9-16.
  Dr. Coomer hereby incorporates by reference this briefing and the Court’s subsequent order. See Pl.’s Mot. for
627

Reconsideration, filed June 1, 2021; Pl.’s Resp to. Metaxas’s Mot. for Reconsideration, filed June 4, 2021; June 8,
2021 Order.




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Acres, 688 P.2d at 623 (holding there was no privilege where attorneys made statements in a press

conference). This limitation is to afford a measure of protection to a victim for publication to the

public at large. Cache la Poudre Feeds, LLC v. Land O’Lakes, Inc., 438 F. Supp. 2d 1288, 1294

(D. Colo. 2006). Defamation by publication to the public at large is precisely what happened here.

Powell and Giuliani repeated Oltmann’s false claims about Dr. Coomer on national television,

exposing themselves—as well as Powell, P.C., Defending the Republic, and the Trump

Campaign—to liability for defamation. See Seidl, 30 F. Supp. 2d at 1315.

           222.     The Court has already recognized that Colorado law—not California law—controls

the application of the litigation privilege here. 628 The consistent reasoning in cases applying the

litigation privilege in Colorado “is that each non-judicial officer performed a function pursuant to

a court directive, which was related to the judicial process.” Awai v. Kotin, 872 P.2d 1332, 1336

(Colo. App. 1993). In asserting this privilege, Defendants rely on various lawsuits they filed to

challenge the election results. Curiously, Giuliani and the Trump Campaign even rely on lawsuits

filed by Powell to which they were not parties nor participants and for which Powell has been

sanctioned. 629 However, Dr. Coomer’s claims are based on Defendants’ repeated attacks on

Dr. Coomer through national media—not on statements made in those lawsuits. These attacks do

not meet Colorado’s standard for this privilege. Any election-related litigation filed before or after

these attacks is, therefore, irrelevant. See Kleier Advert., Inc. v. Premier Pontiac, Inc., 921 F.2d

1036, 1043-44 (10th Cir. 1990).




628
      See June 8, 2021 Order at 2.
629
      See Trump Campaign Mot. at 13, n.4-5; Giuliani Mot. at 12-13.




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            223.     Moreover, Defendants’ statements, even if made by means other than press

conference or media appearance, are still actionable because there is no evidence Defendants

considered, in good faith, pursuing litigation against Dr. Coomer. See Begley v. Ireson, 399 P.3d

777, 782 (Colo. App. 2017) (“As to communications preliminary to a proposed judicial proceeding

the [litigation privilege] applies only when the communication has some relation to a proceeding

that is contemplated in good faith and under serious consideration.”). In fact, the cases eventually

brought by the Trump Campaign dealt broadly with the election and did not make any mention of

Dr. Coomer or the acts of which he was publicly accused.                       The other cases brought by Powell

reference Dr. Coomer but were not served in any integral way by Defendants’ defamatory

statements. See Awai, 872 P.2d at 1336 (“[I]it is still necessary to establish that the acts performed

were intimately related and essential to the judicial decision-making process.”).

            224.     Here, Dr. Coomer’s claims are not based on any statements made in the course of

pending or contemplated litigation, but rather Defendants’ out-of-court defamatory campaign

against him. 630 None of the cases cited by Defendants involve similar claims or conduct. 631

Defendants took the risk of litigating the reliability of the election results in the press, based on

one person’s inherently unreliable and uncorroborated report. See e.g., Seidl, 30 F. Supp. 2d at

1315. Defendants’ arguments have already, rightfully, failed in other jurisdictions. 632 The

privilege relies on good faith, which does not exist here, and which Defendants cannot establish



630
      See supra at §§ II(C)(J); see also Pl.’s Amend. Compl. at §§ I, IV, V.
631
   See Club Valencia Homeowners Ass'n, Inc. v. Valencia Assocs., 712 P.2d 1024, 1028 (Colo. App. 1985); Begley,
399 P.3d at 779; Begley v. Ireson, 490 P.3d 963, 973, reh'g denied (Colo. App. 2020), cert. denied sub nom. Hirsch v.
Ireson, No. 20SC979, 2021 WL 3713342 (Colo. Aug. 16, 2021); Westfield Dev. Co. v. Rifle Inv. Assocs., 786 P.2d
1112, 1116 (Colo. 1990); Merrick v. Burns, Wall, Smith & Mueller, P.C., 43 P.3d 712, 714 (Colo. App. 2001).
632
      See Ex. V-3, Ex. V-4.




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following express findings of bad faith. Such unnecessary and harmful conduct is insufficient to

trigger application of the litigation shield.

            225.   Fifth, the Trump Campaign argues that it is immune from liability under the

Westfall Act because former President Trump was acting within the scope of his federal

employment when he posted defamatory statements about Dr. Coomer on his Twitter account. 633

While the Westfall Act does provide immunity for federal employees acting within the scope of

their office or employment, it does not grant absolute immunity for that employee’s conduct.

28 U.S.C. § 2679(b)(1), (d). Rather, if the Attorney General certifies that an employee was acting

within the scope of their employment at the time the tortious conduct occurred, the United States

will be substituted as the defendant in the litigation. Id. at § 2679(d)(1). If the Attorney General

refuses to provide this certification, the employee must obtain such certification from the Court.

Id. at § 2679(d)(3). Under Colorado law, an act falls within an employee’s scope of employment

“if it bears some reasonable relation to and connection with the duties and responsibilities of the

[employee] and is not manifestly or palpably beyond the [employee’s] authority.” Neitert v.

Overby, 816 F.2d 1464, 1466 (10th Cir. 1987).

            226.   The Trump Campaign offers no certification from the Attorney General nor does it

expressly seek one from the Court.         The Trump Campaign fails altogether to identify the

President’s scope of employment or explain how defaming a private individual falls within it. 634

The suggestion that President Trump’s use of his official Twitter account sufficiently establishes

he was acting within the scope of his employment at the time of his defamation is unpersuasive


633
      See Trump Campaign Mot. at 18.
634
      See id.




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and without support.635 More importantly, the Trump Campaign fails to explain how the Westfall

Act precludes its own liability, especially considering former President Trump has not been sued

in his individual capacity. Dr. Coomer’s claims against the Trump Campaign are based on far

more than President Trump’s tweets. 636 Though these tweets represent a ratification of Oltmann’s

statements by the Trump Campaign, they are not necessary to establish the Trump Campaign’s

liability to Dr. Coomer for defamation.

            227.     Sixth, the Trump Campaign also argues that it is immune from liability under the

Communications Decency Act (CDA) because Eric Trump was a “mere distributor/re-publisher”

when he posted Oltmann’s defamatory statements about Dr. Coomer on his Twitter account. 637

The United States Supreme Court has recently cautioned against the “sweeping immunity” courts

have read into the CDA, noting that “[e]xtending [this] immunity beyond the natural reading of

the text can have serious consequences.” Malwarebytes, Inc. v. Enigma Software Grp. USA, LLC,

141 S. Ct. 13, 18 (2020). The CDA states that providers and users of interactive computer services

shall not be treated as the publisher or speaker of information originating from third parties,

creating a federal immunity for such providers and users from state law causes of action. See 47

U.S.C. § 230(c)(1), (e)(3); see also Silver v. Quora, Inc., 666 F. App’x 727, 729 (10th Cir. 2016).

This immunity does not extend to a provider’s or user’s own statements. See 47 U.S.C. § 230

(requiring information be provided by another party).                       President Trump has previously


635
   None of the cases cited by the Trump Campaign involve defamation through social media. See Operation Rescue
Nat. v. U.S., 975 F. Supp. 92, 94-96 (D. Mass 1997), aff’d 147 F.3d 68 (1st Cir. 1998); Aversa v. U.S., 99 F.3d 1200,
1204 (1st Cir. 1996); U.S. v. Smith, 499 U.S. 160, 162-63 (1991); Knight First Amend. Inst. at Columbia Univ. v.
Trump, 928 F.3d 226, 230-33 (2d Cir. 2019), cert. granted, judgment vacated, and remanded on other grounds, 141
S. Ct. 1220 (2021).
636
      See supra at § II(I); see also Pl.’s Amend. Compl. at §§ I, IV, V.
637
      See Trump Campaign Mot. at 20.




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acknowledged these limitations, noting that Section (c)(1) “merely states that a provider shall not

be treated as a publisher or speaker for making third-party content available and does not address

the provider’s responsibility for its own editorial decisions.” See Exec. Order No. 13925, 85 F.R.

34079 (May 28, 2020), revoked by Exec. Order No. 14029, 86 F.R. 27025 (May 14, 2021).

            228.     Here, Eric Trump did not merely republish the linked article. He directly attributed

false statements about the election to Dr. Coomer and, in the process, published his own

defamatory statements to his millions of Twitter followers. 638 Thus, the sole case cited by the

Trump Campaign is inapposite. See Barrett v. Rosenthal, 146 P.3d 510, 514 (2006) (where

defamation hinged only on republication of defamatory article rather than user’s added

commentary). Even were Eric Trump considered a “mere distributor/re-publisher,” the Trump

Campaign is still liable. The Trump Campaign acknowledges that immunity does not extend to a

provider’s or user’s distribution of information it knew or had reason to know was defamatory but

ignores that both Eric Trump and the Trump Campaign had reason to know Oltmann’s statements

about Dr. Coomer were false.639

            229.     The Trump Campaign again fails to explain how the CDA precludes its own

liability given Eric Trump has not been sued. Dr. Coomer’s claims against the Trump Campaign

are not based solely on Eric Trump’s tweet but on the countless other statements and

representations made by its agents.640 Though Eric Trump’s tweet represents another ratification




638
      See Ex. M-1, PX 69.
639
      See Ex. M-1, PX 68.
640
      See supra at § II(I); see also Pl.’s Amend. Compl. at §§ I, IV, V.




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of Oltmann’s statements by the Trump Campaign, it is not necessary to establish the Trump

Campaign’s liability to Dr. Coomer for defamation.

           230.     Because Defendants affirmative defenses are unsupported and Dr. Coomer has

more sufficient evidence establishing a prima facie case for defamation against Defendants,

Defendants’ special motions to dismiss should be denied.

           v.       Dr. Coomer has established a prima facie showing for injunctive relief.

           231.     Dr. Coomer requests a permanent injunction against Defendants in the event he

prevails on his claims for defamation and intentional infliction of emotional distress. To this day,

Defendants have refused to retract any of the defamatory publications.641 To prevail on a request

for permanent injunction, a party must prove: “(1) he or she has achieved actual success on the

merits; (2) irreparable harm will result unless the injunction is issued; (3) the threatened injury

outweighs the harm that the injunction may cause to the opposing party; and (4) the injunction, if

issued, will not adversely affect the public interest.” Langlois v. Bd. of Cnty. Comm’rs of Cnty. of

El Paso, 78 P.3d 1154, 1158 (Colo. App. 2003).

           232.     Injunctive relief is appropriate where—as here—a defendant continues to publish

defamatory statements about an individual. Sunward Corp. v. Dun & Bradstreet, Inc., 568 F. Supp.

602, 609 (D. Colo. 1983), rev’d on other grounds, 811 F.2d 511 (10th Cir. 1987) (“First

Amendment rights are not absolute, and if the First Amendment right is not deemed paramount,

injunctive relief is appropriate if there is no adequate remedy at law.”); see also Beauharnais v.

People of State of Ill., 343 U.S. 250, 256, (1952) (noting that defamatory statements are not

entitled to First Amendment protection). Many of the Defendants have left their false and


641
      See Exhibit V-1, Cain Dec., Demand for Retraction.




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defamatory statements about Dr. Coomer published.642 Injunctive relief prohibiting the continued

publication of these defamatory statements is, therefore, appropriate.

            233.     Dr. Coomer has evidence supporting a prima facie showing for each of the elements

in his request for permanent injunctive relief against Defendants. First, while Dr. Coomer cannot

show that he has achieved actual success on the merits of his case until the conclusion of trial, he

has established that he has a reasonable probability of prevailing on each of the civil claims he has

brought against Defendants.643 Because Dr. Coomer has a reasonable probability of prevailing on

these claims, he has a substantial likelihood of succeeding on the merits of his case. Further, the

permanent injunction will only issue if Dr. Coomer succeeds on the merits of his other claims.

            234.     Second, if and when Dr. Coomer’s claims for defamation and intentional infliction

of emotional distress are decided in his favor, allowing Defendants’ false and defamatory

statements to remain published would result in irreparable harm to Dr. Coomer. As the Colorado

Supreme Court has noted:

            [D]efamatory statements are so egregious and intolerable because the statement
            destroys an individual’s reputation: a characteristic which cannot be bought, and
            one that, once lost, is extremely difficult to restore.

Keohane, 882 P.2d at 1298 (citing Curtis Pub. Co., 388 U.S. at 152 (noting that libel is as serious

as the keeping of dangerous animals and the use of explosives); Hayes v. Todd, 15 So. 752, 755

(Fla. 1894) (discussing why there is such a compelling interest in preventing and redressing

attacks upon an individual’s reputation) (emphasis added)). Courts have long recognized the

irreparable, incalculable injuries people suffer from defamatory statements. See id. The damage


642
      See supra at §§ II(C)–(J); see also Pl.’s Amend. Compl. at §§ IV, V.
643
      See supra at §§ V(B)(i)-(iii).




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Dr. Coomer continues to suffer to his reputation, privacy, and safety establishes that irreparable

harm will result if an injunction against Defendants does not issue.644

           235.     Third, Dr. Coomer’s injury to his reputation, privacy, and safety outweigh any

personal interest Defendants have in wanting to publish specific, defamatory statements about

Dr. Coomer. A permanent injunction will only issue if Dr. Coomer has in fact succeeded on the

merits of his claim. And if he has succeeded, then the Court has definitively ruled that Defendants’

statements are defamatory, and Defendants would have no First Amendment right to continue to

publish his defamatory statements. See Gertz, 418 U.S. at 340 (“[T]here is no constitutional value

in false statements of fact.”). However, Dr. Coomer will continue to suffer harm if the defamatory

statements remain published. Therefore, Dr. Coomer has a prima facie showing that his injury

outweighs any interest Defendants have in continuing to repeat the defamatory statements.

           236.     Fourth, the injunction will not adversely affect a public interest. There is no

constitutional value in false statements of fact. See Gertz, 418 U.S. at 340. To the contrary, the

public has an active interest in ensuring that there are remedies for defamatory statements. See

Keohane, 882 P.2d at 1298; Diane L. Zimmerman, Curbing the High Price of Loose Talk, 18

U.C.Davis L.Rev. 359, 360 (1985) (“In modern times, the potential for the careless, or worse, the

intentional falsehood to destroy livelihoods, disrupt families, and damage friendships has been

viewed almost without exception by English and American judges as so serious a wrong that no

judicial system would dare abandon a remedy for it.”)). Here, there will be no adverse public

interest if Defendants cannot publish statements determined to be defamatory.




644
      See Exhibit A, Coomer Dec. at ¶ 53; see also Pl.’s Amend. Compl. at § IV(D), V(D).




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       237.    To be clear, Dr. Coomer does not seek a preliminary injunction.            Instead, if

Defendants have not retracted their defamatory statements by the time Dr. Coomer prevails on his

claims for defamation and intentional infliction of emotional distress, Dr. Coomer would be

entitled to permanent injunctive relief. Because Dr. Coomer has made a prima facie showing for

every essential element of his request for permanent injunction, Dr. Coomer respectfully requests

that the Court deny Defendants’ motions to dismiss this claim.

C.     Defendants are not entitled to attorney’s fees for their special motions to dismiss, and
       any award of fees to either party should be addressed by a separate proceeding.

       238.    The purpose of the Colorado anti-SLAPP statute is to ensure that “participation in

matters of public significance” is not “chilled through abuse of the judicial process.” C.R.S. § 13-

20-1101(1)(a). At the same time, the Colorado Legislature sought to “protect the rights of persons

to file meritorious lawsuits for demonstrable injury.” C.R.S. § 13-20-1101(b).

       239.    In line with that purpose, section (4)(a) of the statute provides in part that “a

prevailing defendant on a special motion to dismiss is entitled to recover the defendant’s attorney’s

fees and costs.” C.R.S. § 13-20-1101(4)(a). Conversely, the statute provides that “[i]f the court

finds that a special motion to dismiss is frivolous or is solely intended to cause unnecessary

delay . . . the court shall award costs and reasonable attorney fees to a plaintiff prevailing on the

motion.” Id. The statute does not define “prevailing,” nor have any courts in Colorado interpreted

this provision. Under California law, the determination as to whether a party “prevails” on an anti-

SLAPP motion lies with the discretion of the trial court. See Mann v. Quality Old Time Serv., Inc.,

139 Cal. App. 4th 328, 340 (2006).

       240.    Because any award of fees largely depends on the nature of the Court’s order on

the pending motions, the Court’s decision whether to award fees to Plaintiff or defendants would



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be better addressed by separate motion after the Court’s ruling. See e.g., Am. Humane Ass’n v.

Los Angeles Times Commc’n, 92 Cal. App. 4th 1095, 1103–04 (2001). Courts interpreting the

similar California statute have held that “fees awarded to a defendant who was only partially

successful on the anti-SLAPP motion should be commensurate with the extent to which the motion

changed the nature and character of the lawsuit in a particular way.” Mann, 139 Cal. App. 4th at

340. In certain cases, a defendant’s success at only dismissing certain claims can be an “illusory

victory” if it fails to change the landscape of facts relevant to determining the rest of the lawsuit,

thus making an award of any fees inappropriate. See Moran v. Endres, 135 Cal. App. 4th 952, 954

(2006).

          241.   At the same time, a denial of any Defendants’ motions to dismiss would entitle

Dr. Coomer to attorney’s fees and costs for motions that are deemed frivolous or solely intended

to cause unnecessary delay. See C.R.S. § 13-20-1101(4)(a).

          242.   Dr. Coomer remains steadfast that Defendants’ motions should not even be

partially successful, and that even if any individual claims are dismissed, a fee award to Defendants

would be inappropriate. Dr. Coomer also reserves the right to move for attorney’s fees for

frivolous motions (especially in the case of Oltmann given the fact that he is simultaneously

seeking a dismissal of this case while treating the Court’s orders and the Court itself with contempt)

or motions solely intended to cause unnecessary delay after the Court’s order granting or denying

the motions. However, it would better serve the interest of efficiency and justice for any argument

regarding whether fees should be awarded and the amount of any attorney’s fees after the Court

rules on the pending motions. Dr. Coomer reserves the right to argue in support of his recovery

of attorney’s fees and costs and/or against any fee award to any defendant after the Court’s ruling.




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                                     VII.   CONCLUSION

        243.    This is a case where Defendants published serious and outrageous statements about

a private citizen—and in so doing, destroyed his privacy, safety, and reputation. Defendants never

had a shred of reliable proof that any of their defamatory statements about Dr. Coomer were true,

and Defendants knew and should have known that these statements were baseless and false.

Neither the First Amendment nor the Colorado anti-SLAPP statute insulates Defendants from

these tortious acts.

        244.    Defendants’ special motions to dismiss under the Colorado anti-SLAPP statute

have no merit because Defendants did not engage in protected acts and because Dr. Coomer’s

claims against them are meritorious. Dr. Coomer respectfully requests that the Court deny

Defendants’ special motions to dismiss because the statute does not apply and because Dr. Coomer

has made a prima facie evidentiary showing for each of his claims.          Further, Dr. Coomer

respectfully requests all such other and further relief to which the Court deems him to be justly

entitled.

                                            PRAYER

        Plaintiff Eric Coomer, Ph.D., prays this Court dismiss Defendants’ special motions to

dismiss pursuant to C.R.S. § 13-20-1101 and grant him such other and further relief to which he

may be entitled.




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                              Respectfully submitted,


                                     /s/ Charles J. Cain
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                                CERTIFICATE OF SERVICE

       On September 17, 2021, I hereby certify that a true and correct copy of the foregoing

Omnibus Response has been served on all parties receiving notice through ICCES. The Omnibus

Response is filed in response to the following:

       •       Joseph Oltmann, FEC United, Inc., and Shuffling Madness Media, Inc. dba
               Conservative Daily’s Special Motion to Dismiss Pursuant to C.R.S. § 13-
               20-1101 filed 04-30-21

       •       James Hoft and TGP Communications, LLC.’s Motion to Dismiss Pursuant
               to C.R.S. § 13-20-1101 filed 04-30-21

       •       Michelle Malkin’s Special Motion to Dismiss Pursuant to C.R.S. § 13-20-
               1101 filed 04-30-21

       •       Eric Metaxas’s Special Motion to Dismiss Pursuant to C.R.S.A. § 13-20-
               1101 filed 03-01-211

       •       Herring Networks, Inc. dba One America News Network and Chanel Rion’s
               Motion to Dismiss Pursuant to Colorado’s anti-SLAPP Statute, Colo. Rev.
               Stat. § 13-20-1101 filed 04-30-21

       •       Sidney Powell and Sidney Powell P.C.’s Special Motion to Dismiss
               Pursuant to C.R.S. § 13-20-1101 filed 04-30-21

       •       Defending the Republic’s Special Motion to Dismiss Pursuant to C.R.S.
               § 13-20-1101 filed 04-30-21

       •       Donald J. Trump for President, Inc.’s Motion to Dismiss Pursuant to C.R.S.
               § 13-20-1101 filed 04-30-21

       •       Rudolph Giuliani’s Special Motion to Dismiss Pursuant to C.R.S. § 13-20-
               1101 filed 04-30-21

                                                    /s/ Charles J. Cain
                                             Charles J. Cain, No. 51020




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DISTRICT COURT FOR THE CITY AND COUNTY OF
DENVER, COLORADO

Address of Court:  1437 Bannock Street                   DATE FILED: October 4, 2021 9:00 AM
                                                         FILING ID: 6A78E5F1E0F74
                   Denver, CO 80202                      CASE NUMBER: 2020CV34319
Plaintiff: ERIC COOMER, Ph.D.

v.

Defendants: DONALD J. TRUMP FOR PRESIDENT, INC.,
et al.                                                          ▲ COURT USE ONLY ▲
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      DEFENDANTS HERRING NETWORKS, INC., D/B/A ONE AMERICA NEWS
     NETWORK, AND CHANEL RION’S REPLY IN SUPPORT OF THEIR SPECIAL
            MOTION TO DISMISS PURSUANT TO C.R.S. § 13-20-1101




                      CONTAINS CONFIDENTIAL INFORMATION
                    ACCORDING TO OMNIBUS PROTECTIVE ORDER
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I.     Introduction

       As does his lawsuit generally, plaintiff Eric Coomer’s anti-SLAPP response brief

(“Response”) essentially mocks the Colorado anti-SLAPP statute. On May 21, 2021, Judge

Rappaport soundly reasoned, “Anti-SLAPP laws are designed ‘to prevent SLAPPs [strategic

lawsuits against public participation] by ending them early and without great cost to the SLAPP

target.’” May 21, 2021 Order, p. 2 (citing Equilon Enterprises v. Consumer Cause, Inc., 52 P.3d

685, 693 (Cal. 2002)). But this Court reversed Judge Rappaport’s well-reasoned discovery stay,

and several months of wide-ranging discovery ensued at great expense to Defendants. And now

Dr. Coomer has filed not only his 150-page Response, but also 182 exhibits totaling 10 gigabytes

of data (equivalent to about 5,100 pages and more than 50 hours of audio and video files, most of

which have nothing to do with OAN or Rion). 1 Dr. Coomer apparently hopes to overwhelm the

Court with the sheer size of his Response — in an effort to mask its lack of any meaningful

substance, particularly as to OAN and Rion.

       Despite his brief’s length, Dr. Coomer’s legal analysis lumps all Defendants together as if

they’re a monolith. But OAN (as a national news media company) and Rion (as OAN’s chief

White House correspondent) are fundamentally distinct from the other defendants. OAN and Rion

diligently covered a controversy with dramatic global implications whose genesis preceded any

statements by OAN or Rion. The Court should analyze each defendant independently.

       Setting aside the attempted “shock and awe” of Dr. Coomer’s bloated briefing, Dr. Coomer

actually confirms key facts supporting the allegedly defamatory statements by OAN and Rion. As

such, Dr. Coomer has affirmatively shown the absence of any false or defamatory statements by



1
  OAN and Rion incorporate by reference the evidentiary objections in their Motion to Strike and
for Extension filed on September 22, 2021. (Filing ID D98938CEAED81). As set forth in that
brief, the Court should strike the nine declarations submitted by Dr. Coomer.

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OAN or Rion, as well as the absence of actual malice by them.

       Dr. Coomer also ignores his own fatal credibility problems. For instance, Dr. Coomer

initially denied authorship of his profane, violent, offensive, and extremely left-wing Facebook

broadcasts, only to later admit in New York Times Magazine that he lied about not being the author

of those posts. 2 In his deposition on September 23, 2021, Dr. Coomer made numerous additional

admissions that doom his case and validate the reporting done by OAN and Rion. See Deposition

of Eric Coomer (“Coomer Dep.”), attached as Exhibit A. 3

       Coomer’s defamation claims against OAN and Rion are particularly flawed because of the

special protections afforded to a free press covering matters of global concern.          The First

Amendment embodies a “profound national commitment to the principle that debate on public

issues should be uninhibited, robust, and wide-open.” N.Y. Times v. Sullivan, 376 U.S. 254, 270

(1964). It offers the highest protection to speech on matters of public concern. Snyder v. Phelps,

562 U.S. 443, 452 (2011). Indeed, such speech is “at the heart of the First Amendment’s

protection,” First Natl. Bank of Boston v. Bellotti, 435 U.S. 765, 776 (1978), and “occupies the

highest rung of the hierarchy of First Amendment values,” Connick v. Myers, 461 U.S. 138, 145

(1983), because “speech concerning public affairs is more than self-expression; it is the essence of

self-government.” Garrison v. Louisiana, 379 U.S. 64, 74-75 (1964). That principle applies with

even greater force to news coverage and commentary on matters of public concern because the

First Amendment protects not only freedom of speech, but also freedom of the press and is


2
  In one of many efforts to circumvent the 150-page briefing “limit,” Dr. Coomer, in his declaration
but not in his brief, limply attempts to rationalize his about-face on his Facebook posts as a
misunderstanding. (Response, Exh. A, ¶ 51). But his lie followed by his admissions speak for
themselves.
3
 Because of citations to the Coomer Deposition and other information covered by the Omnibus
Protective Order, OAN and Rion have filed this brief under seal. However, as stated in their
motion challenging those confidentiality designations (Filing ID C4B754893D0BD), sealing this
content is inappropriate under Colorado’s sunshine law.

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“intended to give to liberty of the press” the “broadest scope that could be countenanced in an

orderly society.” Bridges v. California, 314 U.S. 252, 265 (1941).

       Accordingly, OAN’s and Rion’s anti-SLAPP motion should be granted, the claims against

OAN and Rion should be dismissed with prejudice, and OAN and Rion should be awarded their

fees and costs for being forced by Dr. Coomer to defend their First Amendment rights in the

context of a very public and newsworthy controversy.

II.    Anti-SLAPP discovery has confirmed that Dr. Coomer’s case has no merit, and the
       Response omits or diminishes the significance of key facts.

       Dr. Coomer spends 71 pages outlining his purported understanding of the facts but fails to

address the very public lies that Dr. Coomer told related to his Facebook broadcasts. After the

antifa call in which defendant Joseph Oltmann heard Dr. Coomer say he had ensured that President

Trump would not win reelection in 2020, Mr. Oltmann gained access to Dr. Coomer’s Facebook

page. That Facebook page revealed numerous radical, profane, violent, police-hating, Trump-

bashing posts showing Dr. Coomer’s deep loathing of Trump and sympathy for antifa. See Coomer

Dep., Exh. P23, attached as Exhibit B. The Facebook posts confirmed that Dr. Coomer held views

consistent with the comment Mr. Oltmann heard on the antifa call. See Deposition of Chanel Rion

(“Rion Dep.”), Exhibit C, 118:11-20. For instance, on July 21, 2016, Dr. Coomer published on

Facebook to approximately 300 “friends” that “[o]nly an absolute FUCKING IDIOT could ever

vote for that wind-bag fuck-tard FASCIST RACIST FUCK” and stated that his opinions were his

own and “not necessarily the thoughts of my employer, though if not, I should probably find

another job . . . Who wants to work for complete morons?” Exh. B, p. 0072.




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       On December 8, 2020, Dr. Coomer wrote a guest editorial in The Denver Post. See

Editorial attached as Exhibit D. 4 In that editorial, he said in no uncertain terms: “[A]ny posts on

social media channels purporting to be from me have also been fabricated.” Id. (Emphasis added.)

Dr. Coomer later reiterated in an interview with the Ark Valley Voice that “his Facebook account

was dormant for about three and a half years, 5 until the George Floyd murder. At that point he

began posting here and there. He was not the author of the wild posts being circulated.” See

Article attached as Exhibit E (emphasis added).

       But on August 24, 2021, New York Times Magazine published a stunning and devastating

admission from Dr. Coomer in a profile about him: “the Facebook posts were, in fact, authentic.”

See Article attached as Exhibit F (emphasis added). 6 Dr. Coomer told the Times that “he believed

every word of what he said on Facebook, but when colleagues later asked him what he was

thinking, he was frank: He had screwed up.” Id. (Emphasis added.) This means not only that the

Facebook posts providing factual background for the segments published by OAN and Rion were

accurate, but also that Dr. Coomer had lied about them to curtail the fallout.

       In the Times profile, Dr. Coomer still maintained that he never joined an antifa call, but

information submitted with the Response confirms key aspects of a call that match Mr. Oltmann’s

description. In numerous podcasts, news reports, and his deposition in this case, Mr. Oltmann

described listening via Zoom to a call in late September 2020 among antifa leaders. See Deposition

of Joe Oltmann (“Oltmann Dep.”), attached as Exhibit G, at 15:18-19, 51:16-24, 71:10-15. He




4
  Pursuant to Colo. R. Evid. 902(6), newspaper articles are self-authenticating documents. To the
extent there is any argument that these statements are hearsay, they are admissions by Dr. Coomer
that are admissible under Colo. R. Evid. 801(d)(2). Moreover, Dr. Coomer authenticated the
article in his deposition. (Coomer Dep. 43:22-44:3).
6
  Dr. Coomer confirmed this article — and the authenticity of the Facebook posts — in his
deposition. (Coomer Dep., 17:7-15, 36:9-15).

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was not focused on (or familiar with) Dr. Coomer before the call, but rather joined the call to

identify antifa journalists. Id. at 50:7-10. Mr. Oltmann noted that the call focused in part on right-

wing activist Joey Camp. Id. at 76:10-20.

       The Declaration of Individual 1, attached as Exhibit U to the Response, begins by noting

that Individual 1 encountered Camp at a protest on September 23, 2020. (Response, Exh. U,

¶ 8). Individual 1 then admits that he (a leader in the Black Lives Matter community) hosted a

Zoom conference call on September 25, 2020 that 15-20 activists joined to discuss escalating

tactics from Camp. (Id., ¶ 10). This is an exact match to the call described by Mr. Oltmann, and

the call occurred one day before Mr. Oltmann first searched Google for “Eric,” “Dominion,” and

“Denver” on September 26, 2020. (Oltmann Dep., 72:1-8). 7 There can be no doubt that this is the

call that formed the basis for Mr. Oltmann’s future statements.

       It is not surprising that Individual 1 and others on the call might deny that they are “antifa,”

but a collection of left-wing activists discussing how to counter efforts by a right-wing activist

would fit Mr. Oltmann’s definition of antifa. See Oltmann Dep., 41:14-18 (describing an antifa

member as “[a] radical leftist that communicates openly with other radical leftists that stand for

antifa being antifascist. . . [t]ypically white extremist liberals”). Thus, based on the evidence

provided by Dr. Coomer himself, an antifa call (as that would be defined by Mr. Oltmann) did

happen. 8


7
  In the deposition, Mr. Oltmann authenticated a “screenshot” of his search, which has been
produced in discovery. (Oltmann Dep., 72:1-8). That screenshot is attached as Exhibit H.
8
  Five individuals referenced in the Response are given confidential treatment. This is notable
because the applicable Protective Order states that “the Court has determined that information
concerning the identity of persons involved in the alleged ‘Antifa conference call’ at issue in this
case (referred to herein as Confidential Information) is highly relevant to the claims at the heart of
this suit and is discoverable.” (Emphasis added). Thus, Dr. Coomer’s treatment of these five
individuals suggests that they were, or Dr. Coomer believes they may have been, on the antifa call.
Individuals 1, 3, and 4, all of whom were in Mr. Oltmann’s notes as possibly being on the call,
apparently have denied being on any “antifa call,” but Individual 1 has specifically described a

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III.     Argument

         A.      The anti-SLAPP statute applies.

         The Colorado anti-SLAPP statute applies — if it did not apply, Dr. Coomer should have

briefed that legal question months ago, without engaging in extensive “anti-SLAPP discovery.”

Judge Rappaport presumed application of the anti-SLAPP law in denying discovery to Dr.

Coomer. See May 21, 2021 Order. And in the Court’s Order reversing Judge Rappaport and

allowing discovery, the Court applied the anti-SLAPP standards, with no argument from Dr.

Coomer that the statute did not apply. See June 8, 2021 Order.

         As Dr. Coomer acknowledges, the anti-SLAPP statute applies to an “act in furtherance of

a person’s right of petition or free speech,” including “any written or oral statement or writing

made . . . in a public forum in connection with an issue of public interest.” C.R.S. § 13-20-1101.

Questions about the adequacy of Dominion voting machines and their use in elections were

publicly debated long before the 2020 presidential election. In 2017, Georgia voters filed a lawsuit

regarding the security of Dominion machines, and in October 2020, the federal judge in that case

credited testimony from an “array of experts and subject matter specialists [that] provided a huge

volume of significant evidence regarding the security risks and deficits in the [Dominion] system,”

finding that those risks were neither “hypothetical nor remote.” Curling v. Raffensperger, 493 F.

Supp. 3d 1264, 1278, 1341 (N.D. Ga. 2020). Similarly, in January 2020, the state of Texas refused

to certify Dominion’s system, questioning whether it “is safe from fraudulent or unauthorized

manipulation.” See Exhibit I. 9 A more robust history of the controversies involving Dominion

can be found in the Counterclaim filed by Sidney Powell against Dominion in U.S. Dominion, Inc.,


call on September 25, 2020, that matches the description of what Mr. Oltmann refers to as the
antifa call, and Individuals 3 and 4 have not denied being on that same call (whether labeled as
“antifa,” “BLM,” or “liberal”). See Response, Exhs. Q and T.
9
    The Court can take judicial notice of public documents pursuant to Colo. R. Evid. 201.

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et al. v. Powell, et al., Case No. 21-cv-00040 (D.D.C.), attached as Exhibit J, at pp. 32-37.

       In the context of these public controversies, rather than shying from the spotlight, Dr.

Coomer “invited public scrutiny.” (Response, ¶ 166). See DiLeo v. Koltnow, 613 P.2d 318, 322

(Colo. 1980); Lewis v. McGraw-Hill Broad. Co., Inc., 832 P.2d 1118, 1122-23 (Colo. App. 1992).

Like the plaintiffs in DiLeo and Lewis, Dr. Coomer was not an average employee; he was and is a

public figure who has made numerous public appearances to speak about and advocate for

Dominion. See Motion, p. 21, n. 10 (describing multiple public appearances by Dr. Coomer on

behalf of Dominion).       Contrary to Dr. Coomer’s argument, his behavior was entirely

distinguishable from the plaintiff in Quigley v. Rosenthal, 326 F.3d 1044, 1059-61 (10th Cir.

2003), or other similar cases cited by Dr. Coomer, in which the statements were made against a

“person with which the general public had [no] contact.” Dr. Coomer was, and had been for years,

a public advocate for Dominion, particularly when issues arose about election security. For

example, in 2018, Dr. Coomer “was invited to join the Cyber Security Task Force assembled by

the National Association of Secretaries of State.” (Response, Exh. A, ¶ 4). He also has been “an

active participant in the development of the Institute of Electrical and Electronics Engineers

(IEEE) common data format for elections systems” and “developed Dominion’s Coordinated

Vulnerability Disclosure Program in conjunction with several third-party industry researchers in

2020.” (Id.). Dr. Coomer then doubled down on his solicitation of public scrutiny after the 2020

election, giving inaccurate interviews and publishing a false editorial. Supra p. 4. As in

Diversified Management, Inc. v. Denver Post, Inc., 653 P.2d 1103, 1105-08 (Colo. 1982) (which

Dr. Coomer calls the “seminal Colorado case on matters of public concern,” Response, ¶ 164),

there is a nexus between the public and Dr. Coomer’s work as head of security for an election

company that was facing public scrutiny (before the 2020 election), giving rise to a public interest



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separate and apart from the alleged defamation.

       But even if there was not public interest in Dr. Coomer’s actions before the 2020 election,

there was certainly public interest in his activities before OAN and Rion reported on the

controversy. The claims against OAN and Rion must be evaluated in light of the unique facts and

law relevant to them. In the Defamatory Statement Spreadsheet submitted with the Response, Dr.

Coomer identified 20 different statements by various individuals and media outlets before OAN

and Rion ever reported on Dr. Coomer. (Resp., Exh. A-1). Thus, regardless of whether there was

a public interest in Dr. Coomer before the 2020 election (and there was), there undoubtedly was a

public interest in Dr. Coomer when OAN and Rion first reported on him on November 17, 2020.

OAN and Rion did nothing to manufacture that public interest.

       Accordingly, the challenged statements by OAN and Rion involve core First Amendment

speech made on issues of pre-existing public interest, and the anti-SLAPP statute applies. For Dr.

Coomer to suggest otherwise demonstrates once again that he simply is not credible.

       B.      Dr. Coomer can’t prevail on the merits of his defamation claim.

       Given that the anti-SLAPP statute applies, Dr. Coomer bears the burden of establishing a

reasonable likelihood that he will prevail on each of his claims. C.R.S. § 13-20-1101(3)(a). Dr.

Coomer must show a prima facie basis for his claims. Baral v. Schnitt, 376 P.3d 604, 608-09 (Cal.

2016). The Court must engage in a “summary-judgment like procedure” to evaluate all available

evidence and decide whether Dr. Coomer has met his burden. Id. at 608. Dr. Coomer has not.

       To prevail, Dr. Coomer would need to establish his claim by “clear and convincing”

evidence, which the Colorado Supreme Court has held to be the constitutionally required standard.

Diversified, 653 P.2d at 1109. And in California, the state after which Colorado modeled its anti-

SLAPP statute, plaintiffs are required to present “clear and convincing evidence” of actual malice

to survive an anti-SLAPP motion. See, e.g. Hu & Assocs., LLC v. New Life Senior Wellness Ctr.,

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LLC, 2018 WL 8755870, *6 (C.D. Cal. Dec. 10, 2018); Christian Rsch. Inst. v. Alnor, 148 Cal.

App. 4th 71, 84 (2007); Reed v. Gallagher, 248 Cal. App. 4th 841, 862 (2016).

       Dr. Coomer cannot establish his claim by “clear and convincing evidence” because (1) Dr.

Coomer cannot demonstrate false and defamatory statements, (2) Dr. Coomer cannot demonstrate

actual malice, and (3) Dr. Coomer’s claims are barred by the incremental harm doctrine.

               1.     There is no prima facie evidence of falsity or defamatory meaning in
                      statements made by OAN and/or Rion concerning Dr. Coomer.

       The Court suggested in both the July 2 and July 7, 2021 hearings that there was evidence

of “probable falsity” of Mr. Oltmann’s alleged statements, but OAN and Rion urge the Court to

closely reexamine those conclusions in light of the evidentiary record. The evidence presented by

Dr. Coomer confirms many of the details in the antifa call that Dr. Coomer claims never happened,

and the admissions by Dr. Coomer in the Times article and in his deposition confirm facts in

support of the allegedly defamatory statements by OAN and/or Rion and demonstrate that Dr.

Coomer lacks credibility. The Court should find that there is no prima facie evidence of falsity or

defamatory meaning relating to any statements by OAN or Rion.

       Dr. Coomer’s Response, through the “Defamatory Statement Spreadsheet,” attempts to

increase the number of allegedly defamatory statements at issue, but this is not appropriate.

Colorado courts have held that the content of the alleged defamation must be pled with

particularity. Martinez v. Winner, 548 F. Supp. 278, 307 (D. Colo. 1982); Walters v. Linhof, 559

F. Supp. 1231, 1234 (D. Colo. 1983). Accordingly, Dr. Coomer was required to plead in his

complaint the specific language that he claims is defamatory as to each defendant.

       The Complaint identifies only the following allegedly defamatory statements by OAN

and/or Rion:

       1.      “On November 17, 2020, OANN Chief White House Correspondent Chanel Rion
               published false statements regarding Dr. Coomer, tweeting ‘Dominion Director of

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               Strategy and Security, #EricCoomer: “Trump won’t win. I made F***ing sure of
               that.”’” 10 (Compl., ¶ 59).

       2.      “Chanel Rion, Dominion-izing the Vote, Nov. 21, 2020, YOUTUBE (saying ‘In
               Coomer’s case, he was in a position of power to actually act on his rage against
               Trump and Trump voters. What does he mean when he says “Trump won’t win. I
               made f-ing sure of that.” Nothing?’).” (Compl., n.74).

       3.      “Top Dominion Exec: Trump Is Not Going to Win. I Made F**ing Sure of That,
               Nov. 29, 2020, YOUTUBE (publishing Oltmann saying ‘Eric Coomer was this,
               you know, he’s not just Antifa, he was responsible for putting his finger on the
               scales of our election’ and adding ‘If Coomer is investigated and found to have
               indeed tampered with a presidential election, such an action could be tried for
               treason. Unfortunately, the question is, will the FBI step up to investigate?’).”
               (Compl., n.74) (emphasis added).

The Complaint also includes hyperlinks to multiple OAN segments that had nothing to do with

Dr. Coomer, or even Dominion. (Compl., n.76). But even if the Complaint could be read as

alleging that all statements by OAN and/or Rion about Dominion were defamatory against Dr.

Coomer (as Dr. Coomer seems to suggest at pp. 56-58 of the Response, where he goes on at length

about the contents of “Dominion-izing the Vote” and an interview with Ron Watkins that does not

mention Dr. Coomer), those claims must be dismissed because the statements about Dominion are

not defamatory as to Dr. Coomer. See Stump v. Gates, 777 F. Supp. 808, 826 (D. Colo. 1991);

Deatley v. Allard, 2015 WL 134271, *5 (D. Colo. Jan. 9, 2015). If it is Dr. Coomer’s position that

statements about Dominion are also statements about him, he must plead evidence supporting that

conclusion to establish defamation per se. See also Lininger v. Knight, 123 Colo. 213, 221 (1951).

Bottom line, allegedly defamatory statements about Dominion are not “of and concerning” Dr.

Coomer because Dominion and Dr. Coomer are not synonymous. See, e.g., Provisional Gov’t of

Republic of New Afrika v. Am. Broad. Companies, Inc., 609 F. Supp. 104, 108 (D.D.C. 1985)

(“[S]tatements which refer to an organization do not implicate its members.”). In fact, Dr. Coomer

no longer works for Dominion (and may have been fired because of this controversy).


10
  That Dr. Coomer would say something like this — given what he broadcast on Facebook — is
completely consistent with his penchant for incendiary, over-the-top, profane, extremist ranting.

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       Thus, Dr. Coomer’s claims against OAN and Rion relate only to Statements 1, 2 and 3

above. Dr. Coomer claims that these statements (1) allege that Dr. Coomer was on an antifa call,

(2) allege that Dr. Coomer threatened to undermine the integrity of the election, and (3) allege that

Dr. Coomer actually did influence the election. (Response, ¶ 188). As to the third point, this is

plainly incorrect. Statement 1 clearly does not allege that Dr. Coomer influenced the election.

Statement 2 simply makes the truthful factual assertion that Dr. Coomer “was in a position of

power to actually act” with respect to the election and asks the very legitimate question of how the

reported statement made during the antifa call should be interpreted. And Statement 3 raises the

question of what would happen if Dr. Coomer were found to have tampered with the election.

       Dr. Coomer’s claims against OAN and Rion therefore come down to whether an “antifa

call” occurred and what was said on that call. Regardless of whether there was a call (and all

evidence points to the fact that there was), saying someone participated in an antifa call is not

defamatory. Indeed, most Americans — including Dr. Coomer — consider themselves to be

“antifascist.” See Coomer Dep., 108:1-2 (“Q: Are you antifascist? Dr. Coomer: Absolutely.”).

Moreover, Dr. Coomer maintains that antifa is not an organization to which someone could be a

member. Id. at 34:5-12. And he stated in his deposition that he does not know what antifa is. Id.

at 111:7-8 (“I don’t know what Antifa refers to.”). It is difficult to imagine how Dr. Coomer can

credibly claim to have been defamed by a word he cannot define. What is or is not an “antifa call”

is inherently subjective and not capable of defamatory meaning. Seelig v. Infinity Broad. Corp.,

97 Cal. App. 4th 798, 119 Cal. Rptr. 2d 108 (2002) (reversing lower court’s denial of anti-SLAPP

motion and finding statement that participant was a “big skank” was not actionable because it was

too vague to be proven true or false).

       Dr. Coomer argues that the occurrence of the antifa call is “a simple statement of fact” that



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is “verifiably false” (Response, ¶ 188), but the reality is to the contrary. As set forth supra pp. 4-

5, the evidence submitted with the Response actually confirms key aspects of the call. The only

remaining points of dispute are whether Dr. Coomer participated and whether he said what Mr.

Oltmann has quoted him as saying. Dr. Coomer claims that he did not participate in an antifa call

(whatever that means to him) (Response, Exh. A, ¶ 18), but he importantly does not deny having

been on the September 25, 2020 call with Individual 1. In fact, he acknowledges that he spent a

portion of that day “on conference calls” and says only that he did not “participate in any ‘Antifa’

conference call on that day.” (Response, Exh. A, ¶ 40). Individual 1 also does not deny that Dr.

Coomer was on the call. He only claims that “no one mentioned ‘Eric from Dominion’” during

the call and he does “not know Eric Coomer, nor have I ever met him.” (Response, Exh. U, ¶¶ 11-

12). And Individual 1 apparently did not know who all of the participants on the call were, given

that he did not know Mr. Oltmann was on the call — and he could not have identified Dr. Coomer

if he did not even know Dr. Coomer, as he attests. Thus, despite months of discovery, Dr. Coomer

has only managed to confirm that the call described by Mr. Oltmann occurred, and Dr. Coomer

has failed to provide any evidence that he was not on the call (whether it be called an “antifa call,”

a “BLM call,” a “beware Joey Camp call,” or anything else).

       Both Dr. Coomer and Individual 1 claim that Dr. Coomer made no statements in the call

about the election, but both are known liars. With respect to Individual 1, a charitable explanation

could be that he simply did not hear the statement — Individual 1 has produced no notes from the

call that would contradict Mr. Oltmann’s contemporaneous notes. But Individual 1 also has

credibility problems. The same day his Declaration was submitted to the Court, Individual 1 was

censured by the school board on which he sits after an investigation concluded Individual 1 had

flirted online with a 16-year-old student and made coercive and intimidating social media posts.



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See Exhibit K. And days later, hundreds of high school students in Individual 1’s school district

staged a walkout to force his resignation and at least one editorial board for a Denver newspaper

has called for his resignation. See Exhibits L, M.

       As for Dr. Coomer, he has significant motivation to lie about the statements made during

the call, and he has already proven himself to be dishonest, having lied about his Facebook posts

before coming clean in the Times. Supra, p. 4. Moreover, the suggestions in the Response that

Dr. Coomer could not have been on the call because he would not “be welcome or trusted amongst

individuals affiliated with Antifa” as a man in “his 50’s with a PhD” (Response, p. 4 and Ex. Q,

¶ 19) are flawed. The declaration submitted by Dr. Coomer on this point amounts to inappropriate

expert testimony and should be disregarded. See Colo. R. Evid. 704; Quintana v. City of

Westminster, 8 P.3d 527, 530 (Colo. Ct. App. 2000) (noting that an expert may not usurp the

function of a court by expressing an opinion of the applicable law or legal standards). Regardless,

this line of argument is unreasonable because (1) antifa is not a defined group with an established

membership (Coomer Dep., 34:5-12), (2) Dr. Coomer’s aggressive, profane, violent, antifa-

supporting, extremely left-wing Facebook posts suggest that he would be very comfortable in

whatever Mr. Oltmann considered to be an antifa call (Oltmann Dep., 41:14-18), and (3) Dr.

Coomer has in fact described himself as being “antifascist,” and Dr. Coomer admits that “antifa”

is a truncation of “antifascist.” (Coomer Dep., 108:1-23).

       On the other hand, Mr. Oltmann has told a consistent truth, with many of the details now

corroborated by Dr. Coomer. As Mr. Oltmann testified under oath, “It’s not a story. It’s what

happened. So it’s not a story. It’s exactly what happened.” See Deposition of FEC United,

attached as Exhibit N, at 25:25-26:2. Even with four months of discovery and 500 pages of

exhibits, Dr. Coomer has failed to give prima facie evidence of falsity or defamatory meaning.



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               2.      There is no prima facie evidence of actual malice.

       Given that this press coverage was and still is a matter public concern, supra p. 6, Dr.

Coomer must establish actual malice to prevail on his defamation claim. The Colorado Supreme

Court has held that “first amendment values would be better honored by adopting the same

definition of ‘reckless disregard’ in cases involving public officials, public figures, and matters of

public or general concern.” Diversified, 653 P.2d at 1106. (Emphasis added). Although Dr.

Coomer wishfully contends that the actual malice standard does not apply (Response, ¶ 194), Dr.

Coomer sought — and the Court granted — anti-SLAPP discovery for the express purpose of

establishing actual malice. 11 See June 8, 2021 Order, at p. 3. That simply confirms what is

obvious: The actual malice standard applies because this case involves a matter of public concern.

       Dr. Coomer also is a public figure because of his public activities on behalf of a highly

public election company before the controversy arose surrounding the 2020 election. “In

determining whether a person is a public figure, a court must examine the ‘nature and extent of an

individual’s participation in the particular controversy giving rise to the defamation.’” Diversified,

653 P.2d at 1107. In this case, as set forth supra pp. 6-7, Dr. Coomer was heavily and publicly

involved in the controversy surrounding Dominion that existed before the 2020 election. Indeed,

part of Dr. Coomer’s argument that he could not have been on the antifa call is that he spent the

weeks leading up to the election giving public testimony in the Curling v. Raffensperger litigation.

(Response, Exh. A, ¶ 40). Given his very public role in defending Dominion from concerns about

election security, it is inconceivable that Dr. Coomer is not, at minimum, a limited public figure

on the issues of election security and integrity involving Dominion. See Gertz v. Robert Welch,


11
   Notably, although Dr. Coomer only sought discovery on actual malice and conspiracy issues,
Dr. Coomer inappropriately used anti-SLAPP discovery to address the other elements of his
claims.


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Inc., 418 U.S. 323, 351 (1974) (defining a limited purpose public figure as one who “voluntarily

injects himself or is drawn into a particular controversy and thereby becomes a public figure for a

limited range of issues”); Lewis, 832 P.2d at 1122 (“Limited purpose public figure status focuses

on two questions: the threshold question of whether the defamatory statement involves a matter of

public concern and, more importantly, whether the level of plaintiff’s participation in the

controversy invites scrutiny.”).

       Dr. Coomer’s Facebook activity also belies the notion that he was “private” on matters of

public concern, like the election. Dr. Coomer regularly broadcast his thoughts on politics and the

election to an audience of more than 300 people who were not under his control. As noted in the

Times article, “any one of Coomer’s ‘friends’— and he had several whom he knew to be Trump

supporters — could have taken screenshots of his posts and sent the information along to someone

who could use it.” See Exh. E. Dr. Coomer, purportedly an expert in digital security, should have

known that broadcasting his thoughts to an audience of 300 individuals was no more “private”

than posting a billboard on the highway. Accordingly, by any test, Dr. Coomer should be treated

as a public figure (particularly as to this very public controversy).

       Thus, both as a matter of public concern and because Dr. Coomer is a public figure, he

must make a prima facie case of actual malice to avoid dismissal. The Colorado Supreme Court

has applied “the St. Amant definition of ‘reckless disregard’ in cases involving matters of public

or general concern, as well as in cases involving public officials and public figures.” Id. at 1110.

The U.S. Supreme Court in St. Amant v. Thompson, 390 U.S. 727, 732 (1968), held that reckless

disregard could be found only if there was “sufficient evidence to permit the conclusion that the

defendant in fact entertained serious doubts as to the truth of his publication.” No such evidence

exists here, and Dr. Coomer’s claims against OAN and Rion thus fail at the anti-SLAPP stage.



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       Relying largely on inappropriate and inadmissible “expert” testimony, Dr. Coomer tries to

establish actual malice based on alleged bias or alleged lack of journalistic ethics. OAN was not

biased in its legitimate, hard-news reporting, but even if it were, bias is not equivalent to actual

malice. See Spacecon Specialty Contractors, LLC v. Bensinger, 713 F.3d 1028, 1043 (10th Cir.

2013) (“[A] publisher’s ‘adversarial stance’ may be ‘fully consistent with professional,

investigative reporting’ and is not necessarily ‘indicative of actual malice.’”). Additionally, OAN

was ethical in its reporting, but, even if it weren’t, ethical lapses do not equate to actual malice.

See OAO Alfa Bank v. Ctr. for Pub. Integrity, 387 F. Supp. 2d 20, 56 (D.D.C. 2005) (granting

motion to dismiss that an expert’s claim that defendant violated journalistic ethics supports a

finding of “at most . . . negligence or bad journalism not actual malice”). Accordingly, Dr.

Coomer’s attacks on OAN and Rion (which have nothing to do with this case and include an

affidavit from a former employee with an axe to grind because he was fired) are irrelevant.

       Dr. Coomer provides a laundry list of issues he has with the way Mr. Oltmann went about

gathering his information (Response, ¶ 197), but Dr. Coomer provides no case law indicating that

these considerations are evidence of actual malice. And Dr. Coomer fails to show how OAN and

Rion, after the events became public in multiple other national publications, exhibited actual

malice. 12 Dr. Coomer only alleges, in broad and conclusory terms, that Defendants failed to

“investigate and corroborate the allegations before publishing them.” (Response, ¶ 199). But Dr.

Coomer’s own investigation in this case shows this is false. A national cable news network

publishing on a daily schedule cannot possibly be expected to engage in the level of effort Dr.

Coomer has futilely engaged in here, and Dr. Coomer’s Response shows that even if OAN and



12
  In fact, when asked at his deposition to identify the right-wing commentators whom he claimed
had spread election disinformation, he did not mention Rion or anyone else associated with OAN.
See Coomer Dep., 44:12-17.

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Rion had done so, they would have affirmed Mr. Oltmann’s reliability, affirmed the truth of his

allegations about Dr. Coomer’s vile Facebook posts, affirmed Mr. Oltmann’s allegations about a

call that could reasonably be cast as an “antifa call,” and affirmed Dr. Coomer as a far-left-wing

radical with the power and motive to influence the election (and the lack of self-control to suggest

(perhaps facetiously but nevertheless recklessly) that he had in fact done so). See Gomba v.

McLaughlin, 180 Colo. 232, 236 (1972) (holding that the existence of substantial truth depends on

whether the publication as a whole “produces a different effect upon the reader than that which

would be produced by the literal truth of the matter”).

       Moreover, the facts gathered in discovery show that OAN and Rion engaged in significant

thought and effort before reporting on Dr. Coomer. OAN and Rion did not rush any segment to

air, even as other defendants and media outlets nationwide covered the same news. Indeed, the

special on “Dominion-izing the Vote” was in the works long before Mr. Oltmann’s November 9

podcast about Dr. Coomer. See Deposition of Charles Herring (“Herring Dep.”), attached as

Exhibit O, at 11:22-16:8, 26:8-32:20, 71:12-25, 117:6-118:1; Rion Dep., at 12:8-13:17, 18:22-

19:7, 115:2-7, 117:15-17. OAN and Rion did not hear about Dr. Coomer and craft a narrative, but

rather learned additional information about apparent biases held by a high-ranking Dominion

employee that were consistent with their other reporting. See Rion Dep., 74:20-75:20. OAN and

Rion then followed their usual practices and review and written approval sign-off procedures. See

Herring Dep., 47:21-48:3, 159:14-161:19; Rion Dep., 63:4-17. 13




13
  Dr. Coomer attempts to improperly rely on the declaration of retired journalist Frederick W.
Brown, Jr. (who purports to provide expert testimony despite not having been presented as an
expert) to argue that OAN should have reported its segments differently. These arguments are
improper legal opinions on actual malice and without merit. It also is ironic that Brown spent his
career at The Denver Post, which failed to identify the clear false statements in Dr. Coomer’s
editorial about himself before it was published. Supra, p. 4.


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       OAN sought opportunities to interview Dr. Coomer, but at that time he had gone into hiding

and OAN could not locate him. See Herring Dep., 18:17-24, 28:10-29:2; Rion Dep., 89:13-90:13.

Moreover, as Dr. Coomer has acknowledged, Dr. Coomer greeted at least one individual

attempting to talk to him with a shotgun, meaning there was significant risk associated with seeking

comment from him. See Response, Exh. A, ¶ 20 (“In one instance, someone came to my house

while I was home and started shouting through the door at me and asking about election fraud. I

warned him that I was armed with a shotgun and that he was trespassing and told him to leave

immediately.”). And regardless, “it is well settled that there is no requirement that the publication

report the plaintiff’s side of the controversy.” Curto v. N.Y. Law Journal, 144 A.D.3d 1543, 1544

(N.Y. App. Div. 2016).

       Dr. Coomer’s argument for actual malice boils down to this: Dr. Coomer does not believe

OAN and Rion did enough to investigate Mr. Oltmann’s claims and corroborate them. As shown

above, this is not true. 14 But even if it were, failure to investigate before publishing does not

establish reckless disregard for the truth. See Harte-Hanks Communications, Inc. v. Connaughton,

491 U.S. 657, 688 (1989). And lack of support (which OAN and Rion have in spades, especially

after all of the lies and admissions by Dr. Coomer) also does not come close to actual malice,

which requires something akin to outright fabrication. St. Amant, 390 U.S. at 732. Dr. Coomer

can provide no prima facie evidence of actual malice (and certainly no “clear and convincing”

evidence), and the Complaint should be dismissed with prejudice against OAN and Rion.

               3.      Dr. Coomer’s claims are barred by the incremental harm doctrine.

       Even if Dr. Coomer had prima facie evidence of false, defamatory statements and actual



14
   Additional details about the extensive investigation are set forth in OAN’s and Rion’s Response
to Plaintiff’s Motion for Sanctions (File ID 24C55AB2C9077), at pp. 7-12, which is incorporated
by reference here.

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malice (which he does not), Dr. Coomer’s claims still would be barred by the incremental harm

doctrine. “[W]hen unchallenged or nonactionable parts of a particular publication are damaging,

another statement, though maliciously false, may not be actionable because it causes no harm

beyond the harm caused by the remainder of the publication.” Tonnessen v. Denver Pub. Co., 5

P.3d 959, 965 (Colo. Ct. App. 2000).

       In this case, the segments published about Dr. Coomer’s statements in the antifa call also

referred to his violent, profane, offensive, left-wing Facebook posts, which Dr. Coomer has now

admitted in the Times and in his deposition were his posts. 15 The Facebook posts show extreme

bias for someone who was in a significant position of power and control at one of the companies

charged with supplying voting machines for American elections. Regardless of whether the antifa

call occurred as Mr. Oltmann has credibly testified under oath and penalty of perjury, the

confirmed Facebook posts from Dr. Coomer would have had the same impact on his reputation

and career prospects — indeed, it is difficult to imagine how Dominion or any voting machine

company could employ someone with such unhinged partisan biases, which likely is why Dr.

Coomer lied about his Facebook postings and why Dr. Coomer no longer works for Dominion.

The Facebook posts show Dr. Coomer to be a vile, profane, craven, and dangerous extremist.

Moreover, Dr. Coomer’s lies about his Facebook posts show that he lacks credibility. Put simply,

Dr. Coomer is solely responsible for destroying Dr. Coomer’s reputation.

       The antifa call is thus inconsequential to Dr. Coomer’s reputation, and neither OAN nor

Rion ever said Dr. Coomer actually rigged the election (nor are they alleged by Dr. Coomer to

have done so). But even if OAN and/or Rion had said that, it would have done no more damage

to Dr. Coomer than the damage he’s done to himself on Facebook, in The Denver Post, in the Ark


15
  This argument was not raised in OAN and Rion’s original motion because at that time, Dr.
Coomer had not yet made his startling admissions to the Times and in his deposition in this case.

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Valley Voice, and in New York Times Magazine. Nor would such a statement do any more damage

than Dr. Coomer has done to himself by bringing this SLAPP and inadvertently revealing further

his malevolent, spiteful, dishonest, and dangerous character. The claims against OAN and Rion

therefore fail under the incremental harm doctrine and should be dismissed with prejudice.

        C.      Dr. Coomer cannot make a prima facie showing of intentional infliction of
                emotional distress claim.

        Dr. Coomer acknowledges, as he must, that a plaintiff must prove actual malice to establish

an intentional infliction of emotional distress (“IIED”) claim when the plaintiff is a public figure.

(Response, ¶ 201). See also Hustler Magazine, Inc. v. Falwell, 485 U.S. 46, 56 (1988) (“We

conclude that public figures and public officials may not recover for the tort of intentional infliction

of emotional distress by reason of publications such as the one here at issue without showing in

addition that the publication contains a false statement of fact which was made with ‘actual

malice.’”). As set forth above, Dr. Coomer cannot make a prima facie showing of actual malice

by clear and convincing evidence. Supra pp. 14-18. Accordingly, this claim fails for the same

reason as Dr. Coomer’s defamation claim.

       Additionally, to prevail on an IIED claim, the conduct at issue must “go beyond all possible

bounds of decency, and to be regarded as atrocious.” Gordon v. Boyles, 99 P. 3d 75, 82 (Colo.

2004). Given the confirmed Facebook posts by Dr. Coomer and the fact that numerous aspects of

the antifa call have now been confirmed, OAN and Rion cannot be said to have engaged in any

such conduct. This claim should also be dismissed against OAN and Rion, with prejudice.

       D.      Dr. Coomer cannot make a prima facie showing of conspiracy.

       Despite claiming that he needed anti-SLAPP discovery to uncover details of the so-called

“conspiracy” (June 8, 2021 Order, p. 3), Dr. Coomer has presented no facts to support the existence

of a conspiracy among any defendants, and particularly with respect to OAN and Rion. Nothing



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Dr. Coomer has described about OAN and Rion’s conduct — running newsworthy segments about

a matter of public interest after it has been covered by various other media entities — is different

from any other scenario where a major news story breaks and various networks cover it. By Dr.

Coomer’s logic, every major network must be involved in a “conspiracy” with the President each

time the State of the Union speech occurs and then is reported. The fact that multiple individuals

and news outlets chose to discuss and cover the same newsworthy issue is not a conspiracy, and

Dr. Coomer’s theory to the contrary is nonsensical (and extremely dangerous to a free press).

       Moreover, because Dr. Coomer’s other claims fail (as set forth above), he cannot assert a

claim for conspiracy. See W. & English Sales Ass’n v. Gc Merch. Mart LLC, 2020 Colo. Dist.

LEXIS 4610, *26 (Colo. D. Ct. Dec. 29, 2020) (“A conspiracy is a derivative claim, not

independently actionable.”). Accordingly, this claim should be dismissed, with prejudice. 16

       E.      Dr. Coomer cannot make a prima facie showing for injunctive relief.

       Because Dr. Coomer cannot make a prima facie showing on any of his other claims, his

injunctive relief claim (which isn’t really a freestanding claim) fails as well. See Wibby v. Boulder

County Board of County Commissioners, 409 P.3d 516, n. 2 (Colo. App. 2016) (noting that

injunctive relief is a remedy, not a substantive claim for relief). Because all of Dr. Coomer’s

claims are without merit, this claim should be dismissed against OAN and Rion as well.

IV.    Conclusion

       Dr. Coomer’s Complaint should be dismissed with prejudice as to OAN and Rion, and

OAN and Rion should be awarded their fees and costs under the anti-SLAPP statute. 17


16
  The allegation that OAN reporter Christina Bobb worked collaboratively with the Trump
Campaign (Response, ¶¶ 123-125) has no bearing on this claim because, among other reasons, Dr.
Coomer has presented no evidence that Bobb did any work on matters related to Dr. Coomer.
(Herring Dep., 112:22-25). And Dr. Coomer has alleged no defamatory statements by Ms. Bobb.
17
   OAN and Rion submit this 21-page brief based on their pending unopposed motion for leave to
file an anti-SLAPP reply of this length. (File ID C095E95D380A2).

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                                        Respectfully submitted on October 4, 2021,


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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 4th day of October 2021, a true and correct copy of the

foregoing was electronically served via the Integrated Colorado Courts E-Filing System (ICCES)

and has been e-served via ICCES on all counsel of record.



                                                      s/ Richard A. Westfall




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